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 EXHIBIT B
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                                                     FIRM RESUME
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FIRM OVERVIEW

Motley Rice attorneys have been at the forefront of some of the most significant and monumental civil actions over the
last 30 years. Our experience in complex trial litigation includes class actions and individual cases involving securities
and consumer fraud, occupational disease and toxic tort, medical drugs and devices, environmental damage, terrorist
attacks and human rights abuses.


Tobacco Master Settlement Agreement                                     Joseph Rice is a Plaintiffs’ Steering Committee member and
In the 1990s, Motley Rice attorneys and more than half of the           served as one of the primary negotiators of that Settlement
states’ attorneys general took on the tobacco industry. Armed           and the Medical Benefits Settlement. In addition, Rice led
with evidence acquired from whistleblowers, individual smokers’         negotiations in the $1.028 billion settlement between the PSC
cases and tobacco liability class actions, the attorneys led the        and Halliburton Energy Services for its alleged role in the oil
campaign in the courtroom and at the negotiation table to               spill. Motley Rice attorneys continue to hold leadership roles
recoup state healthcare funds and exact marketing restrictions          in the litigation and are currently working to ensure that all
from cigarette manufacturers. The effort resulted in significant        qualifying oil spill victims are fairly compensated.
restrictions on cigarette marketing to children and culminated          Volkswagen ‘Clean Diesel’ Litigation
in the $246 billion Master Settlement Agreement, the largest civil      In 2015, Volkswagen Group’s admission that it had programmed
settlement in U.S. history.                                             more than 11 million vehicles to cheat emissions tests and
Asbestos Litigation                                                     bypass standards sparked worldwide outrage. Motley Rice
From the beginning, our lawyers were integral to the story of           co-founder Joe Rice served as one of the lead negotiators in
how “a few trial lawyers and their asbestos-afflicted clients came      the nearly $15 billion settlement deal reached in 2016 for U.S.
out . . . to challenge giant asbestos corporations and uncover          owners and lessees of 2.0-liter TDI vehicles, the largest auto-
the greatest and longest business cover-up of an epidemic               related consumer class action settlement in U.S. history. Rice
disease, caused by a product, in American history.”1 In addition        and other Motley Rice attorneys also helped recover up to $4.4
to representing thousands of workers and family members                 billion with regards to affected 3.0-liter vehicles.
impacted by asbestos, Motley Rice has represented numerous              Transvaginal Mesh Litigation
public entities, and litigated claims alleging various insurers of      Motley Rice attorneys represent thousands of women and
asbestos defendants engaged in unfair settlement practices in           have played a leading role in litigation alleging debilitating and
connection with the resolution of underlying asbestos personal          life-altering complications caused by defective transvaginal
injury claims. This litigation resulted in, among other things, an      mesh devices. In 2014, Joe Rice, with co-counsel, negotiated
eleven-state settlement with Travelers Insurance Company.               the original settlement deal reached in In re American Medical
Anti-Terrorism and Human Rights                                         Systems, Inc., Pelvic Repair Systems Products Liability Litigation
In In re Terrorist Attacks on September 11, 2001, Motley Rice           that numerous subsequent settlements with the manufacturer
attorneys brought a landmark lawsuit against the alleged private        were modeled after.
and state sponsors of al Qaeda and Osama bin Laden in an action         Opioid Litigation
filed on behalf of more than 6,500 family members, survivors,           Motley Rice is at the forefront of national litigation involving
and those killed on 9/11—including the representation of more           opioid manufacturers and distributers for alleged deceptive
than 900 firefighters and their families. In prosecuting this action,   marketing and other business practices that contributed to the
Motley Rice has undertaken a global investigation into terrorism        opioid crisis. Firm co-founder Joe Rice one of three co-leads for
financing.                                                              the National Prescription Opiate Litigation coordinated in the
Our attorneys also initiated the In re September 11 Litigation and      Northern District of Ohio. Also holding leadership positions in
negotiated settlements for 56 families that opted out of the Victim     the MDL are Motley Rice attorneys Linda Singer (DC, NY), co-
Compensation Fund that far exceeded existing precedents at              chair of the Manufacturer/Marketing Committee and Lou Bograd
the time for wrongful death cases against the airline industry.         (DC, KY), co-chair of the Law & Briefing Committee. Singer, the
                                                                        former Attorney General for the District of Columbia, continues to
BP PLC Oil Spill Litigation                                             serve as lead counsel for the first jurisdictions to file complaints
In April 2010, the Deepwater Horizon disaster spilled
                                                                        in the most recent wave of litigation against pharmaceutical
approximately 4.9 million gallons of oil into the water, killed
                                                                        companies regarding the opioid crisis—the City of Chicago
11 oil rig workers, devastated the Gulf’s natural resources and
                                                                        and Santa Clara County. The firm also represents multiple state
profoundly harmed the economic and emotional well-being
                                                                        Attorneys General, local governments and other public entities
of hundreds of thousands of people. The Deepwater Horizon
                                                                        in state-filed matters related to the opioid epidemic, which is
Economic and Property Damages Settlement is the largest civil
                                                                        reported to claim 175 American lives each day.
class action settlement in U.S. history. Motley Rice co-founder



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LITIGATION PROFILES                     Motley Rice has held leadership roles in numerous cases. Highlights include:


DEFECTIVE DRUGS AND DEVICES                                            Co-liaison counsel In re C.R. Bard, Inc., Pelvic Repair Systems
                                                                       Products Liability Litigation, MDL 2187 (S.D.W.Va.)
Plaintiffs’ Executive Committee In re Paragard IUD Products
Liability Litigation, MDL 2974 (N.D.Ga.)                               Co-lead counsel In re Boston Scientific Corp., Pelvic Repair
                                                                       Systems Products Liability Litigation, MDL 2326, (S.D.W.Va.)
Plaintiffs’ Steering Committee and Co-Chair of Leadership
Development Committee In re: Zantac (Ranitidine) Products              Co-liaison counsel In re Pelvic Mesh Litigation/Bard, No. L-6339-
Liability Litigation, No. 9:20-md-02924 (S.D. Fla.).                   10 in New Jersey state court.
Plaintiffs’ Steering Committee In re Allergan Biocell Textured         State court liaison counsel of In re Bard Litigation in
Breast Implant Products Liability Litigation, No. 2:19-md-02921,       Massachusetts and Delaware
(D.N.J.)                                                               Co-lead counsel of the Mirena MDL (S.D.N.Y.)
Bellwether Committee Co-Chair In re Xarelto Products Liability         Co-lead counsel in the In re Mirena Product Liability state court
Litigation, MDL 2592                                                   consolidation in New Jersey
Plaintiffs’ Steering Committee In re Proton-Pump Inhibitor             Plaintiffs’ Steering Committee of In re Power Morcellator
Prods. Liability Litigation (No. II), D.N.J.                           Products Liability Litigation, MDL No. 2652
Plaintiffs’ Steering Committee In re Zimmer NexGen Knee                Plaintiffs’ Steering Committee of In re Zoloft (Sertraline
Implant Products Liability Litigation, N.D. Ill.                       Hydrochloride) Products Liability Litigation, MDL 2342
Plaintiffs’ Steering Committee and Co-lead Counsel In re               Plaintiffs’ Steering Committee of In re NuvaRing Products
Ethicon Physiomesh Flexible Composite Hernia Mesh Products             Liability Litigation, MDL 1964
Liability Litigation, MDL 2782
                                                                       Plaintiffs’ Steering Committee of In re DePuy Orthopaedics, Inc.
Lead Counsel; Plaintiffs’ Executive Committee Essure Permanent         ASR Hip Implant Products Liability Litigation, MDL 2197
Sterilization Device California State Court Consolidation
                                                                       Plaintiffs’ Steering Committee of In re DePuy Orthopaedics, Inc.
Lead counsel and Plaintiffs’ Executive Committee in In re Atrium       Pinnacle Hip Implant Products Liability Litigation, MDL 2244
Medical Corp. C-QUR Mesh Products Liability Litigation, MDL
2753                                                                   In re A.H. Robins Co., Inc., “Dalkon Shield” IUD Products Liability
                                                                       Litigation (No. II), MDL 631
Plaintiffs’ Steering Committee, Co-lead Counsel and Liaison
Counsel in In re Davol/ C.R. Bard Hernia Mesh (PC-2017-1929)           Plaintiffs’ Steering Committee of In re Medtronic, inc., Sprint
                                                                       Fidelis Leads Products Liability Litigation, MDL 1905
Plaintiffs’ Steering Committee In re Johnson & Johnson Talcum
Powder Products Marketing, Sales Practices and Products                Plaintiffs’ Steering Committee of In re Trasylol Products Liability
Liability Litigation, MDL No. 2738                                     Litigation, MDL 1928

Co-lead counsel and Plaintiffs’ Steering Committee In re Zofran        Plaintiffs’ Steering Committee of In re Levaquin Products
(Ondansetron) Products Liability Litigation, MDL No. 2657              Liability Litigation, MDL 1943

Plaintiffs’ Executive Committee in In re Viagra (Sildenafil Citrate)   Plaintiffs’ Steering Committee and co-lead counsel of In re
and Cialis (Tadalafil) Products Liability Litigation, MDL 2691         Digitek Products Liability Litigation, MDL 1968

Plaintiffs’ Steering Committee in In re Bard IVC Filters Products      Plaintiffs’ Steering Committee of In re Avandia Marketing, Sales
Liability Litigation, MDL 2641                                         Practices and Products Liability Litigation, MDL 1871

Plaintiffs’ Steering Committee of In re Lipitor® (Atorvastatin         Plaintiffs’ Steering Committee of In re Hydroxycut Marketing
Calcium) Marketing, Sales Practices and Products Liability             and Sales Practice Litigation, MDL 2087
Litigation, MDL 2502.                                                  Plaintiffs’ Steering Committee of In re Zicam Cold Remedy
Co-lead plaintiffs’ counsel and liaison counsel In re Kugel Mesh       Marketing, Sales Practices and Products Liability Litigation,
Hernia Patch Products Liability Litigation, MDL No. 07-1842            MDL 2096
Rhode Island federal court’s first consolidated MDL, on behalf         Plaintiffs’ Steering Committee and co-lead counsel of In re
of thousands of people alleging injury by the hernia repair patch      Human Tissue Products Liability Litigation, MDL 1763
manufactured by Davol, Inc., as well as liaison counsel for the
                                                                       In re Temporomandibular Joint (TMJ) Implants Products Liability
nearly 2,000 lawsuits consolidated in Rhode Island state court.
                                                                       Litigation, MDL 1001
Co-lead coordinating counsel of In re Ethicon, Inc., Pelvic Repair
                                                                       In re Abbott Laboratories Omniflox Products Liability Litigation,
Systems Products Liability Litigation, MDL 2327 (S.D.W.Va.)
                                                                       MDL 1004
Co-lead counsel in In re American Medical Systems, Inc.,
                                                                       Plaintiffs’ Steering Committee and liaison counsel of In re
Pelvic Repair Systems Products Liability Litigation, MDL 2325
                                                                       Showa Denko K.K. L-tryptophan Products Liability Action, MDL
(S.D.W.Va.)
                                                                       No. 865




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CONSUMER PROTECTION                                                   In re Graniteville Train Derailment, No. 2006-CP-02-1032 (Ct.
                                                                      of Common Pleas, Second Jud. Cir.). served in a leadership
Co-Lead Counsel In re National Prescription Opiate Litigation,        role for both individual and class action cases in connection
No. 17-md-02804 (N.D. Ohio).                                          with the January 2005 railroad derailment and chemical spill in
Co-Lead Counsel In re Blackbaud, Inc., Customer Data Breach           Graniteville, S.C.
Litigation, MDL 2972 (D.S.C)
                                                                      SECURITIES FRAUD AND ERISA CLASS ACTIONS
Co-Lead Counsel on the Coordinating Committee for the
Pennsylvania Coordinated Cases County of Delaware v. Purdue           Lead counsel in Shenwick et al. v. Twitter Inc. et al., No. 3:16-cv-
Pharma L.P., et al.                                                   05314 (N.D. Cal.).
Plaintiffs’ Steering Committee of In re Volkswagen “Clean             Co-lead counsel in Hatamian v. Advanced Micro Devices, Inc.,
Diesel” Marketing, Sales Practices, and Products Liability            No. 14-cv-00226-JD (N.D. Cal.)
Litigation, MDL No. 2672 CRB (JSC)                                    Lead counsel in Bernacchi v. Investment Technology Group,
Plaintiffs’ Steering Committee of In re Chrysler-Dodge-Jeep           Inc., No. 1:15-cv-06369-JFK (S.D.N.Y.).
EcoDiesel Marketing, Sales Practices and Products Liability           Co-lead counsel in Berry v. Wells Fargo & Co., No. 3:17-cv-00304
Litigation, No. 17-md-02777-EMC (N.D. Calif.)                         (D.S.C.)
Co-liaison counsel and Plaintiffs’ Steering Committee in In           Co-lead counsel In re Intel Corp. Securities Litigation, No.
re 21st Century Oncology Customer Data Security Breach                5:20-cv-05194-EJD (N.D. Cal.)
Litigation, MDL 2737 (M.D. Fla.)
                                                                      Co-lead counsel in In re 3M Co. Securities Litigation, No. 2:19-
CATASTROPHIC INJURY AND WRONGFUL DEATH                                cv-15982 (D.N.J.)
Plaintiffs’ Executive Committee of In re General Motors LLC           Lead counsel in Takata v. Riot Blockchain, Inc., et al., No. 3:18-
Ignition Switch Litigation, MDL 2543                                  cv-02293 (D.N.J.)
Hoover, et al. v. NFL, et al., MDL #2:12-cv-05209-AB (E.D. Pa.).      Co-lead counsel in Parchmann v. MetLife, Inc. et al, No. 1:18-cv-
                                                                      00780-SJ-RLM (E.D.N.Y.)
Lead counsel in Charleston Firefighter Litigation v. Sofa Super
Store, Inc., et.al., No. 07-CP-10-3186 (Ct. of Common Pleas, Ninth    Co-lead counsel in class action Bennett v. Sprint Nextel
Jud. Cir.), consolidated complex litigation involving the families    Corporation, No. 2:09-cv-02122-EFM-KMH (D. Kan.), representing
of nine firefighters who died in a furniture store disaster.          the PACE Industry Union-Management Pension Fund (PIUMPF)
                                                                      and several other institutional investors.
Clifton Chesnut, a minor v. Waupaca Elevator Company, Inc., et
al., No. 2013-CP-10-2060 (Ct. of Common Pleas, Ninth Jud. Cir.).      Co-class counsel in Alaska Electrical Pension Fund v. Pharmacia
Veronica Lynne Tario v. SOCO, Holding, LLC et al., No. 2013-cp-       Corp., No. 03-1519 (D.N.J.). federal securities fraud litigation
26-2499 (Ct. of Common Pleas, Fifteenth Jud. Cir.).                   alleging that the defendants misrepresented clinical trial
                                                                      results of Celebrex® to make its safety profile appear better
Satterfield et al. v. Napa Home & Garden Inc., et al., No. 7:11-
                                                                      than rival drugs.
1514-JMC (D.S.C.).
Plaintiffs’ Steering Committee and multiple plaintiffs’ counsel,      Lead counsel in In re Barrick Gold Securities Litigation, No. 1:13-
In re San Juan DuPont Plaza Hotel Fire Litigation, MDL 721            cv-03851 (RPP) (S.D.N.Y.)
(D.P.R.).                                                             Lead counsel in Hefler v. Wells Fargo & Co., No. 16-cv-05479-JST
Strother v. John Wieland Homes and Neighborhoods of the               (N.D. Cal.)
Carolinas, et al., No. 09-CO-29-1783 (Ct. of Common Pleas, Sixth      Co-lead counsel in Ross v. Career Education Corp. No. 1:12-cv-
Jud. Cir.), an individual catastrophic personal injury/premise
                                                                      00276 (N.D. Ill.).
liability case involving life-altering brain injury.
                                                                      Co-lead counsel representing a group of institutional
Plaintiffs’ Steering Committee and Discovery Committee in In
re Bridgestone/Firestone, Inc. Tires Products Liability Litigation,   shareholders In re Allion Healthcare, Inc. Shareholders
MDL 1373 (S.D. Ind.).                                                 Litigation, No. 5022-cc (Del. Ch.).

In re Ford Motor Co. E-350 Van Products Liability Litigation (No.     Co-lead counsel representing investors in Robert Freedman v.
II), MDL 1687                                                         St. Jude Medical, Inc., No. 0:2012cv03070 (D. Minn.).
Class counsel in Carol Lee Whitfield, et al., v. Sangamo Weston,      Co-lead counsel representing investors in In re Hewlett-
No. 6:84-3184 (D.S.C.), a PCB personal injury and property            Packard Co. Securities Litigation, No. SACV 11-1404 AG (RNBx)
damage class action settled while pending before U.S. District        (C.D. Cal.).
Court for the District of South Carolina, Greenville Division.




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Co-lead counsel in In re UBS AG Securities Litigation, No.07            Co-lead counsel in In re Synovus Financial Corporation, No.
Cov. 11225 (RJS) (S.D.N.Y.).                                            1:09-cv-01811 (N.D. Ga.), for co-lead plaintiff Sheet Metal
                                                                        Workers’ National Pension Fund, investors in Georgia bank
Co-lead counsel representing institutional investors in Hill v.         Synovus Financial Corp.
State Street Corporation, No. 09-cv-12146-NG (D. Mass.).
                                                                        Plaintiffs’ Steering Committee and plaintiffs’ liaison counsel, In
Sole lead counsel representing lead plaintiffs in City of Brockton      re Policy Management Systems Corporation, No. 3:93-0807-JFA
Retirement System v. Avon Products, Inc., No. 11 Civ. 4665 (PGG)        (D.S.C.).
(S.D.N.Y.).
                                                                        Sole lead counsel, In re Coventry Health Care, Inc. Securities
Co-lead counsel on behalf of stockholders in Marsden v. Select          Litigation, No. 7905-CS (Del. Ch. ), a shareholder class action
Medical Corporation, No. 04-cv-4020 (E.D. Pa.).                         challenging the $7.2 billion acquisition of Coventry Health Care,
                                                                        Inc., by Aetna, Inc.
Co-lead counsel on behalf of a class of investors in South
Ferry LP #2 v. Killinger, No. C04-1599C-(W.D. Wash.) (regarding         Co-lead counsel in Louisiana class action In re The Shaw Group,
                                                                        Inc. Shareholders Litigation, No. 614399 (19th Jud. Dist. La.).
Washington Mutual).
                                                                        Co-lead counsel, In re Atheros Communications Inc. Shareholder
Sole lead counsel representing the lead plaintiff in class
                                                                        Litigation, No. 6124-VCN (Del. Ch.), merger litigation involving
action, In re NPS Pharmaceuticals, Inc. Securities Litigation, No.      Qualcomm Incorporated’s proposed acquisition of Atheros
2:06-cv-00570-PGC-PMW (D. Utah), concerning the drug PREOS.             Communications, Inc.
Co-lead counsel for co-lead plaintiffs Drywall Acoustic Lathing
and Insulation Local 675 Pension Fund and Metzler Investment
                                                                        ANTITRUST/COMPETITION LAW
GmbH in In re Molson Coors Brewing Co. Securities Litigation,           Plaintiffs’ Steering Committee In re Juul Labs, Inc. Antitrust
No. 1:05-cv-00294 (D. Del.).                                            Litigation, Case No. 20-cv-02345-WHO (N.D. Cal.)

Co-lead plaintiffs’ counsel in shareholder class action In re The       Plaintiffs’ Steering Committee In re Chicago Board Options
DirecTV Group, Inc. Shareholder Litigation, No. 4581-VCP (Del.          Exchange Volatility Index Manipulation Antitrust Litigation No.
Ch.).                                                                   18 CV 4171 MDL No. 2842 (N.D. Ill. Eastern Division).

Sole lead counsel in Manville Personal Injury Settlement Trust v.       Co-Lead Counsel In re Zetia (Ezetimibe) Antitrust Litigation,
Gemunder, No. 10-CI-01212 (Ky. Cir. Ct.) (regarding Omnicare,           MDL No. 2:18md2836 (E.D. Va Norfolk Division).
Inc.), a shareholder derivative complaint stemming from federal         Plaintiffs’ Steering Committee of In re Digoxin & Doxycycline
investigations into three kickback schemes.                             Antitrust Litigation, 16 md 2724 (E.D. Pa.)
Co-lead plaintiffs’ counsel in City of Sterling Heights General         Interim Co-Lead Counsel of In re Solodyn Antitrust Litigation, 14
Employees’ Retirement System v. Hospira, Inc., No. 11 C 8332            cv 2503 (D. Mass.)
(N.D. Ill.), a securities fraud class action.
                                                                        Interim Co-Lead Counsel in antitrust class action In re Keurig
Co-lead counsel in In re Rehabcare Group, Inc. Shareholders             Green Mountain Single-Serve Coffee Antitrust Litigation, MDL
Litigation, No. 6197-VCL (Del. Ch.), merger litigation involving        No. 2542 (S.D.N.Y.).
the acquisition of healthcare provider RehabCare Group, Inc.,
                                                                        Appointed to the Executive Committee in antitrust class action
by Kindred Healthcare, Inc.
                                                                        In re Lidoderm Antitrust Litigation, MDL No. 2521 (N.D.Cal.).
Class counsel in Brown v. Charles Schwab & Co., No. 2:07-cv-
                                                                        Interim Liaison Counsel In Re Aggrenox Antitrust Litigation,
03852-DCN (D.S.C.), one of the first cases to interpret the civil
                                                                        MDL No. 2516 (D.Conn.).
liabilities provision of the Uniform Securities Act of 2002.
                                                                        Co-lead counsel in antitrust class action In re Loestrin 24 Fe
Co-lead counsel in securities class action settlement In re
                                                                        Antitrust Litigation, MDL 2472 (D.R.I.).
MBNA Corporation Securities Litigation, No. 05-CV-00272-GMS
(D.Del.).                                                               Co-lead counsel in antitrust class action In re Suboxone
                                                                        (Bupreorphine Hydrochloride and Naloxone) Antitrust
Lead counsel for lead plaintiffs in a securities class action
                                                                        Litigation, MDL 2445 (E.D. Pa.).
involving a group of shareholders who purchased publicly-
traded Dell securities in In re Dell, Inc. Securities Litigation, No.   Co-lead counsel in antitrust class action In re Niaspan Antitrust
A-06-CA-726-SS (W.D. Tex.).                                             Litigation, MDL 2460 (E.D. Pa.).
Co-lead counsel in Minneapolis Firefighters’ Relief Association         Co-lead counsel in antitrust class action In re Effexor XR
v. Medtronic, Inc., No. 08-6324 (PAM/AJB) (D. Minn.), representing      Antitrust Litigation, No. 11-cv-05590 (D.N.J.).
a class of investors who purchased Medtronic common stock.              Co-lead counsel for the end-payor antitrust class action In re
                                                                        Actos Antitrust Litigation, (S.D.N.Y.).
                                                                        Co-lead counsel in antitrust class action In re Lipitor Antitrust
                                                                        Litigation, MDL 2332 (D.N.J.).



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TOXIC TORTS AND OCCUPATIONAL DISEASE                                  Lead plaintiffs’ counsel in In re Raymark Asbestos Exposure
                                                                       Cases, No. 87-1016-K (D. Kan.), a national asbestos personal
Liaison Counsel for In re Aqueous Film-Forming Foams
                                                                       injury class action in which 19,684 claims were resolved.
Products Liability Litigation (MDL 2873 D.S.C.) regarding a
fire suppressant that is part of the PFAS chemical group that         Co-lead plaintiffs’ counsel in Cimino v. Pittsburgh Corning
allegedly contaminated groundwater and harmed people.                 Corporation, No. 1:85-CV-00676 (E.D. Tex.), an asbestos personal
                                                                      injury class action on behalf of approximately 2,300 plaintiffs.
Plaintiffs’ Executive Committee in the Flint, MI lead
contamination class action: In re Flint Water Cases, No. 5:16-cv-     Co-lead plaintiffs’ counsel in Chatham v. AC&S, et al., a
10444 (E.D. Mich.).                                                   consolidated asbestos personal injury action involving 300
                                                                      plaintiffs in the Circuit Court of Harris County, Texas.
Plaintiffs’ Steering Committee of In re Oil Spill by the Oil Rig
“Deepwater Horizon” in the Gulf of Mexico on April 20, 2010,           o-lead plaintiffs’ counsel in Abrams v. GAF Corporation,
                                                                      C
MDL 2179, (E.D. La.), and lead settlement negotiators of the two      No. 88-5422(1) (Jackson Cty., Miss.), a consolidated asbestos
class action settlements reached with BP, one of which is the         personal action involving more than 6,000 plaintiffs.
largest civil class action settlement in U.S. history.                 o-liaison plaintiffs’ counsel in 3,000 asbestos personal injury
                                                                      C
Lead trial counsel in The People of the State of California v.        cases in the Third Judicial Circuit of Illinois, Madison County,
Atlantic Richfield Company, et al. No. 1-00-CV-788657 (Santa          Illinois.
Clara Cnty. Super. Ct.) Resulting in 2014 verdict holding             Co-lead plaintiffs’ counsel in a consolidated asbestos personal
Sherwin-Williams Company, ConAgra Grocery Products and NL             injury action involving 540 plaintiffs pending in the Superior
Industries Inc. liable for creating a public nuisance and ordered     Court of Alameda County, California.
abatement of lead paint from homes within 10 California cities
and counties.                                                         
                                                                      Counsel  in numerous consolidated asbestos trials including 87
                                                                      consolidated cases in Danville, Illinois; 300 consolidated cases
Bongani Nkala & Others v. Harmony Gold Mining Company                 in U.S. District Court, Western District of New York, Rochester,
Limited & Others, No. 48226/12 (South Gauteng High Court,             New York; 42 consolidated cases in State Court in Mississippi;
Johannesburg). Motley Rice has been retained as a consultant          and 315 consolidated cases in the Circuit Court of Kanawha
by South African human rights lawyer Richard Spoor in his             County, West Virginia.
effort to take on leading global gold producers and seek justice
for tens of thousands of exploited gold mine workers suffering        Plaintiffs’ lead counsel in In re Kansas Asbestos Cases in U.S.
from silicosis.                                                       District Court for the District of Kansas, In re Madison County
                                                                      Illinois Asbestos Litigation
Travelers Statutory Direct Action Settlement (Bankr. Court,
S.D.N.Y.), an eleven-state asbestos settlement with Travelers         Plaintiffs’ lead counsel in In re Wayne County Michigan Asbestos
Insurance.                                                            Cases.
Co-lead and Liaison Counsel in In re KBR, Inc., Burn Pit Litigation   John Schumacher v. Amtico, et al., No. 2:10-1627 (E.D.Pa.), the
                                                                      first federal court mesothelioma case to go to trial before
Chair, Plaintiffs’ Steering Committee and liaison counsel for         Eduardo C. Robreno, the judge who oversees the entire Federal
plaintiffs, In re Asbestos Products Liability Litigation, MDL 875     Asbestos MDL, In re Asbestos Products Liability Litigation, MDL
(E.D. Pa.).                                                           875.
Plaintiffs’ Steering Committee and coordinating counsel,              Plaintiffs’ Steering Committee of In re Welding Fume Products
Linscomb v. Pittsburgh Corning Corporation, No. 1:90cv-05000          Liability Litigation, MDL 1535
(E.D. Tex.), a national class action on behalf of asbestos victims
nationwide.                                                           ANTI-TERRORISM AND HUMAN RIGHTS
Michelle McMunn, et al. vs. Babcock & Wilcox Power Generation         Lead counsel in In re Thomas E. Burnett, Sr., et al. v. Al Baraka
Group, Inc., et al., Civil Action No. 10-143 2:10-cv-00143-DSC-       Investment & Development Corp., et al., Case No. 03-CV-9849
RCM                                                                   (GBD); In re Terrorist Attacks on September 11, 2001, MDL 1570
Lead plaintiffs’ counsel in Bates v. Tenco Services Inc.,132          (S.D.N.Y), a landmark lawsuit against the alleged sponsors of
F.R.D. 160 (D.S.C. 1990), a jet fuel pollution case involving the     al Qaeda and Osama bin Laden in an action filed on behalf of
consolidated property damage and personal injury claims of            more than 6,500 family members, survivors, and those killed on
multiple plaintiffs in the Gold Cup Springs subdivision.              9/11.
xecutive committee member in In re Asbestos School
E                                                                     Linde et al. v. Arab Bank PLC, No. 1:04-cv-02799 (E.D.N.Y.) and
Litigation, No. 94-1494 (E.D. Pa.), a national school asbestos        Almog v. Arab Bank, PLC, No. 1:04-cv-05564-NG-VVP (E.D.N.Y.),
class action.                                                         one of the first lawsuits brought against an international bank
                                                                      for its alleged role in financing terrorism.
Lead plaintiffs’ counsel in Central Wesleyan College v. W.R.
 Grace & Co., No. 2:87-1860-8 (D.S.C.), a national asbestos           Mark McDonald, et al. vs. The Socialist People’s Libyan Arab
 property damage class action.                                        Jamahiriya, et al.; No. 06-CV-0729-JR (DC 04/21/06), a high-
                                                                      profile case involving Libya’s longtime alleged sponsorship of
                                                                      IRA acts of terror.

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Cummock, et al. v. Socialist People’s Libyan Arab Jamahiriya,        BANKRUPTCIES
et al., No. 96-CV-1029 (D.D.C.). Victoria Cummock, Motley Rice’s     Coalition of Abused Scouts for Justice in the Boy Scouts
client, sought full accountability and a public trial as the only    of America and Delaware BSA, LLC Chapter 11 bankruptcy
opt-out of the no-fault Pan Am 103/Lockerbie settlement.             proceedings (Case No. 20-10343), on behalf of a group of firms
Krishanthi, et al. vs. Rajaratnam, et al.; No. 09-CV-5395(D.N.J.),   representing thousands of survivors
terrorist financing litigation against alleged financiers of the     Claimants’ committee in In re A.H. Robins, a Chapter 11
Tamil Tigers terrorist organization in Sri Lanka.                    Reorganization involving Dalkon Shield victims nationwide
Plaintiffs’ Steering Committee and lead counsel for Verizon          Claimants committee in the Camall Chapter 11, the first
plaintiffs in In re National Security Agency Telecommunications      bankruptcy associated with the Fen-Phen litigation
Records Litigation, MDL 1791
                                                                     Motley Rice attorneys currently serve as a member of the trust
Ng v. Central Falls Detention Facility Corporation, et al., No.      advisory committee for several of the asbestos bankruptcy
09-53 (D. R.I.), a human rights case that alleged the defendants     trusts formed under 524(g) of the federal bankruptcy code:
subjected a Chinese immigration detainee to extreme physical
and mental abuse and torture while in U.S. custody.                  AC&S , Inc. Bankr., No. 02-12687 (D. Del.)
Harris, et al. v. Socialist People’s Libyan Arab Jamahiriya, et      Armstrong World Industries, Inc., Bankr. No. 00-4471 (D. Del.)
al., No. 1:06-cv-00732-RWR (D.D.C.), a case filed against Libya      Babcock & Wilcox Co. Bankr., No. 00-10992 (E.D. La.)
involving the 1986 bombing of Berlin’s LaBelle Discotheque.
                                                                     Celotex Corp. Bankr., Nos. 90-10016-8B1, 90-10017-8B1 (M.D.
AVIATION DISASTERS AND PASSENGER RIGHTS                              Fla.)
Plaintiffs’ liaison counsel in In re September 11 Litigation, No.    Dresser II Bankr., No. 03-35592 (W.D. PA.)
21-MC-97-AKH (S.D.N.Y), representing 56 of the 96 families           Federal Mogul Bankr., No. 01-10578 (D. Del)
that opted out of the no-fault federal September 11 Victim
Compensation Fund in liability and damages cases claims              G-I Holdings Bankr., Nos. 01-30135 and 01-38790 (D.N.J.)
against the airlines and aviation security companies for their       Johns-Manville Corp., No.82-B11656 through 82 B 11676 (S.D.N.Y.,
alleged failure to implement basic security measures.                E.D.N.Y.)
Amanda Tuxworth v. Delta Air Lines, Inc., No. 2:10-cv-03212-RMG      Kaiser Aluminum Corp. Bankr., No.02-10429 (D. Del.)
(D.S.C), an aviation passenger rights case involving a Delta
                                                                     Keene Bankr., No. 93B 46090,96 CV 3492 (S.D.N.Y.)
passenger.
                                                                     MH Detrick Bankr., No. 98 B 01004 (N.D. Ill.)
Chris Turner, Individually and as Personal Representative of The
Estate of Tracy Turner v. Ramo LLC, a Florida Limited Liability      Owens Corning Corp. Bankr., No. 00-03837 (D. Del.)
Company, No. 11-14066 (Ct. of Appeals, 11th Cir.), an aviation       Rock Wool Bankr., Nos. CV-99-J-I589-S.BK -96-08295-TBB-11 (N.D.
case involving fraudulent transfer allegations in connection         Ala.)
with a fatal plane crash.
                                                                     Rutland Fire Clay Bankr., No. 99-11390 (D. Vt.)
Counsel for victims of Asiana Airlines Flight 214
                                                                     Shook & Fletcher Bankr., No. 02-02771-BGc-11 (N.D. Ala.)
Counsel for families of victims of Malaysia Airlines Flight MH370
                                                                     United States Gypsum Corp. Bankr., No. 01-2094 (D. Del.)
                                                                     W.R. Grace Co. Bankr., No.s 01-1139, 01-1140 (D. Del.)
                                                                     Motley Rice attorneys have served as lead or co-lead trial
                                                                     counsel on behalf of The Asbestos Claims Committee:
                                                                     Armstrong World Industries, Inc., Bankr. No. 00-4471 (D. Del.)
                                                                     (estimation trial and plan confirmation trial)
                                                                     Federal Mogul Bankr., No. 01-10578 (D. Del.) (estimation trial and
                                                                     plan confirmation trial)
                                                                     Owens Corning Corp. Bankr., No. 00-03837 (D. Del.) (estimation
                                                                     trial and substantive consolidation trial)
                                                                     Pittsburgh Corning Corp. Bankr., No. 00-22876 (W.D. Pa.) (plan
                                                                     confirmation trial)
                                                                     W.R. Grace Co. Bankr., Nos. 01-1139, 01-1140 (D. Del.) (estimation
                                                                     trial and plan confirmation trial)




 6      Motley Rice LLC • Attorneys at Law                                         Prior results do not guarantee a similar outcome.
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Motley Rice attorneys have served on The Asbestos Claims
Committee involved in the formation and confirmation of
various asbestos bankruptcy trusts.
AC&S Bankr., No. 02-12687 (D. Del)
Babcock & Wilcox Bankr., No. 00-10992 (E.D. La.)
Celotex Bankr., Nos. 90-10016-8B1, 90-10017-8B1 (M.D. Fla.)
Combustion Engineering Bankr., D. Del. No. 03-10495 (D. Del.)
Congoleum Corp. Bankr., No.03-51524 (D.N.J.)
Durabla Corp. Bankr., No. 09-14415 (D. Del)
Federal Mogul Bankr., No. 01-10578 (D. Del.)
G-I Holdings Bankr., Nos. 01-30135 and 01-38790 (D. N.J.)
Johns-Manville Corp., No.82-B11656 through 82 B 11676 (E.D.N.Y.)
Keene Bankr., No. 93B 46090,96 CV 3492 (S.D.N.Y.)
MH Detrick Bankr., No. 98 B 01004 (N.D. Ill.)
North American Refractories Corp. Bankr., No. 02-20198 (W.D.
Pa.)
Owens Corning Corp. Bankr., No. 00-03837 (D. Del.)
Pittsburgh Corning Corp. Bankr., No. 00-22876 (W.D. Pa.)
Rock Wool Bankr., Nos. CV-99-J-I589-S.BK-96-08295-TBB-11 (N.D.
Ala.)
Rutland Fire Clay Bankr., No. 99-11390 (D. Vt.)
Shook and Fletcher Bankr., No. 02-02771-BGc-11 (N.D. Ala.)
United States Gypsum Corp. Bankr., No. 01-2094 (D. Del.)
W.R. Grace Co. Bankr., No.s 01-1139, 01-1140 (D. Del.)




Prior results do not guarantee a similar outcome.                  Motley Rice LLC • Attorneys at Law   7
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ACCOLADES FOR THE FIRM




                                                       “Best Law Firm”
                                                         U.S. News – Best Lawyers®
                                                         Mass tort litigation / class actions–plaintiffs
                                                         2021 • 2020 • 2019 • 2018 • 2017 • 2016 • 2015
                                                         2014 • 2013 • 2012 • 2011 • 2010



                                                         The Legal 500 United States
                                                         Litigation editions
                                                         Product liability, mass tort and class action - plaintiff: TIER 1
                                                         2020 • 2019 • 2018 • 2017 • 2016 • 2015 • 2014
                                                         2013 • 2012 • 2011 • 2009 • 2007



                                                       “Elite Trial Lawyers”
                                                         The National Law Journal
                                                         2020 Pharmaceuticals Firm of the Year
                                                         2020 Insurance Liability Firm of the Year
                                                         2019 Bankruptcy Law
                                                         2015 • 2014



                                                         Practice Group of the Year
                                                         Law360
                                                         2020 • 2019 • 2015 Product Liability
                                                         2018 Consumer Protection
                                                         2015 • 2013 “Most Feared Plaintiffs Firm”




For full methodologies and selection criteria, visit www.motleyrice.com/award-methodology
Please remember that every case is different. Although they endorse certain lawyers, The Legal 500 United States and Chambers
USA and other similar organizations listed above are not Motley Rice clients. Any result we achieve for one client in one matter does
not necessarily indicate similar results can be obtained for other clients.


 8      Motley Rice LLC • Attorneys at Law                                             Prior results do not guarantee a similar outcome.
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OUR LEGACY

Ronald L. Motley (1944–2013)                                           Recognized as an AV®-rated attorney by Martindale-Hubbell®,
                                                                       Ron served on the AAJ Board of Governors from 1977 to 2012
EDUCATION:                                                             and was chair of its Asbestos Litigation Group from 1978 to
J.D., University of South Carolina School of Law, 1971                 2012. In 2002, Ron founded the Mark Elliott Motley Foundation,
B.A., University of South Carolina, 1966                               Inc., in loving memory of his son to help meet the health,
Ron Motley fought for greater justice, accountability and              education and welfare needs of children and young adults in
recourse, and has been widely recognized as one of the most            the Charleston, S.C. community.
accomplished and skilled trial lawyers in the U.S. During a career
that spanned more than four decades, his persuasiveness                PUBLICATIONS:
before a jury and ability to break new legal and evidentiary           • Ron authored or co-authored more than two dozen
ground brought to justice two once-invincible giant industries           publications, including:
whose malfeasance took the lives of millions of Americans—             • “Decades of Deception: Secrets of Lead, Asbestos and
asbestos and tobacco. Armed with a combination of legal and              Tobacco” (Trial Magazine, October 1999)
trial skills, personal charisma, nose-to-the-grindstone hard           • “Asbestos Disease Among Railroad Workers: ‘Legacy of the
work and record of success, Ron built Motley Rice into one of            Laggin’ Wagon’” (Trial Magazine, December 1981)
the nation’s largest plaintiffs’ law firms.                            • “Asbestos and Lung Cancer” (New York State Journal of
Noted for his role in spearheading the historic litigation against       Medicine, June 1980; Volume 80: No.7, New York State
the tobacco industry, Ron served as lead trial counsel for 26            Medical Association, New York)
State Attorneys General in the lawsuits. His efforts to uncover        • “Occupational Disease and Products Liability Claims” (South
corporate and scientific wrongdoing resulted in the Master               Carolina Trial Lawyers Bulletin, September and October 1976)
Settlement Agreement, the largest civil settlement in U.S.
                                                                       FEATURED IN:
history and in which the tobacco industry agreed to reimburse          • Shackelford, Susan. “Major Leaguer” (South Carolina Super
states for smoking-related health care costs.                            Lawyers, April 2008)
Through his pioneering discovery and collaboration, Ron                • Senior, Jennifer. “A Nation Unto Himself” (The New York Times,
revealed asbestos manufacturers and the harmful and disabling            March 2004)
effects of occupational, environmental and household asbestos          • Freedman, Michael. “Turning Lead into Gold,” (Forbes, May
exposure. He represented thousands of asbestos victims and               2001)
achieved numerous trial breakthroughs, including the class             • Zegart, Dan. Civil Warriors: The Legal Siege on the Tobacco
actions and mass consolidations of Cimino, et al. v. Raymark, et         Industry (Delacorte Press, 2000)
al. (U.S.D.C. TX); Abate, et al. v. ACandS, et al. (Baltimore); and    • Ansen, David. “Smoke Gets in Your Eyes” (Newsweek, 1999)
In re Asbestos Personal Injury Cases (Mississippi).
                                                                       • Mann, Michael & Roth, Eric. “The Insider” (Blue Lion
In 2002, Ron once again advanced cutting-edge litigation as lead         Entertainment, November 5, 1999)
counsel for the 9/11 Families United to Bankrupt Terrorism with        • Brenner, Marie. “The Man Who Knew Too Much” (Vanity Fair,
a lawsuit filed by more than 6,500 family members, survivors and         May 1996)
those who lost their lives in the Sept. 11, 2001, terrorist attacks.   • Reisig, Robin. “The Man Who Took on Manville” (The American
The suit seeks justice and ultimately bankruptcy for al Qaeda’s          Lawyer, January 1983)
financiers, including many individuals, banks, corporations
and charities that provided resources and monetary aid. He             AWARDS AND ACCOLADES:
also served as lead counsel in numerous individual aviation            Ron won widespread honors for his ability to win justice
security liability and damages cases under the In re September         for his clients and for his seminal impact on the course of
11 Litigation filed against the aviation and aviation security         civil litigation. For his trial achievements, BusinessWeek
industries by victims’ families devastated by the security             characterized Ron’s courtroom skills as “dazzling” and The
failures of 9/11.                                                      National Law Journal ranked him, “One of the most influential
                                                                       lawyers in America.”
Ron brought the landmark case of Oran Almog v. Arab Bank
against the alleged financial sponsors of Hamas and other              South Carolina Association for Justice
terrorist organizations in Israel and was a firm leader in the         2013 Founders’ Award
BP Deepwater Horizon litigation and claims efforts involving           American Association for Justice
people and businesses in Gulf Coast communities suffering as           2010 Lifetime Achievement Award
a result of the oil spill. Two settlements were reached with BP,       2007 David S. Shrager President’s Award
one of which is the largest civil class action settlement in U.S.      1998 Harry M. Philo Trial Lawyer of the Year
history.




Prior results do not guarantee a similar outcome.                                          Motley Rice LLC • Attorneys at Law      9
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                                                                       TEAM BIOGRAPHIES

The Trial Lawyer Magazine
                                                                       THE FIRM’S MEMBERS
2012 inducted into Trial Lawyer Hall of Fame
2011 The Roundtable: America’s 100 Most Influential Trial              Joseph F. Rice
Lawyers                                                                LICENSED IN: DC, SC
The Best Lawyers in America®                                           ADMITTED TO PRACTICE BEFORE:
1993–2013 mass tort litigation/class actions – plaintiffs,             U.S. Supreme Court
personal injury litigation – plaintiffs product liability litigation   U.S. Court of Appeals for the Second, Third, Fourth and Fifth
– plaintiffs                                                           Circuits
                                                                       U.S. District Court for the District of Nebraska and the District
Best Lawyers®                                                          of South Carolina
2012 Charleston, SC “Lawyer of the Year” mass tort litigation/         EDUCATION:
class actions – plaintiffs                                             J.D., University of South Carolina School of Law, 1979
2010 Charleston, SC “Lawyer of the Year” personal injury               B.S., University of South Carolina, 1976
Benchmark Plaintiff                                                    Motley Rice co-founder Joe Rice is recognized as a skillful
2012–2013 National “Litigation Star”: civil rights/human rights,       and innovative negotiator of complex litigation settlements,
mass tort/product liability, securities                                having served as the lead negotiator in some of the largest civil
2012–2013 South Carolina “Litigation Star”: human rights,              actions our courts have seen in the last 20 years. Corporate
product liability, securities, toxic tort                              Legal Times reported that national defense counsel and legal
                                                                       scholars described Joe as one of the nation’s “five most feared
SC Lawyers Weekly
                                                                       and respected plaintiffs’ lawyers in corporate America.” As the
2011 Leadership in Law Honoree
                                                                       article notes, “For all his talents as a shrewd negotiator ... Rice
The Legal 500 United States                                            has earned most of his respect from playing fair and remaining
2011–2013 Mass tort and class action: plaintiff representation         humble.”
– toxic tort
                                                                       Joe was recognized by some of the nation’s best-regarded
Chambers USA                                                           defense lawyers as being “the smartest dealmaker they ever
2007, 2010–2012 Product liability and mass torts: plaintiffs.          sat across the table from,” Thomson Reuters has reported.
“...An accomplished trial lawyer and a formidable opponent.”           Professor Samuel Issacharoff of the New York University School
2008–2013 South Carolina Super Lawyers® list                           of Law, a well-known professor and expert in class actions and
2008 Top 10 South Carolina Super Lawyers list                          complex litigation, has commented that he is “the best strategic
2008, 2009, 2011, 2012 Top 25 South Carolina Super Lawyers list        thinker on the end stages of litigation that I’ve ever seen.”

The Lawdragon™ 500                                                     Since beginning to practice law in 1979, Joe has continued
2005–2012 Leading Lawyers in America list – plaintiffs’                to reinforce his reputation as a skillful negotiator, including
                                                                       through his involvement structuring some of the most
National Association of Attorneys General                              significant resolutions of asbestos liabilities on behalf of those
1998 President’s Award—for his “courage, legal skills and              injured by asbestos‐related products. He negotiates for the
dedication to our children and the public health of our nation.”       firm’s clients at all levels, including securities and consumer
The Campaign for Tobacco-Free Kids                                     fraud, anti-terrorism, human rights, environmental, medical
1999 Youth Advocates of the Year Award                                 drugs and devices, as well as catastrophic injury and wrongful
                                                                       death cases.
ASSOCIATIONS:
American Association for Justice                                       NATIONAL PRESCRIPTION OPIATE MDL:
South Carolina Association for Justice                                 Most recently, Joe was appointed co-lead counsel in the National
American Bar Association                                               Prescription Opiate MDL aimed at combatting the alleged over-
South Carolina Bar Association                                         distribution and deceptive marketing of prescription opioids.
Civil Justice Foundation                                               Joe, with other members of the Plaintiffs’ Executive Committee,
Inner Circle of Advocates                                              led negotiations for a $260 million settlement that was reached
International Academy of Trial Lawyers                                 on the eve of the MDL’s first bellwether trial. The deal resolved
                                                                       claims filed by Ohio’s Cuyahoga and Summit counties against
Although it endorses this lawyer, The Legal 500 United States is
not a Motley Rice client.                                              opioid manufacturers and distributors Teva, Cardinal Health,
                                                                       AmerisourceBergen and McKesson. Motley Rice continues to
                                                                       represent dozens of governmental entities, including the first
                                                                       jurisdictions to file cases in the current wave of litigation.

                                                                       VEHICLE RECALLS:
                                                                       Joe served as one of the lead negotiators in the $15 billion
                                                                       Volkswagen Diesel Emissions Fraud class action settlement
                                                                       for 2.0-liter vehicles, the largest auto-related consumer


 10      Motley Rice LLC • Attorneys at Law                                          Prior results do not guarantee a similar outcome.
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class action settlement in U.S. history, as well as the 3.0-liter     resolutions in complex personal injury litigation for asbestos
settlement. Under his leadership, Motley Rice also helped             liabilities on behalf of victims injured by asbestos-related
negotiate a pair of Takata bankruptcy resolutions that secured        products. Joe has served as co-chair of Perrin Conferences’
funds for victims who were harmed by the company’s deadly,            Asbestos Litigation Conference, the largest national asbestos-
explosive airbags. Joe also serves as a member of the Plaintiffs’     focused conference.
Executive Committee for In re General Motors LLC Ignition
Switch Litigation, and was appointed to the Plaintiffs’ Steering      SECURITIES AND CONSUMER FRAUD:
Committee for In re Chrysler-Dodge-Jeep Ecodiesel Marketing,          Joe is often sought by investment funds for guidance on
Sales Practices, and Products Liability Litigation.                   litigation strategies to increase shareholder value, enhance
                                                                      corporate governance reforms and recover assets. He was
MEDICAL DRUGS AND DEVICES:                                            an integral part of the shareholder derivative action against
Joe led negotiations on behalf of thousands of women who              Omnicare, Inc., Manville Personal Injury Settlement Trust
allege complications and severe health effects caused by              v. Gemunder, which resulted in a significant settlement for
transvaginal mesh and sling products, including litigation that       shareholders as well as new corporate governance policies for
has five MDLs pending in the state of West Virginia. He is also       the corporation.
a member of the Plaintiffs’ Steering Committee for the Lipitor®       Joe serves on the Board of Advisors for Emory University’s
MDL, filed for patients who allege the cholesterol drug caused        Institute for Complex Litigation and Mass Claims, which
their Type 2 diabetes.                                                facilitates bipartisan discussion of ways to improve the civil
                                                                      justice system through the hosting of judicial seminars, bar
BP OIL SPILL:
                                                                      conferences, academic programs, and research. In 1999 and
Joe served as a co-lead negotiator for the Plaintiffs’ Steering
                                                                      2000, he served on the faculty at Duke University School of Law
Committee in reaching the two settlements with BP, one of
                                                                      as a Senior Lecturing Fellow, and taught classes on the art of
which is the largest civil class action settlement in U.S. history.
                                                                      negotiating at the University of South Carolina School of Law,
The Economic and Property Damages Rule 23 Class Action
                                                                      Duke University School of Law and Charleston School of Law.
Settlement is estimated to make payments totaling between
$7.8 billion and $18 billion to class members. Joe was also one       In 2013, he and the firm created the Ronald L. Motley Scholarship
of the lead negotiators of the $1.028 billion settlement reached      Fund at The University of South Carolina School of Law in
between the Plaintiffs’ Steering Committee and Halliburton            memory and honor of co-founding member and friend, Ron
Energy Services, Inc., for Halliburton’s role in the disaster.        Motley.

9/11:                                                                 AWARDS AND ACCOLADES:
Joe held a crucial role in executing strategic mediations and/or      Best Lawyers®
resolutions on behalf of 56 families of 9/11 victims who opted out    2013 “Lawyer of the Year” Charleston, SC: Mass tort litigation/
of the government-created September 11 Victim Compensation            class actions – plaintiffs
Fund. In addition to providing answers, accountability and            2007–2021 Mass tort litigation/class actions – plaintiffs
recourse to victims’ families, the resulting settlements with         South Carolina Association for Justice
multiple defendants shattered a settlement matrix developed           2018 Founders’ Award
and utilized for decades. The litigation also helped provide
public access to evidence uncovered for the trial.                    South Carolina Super Lawyers® list
                                                                      2008–2021 Class action/mass torts; Securities litigation;
TOBACCO:                                                              General litigation
As lead private counsel for 26 jurisdictions, including numerous      Lawdragon
State Attorneys General, Joe was integral to the crafting and         2016, 2018–2021 Lawdragon 500
negotiating of the landmark Master Settlement Agreement,              2019–2020 Lawdragon 500 Plaintiff Consumer Lawyers
in which the tobacco industry agreed to reimburse states for          2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
smoking-related health costs. This remains the largest civil
settlement in U.S. history.                                           Chambers USA
                                                                      2019–2020 Product Liability: Plaintiffs – Nationwide, Band 1
ASBESTOS:                                                             2016, 2018 Product Liability: Plaintiffs – Nationwide, Band 2
Joe held leadership and negotiating roles involving the               Law360
bankruptcies of several large organizations, including AWI,           2015 “Product Liability MVP”
Federal Mogul, Johns Manville, Celotex, Garlock, W.R. Grace,
Babcock & Wilcox, U.S. Gypsum, Owens Corning and Pittsburgh           Benchmark Litigation
Corning. He has also worked on numerous Trust Advisory                2012–2013 National “Litigation Star”: mass tort/product
Committees. Today, he maintains a critical role in settlements        liability
involving asbestos manufacturers emerging from bankruptcy             2012–2017 South Carolina “Litigation Star”: environmental,
and has been recognized for his work in structuring significant       mass tort/product liability




Prior results do not guarantee a similar outcome.                                         Motley Rice LLC • Attorneys at Law      11
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The Legal 500 United States, Litigation edition                 John A. Baden IV
2020 Legal 500 Leading Lawyer
                                                                LICENSED IN: SC
2011–2012, 2014–2019 Dispute resolution – product liability,
                                                                ADMITTED TO PRACTICE BEFORE:
mass tort and class action – toxic tort – plaintiff
                                                                U.S. Court of Appeals for the Second and Fifth Circuits, U.S.
The National Trial Lawyers                                      Bankruptcy Court for the Southern District of New York and
2020 Elite Trial Lawyers Lifetime Achievement Award             Western District of North Carolina
2014 Litigation Trailblazers                                    EDUCATION:
2010 Top 100 Trial Lawyers™ – South Carolina                    J.D., University of South Carolina School of Law, 2002
SC Lawyers Weekly                                               B.A., College of Charleston, 1996
2018 Hall of Fame honoree                                       John Baden represents clients harmed by asbestos exposure in
2012 Leadership in Law Award                                    individual and mass tort forums, as well as in complex asbestos
                                                                bankruptcies, handling complete case management and
National Association of Attorneys General                       settlement negotiations for individuals and families suffering
1998 President’s Award                                          from mesothelioma and other asbestos-related diseases.
University of South Carolina School of Law Alumni Association   Most recently, John advocated for consumers throughout
2011 Platinum Compleat Lawyer Award                             Takata Corp.’s Chapter 11 bankruptcy process and helped
MUSC Children’s Hospital                                        negotiate the structure of the resulting bankruptcy agreement
2010 Johnnie Dodds Award: in honor of his longtime support of   for personal injury claimants. John also handles the negotiation
the annual Bulls Bay Golf Challenge Fundraiser and continued    and complex case resolution of asbestos bankruptcies,
work on behalf of our community’s children                      including development of structured settlements with viable
                                                                asbestos manufacturers and those emerging from bankruptcy.
University of South Carolina
                                                                His work with the bankruptcy courts and settlement trusts
2011 Garnet Award: in recognition of Joe and his family for
                                                                aims to hold asbestos companies accountable and provide
their passion for and devotion to Gamecock athletics
                                                                due compensation to asbestos victims. John has lectured on
SC Junior Golf Association Programs                             asbestos bankruptcy issues at a number of legal seminars.
2011 Tom Fazio Service to Golf Award: in recognition of
                                                                John is involved in the settlement negotiations of medical drug
promotional efforts
                                                                and device MDLs, including the transvaginal mesh litigation In re
                                                                American Medical Systems, Inc., Pelvic Repair Systems Products
COMMUNITY INVOLVEMENT:
                                                                Liability Litigation, MDL 2325. He continues to be involved in
Dee Norton Lowcountry Children’s Center, Co-chair for
                                                                negotiations related to additional TVM manufacturers. John
inaugural Campaign for the Next Child
                                                                also played a role in settlement negotiations for In re Avandia
First Tee of Greater Charleston, Board of Advisors
                                                                Marketing, Sales Practices and Products Liability Litigation,
American Heart Association of the Lowcountry, 2018 Heart
                                                                MDL 1871.
Walk Chair
                                                                John has additionally been actively involved with the firm’s
ASSOCIATIONS:                                                   representation of people and businesses in Gulf Coast
American Association for Justice                                communities suffering as a result of the BP Deepwater Horizon
American Bar Association                                        oil spill. He held a central role in the negotiation process
American Inns of Court                                          involving the two settlements reached with BP, one of which is
American Constitution Society for Law and Policy                the largest civil class action settlement in U.S. history.
South Carolina Association for Justice
                                                                John began his legal career as a litigation trial paralegal for Ron
* Although they endorse this lawyer, neither The Legal 500      Motley in 1997, working with the State Attorneys General on
United States nor Professor Samuel Issacharoff are Motley       the landmark tobacco litigation primarily in Florida, Mississippi
Rice clients. Any result this endorsed lawyer may achieve       and Texas. He also supported occupational litigation in several
on behalf of one client in one matter does not necessarily      states, including the exigent trial dockets of Georgia and West
indicate similar results can be obtained for other clients.     Virginia. John served as a judicial intern for Judge Sol Blatt, Jr.,
                                                                of the U.S. District Court of South Carolina and Judge Jasper M.
                                                                Cureton of the South Carolina Court of Appeals.

                                                                ASSOCIATIONS:
                                                                American Association for Justice
                                                                South Carolina Association for Justice




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Kimberly Barone Baden                                                ASSOCIATIONS:
                                                                     American Association for Justice, Treasurer – Section on Toxic,
LICENSED IN: CA, SC
                                                                     Environmental and Pharmaceutical torts
ADMITTED TO PRACTICE BEFORE:
                                                                     American Bar Association
U.S. Court of Appeals for the Third Circuit
                                                                     South Carolina Association for Justice
U.S. District Court for the Central, Northern and Southern
Districts of California and District of South Carolina
EDUCATION:                                                           Frederick C. Baker
J.D., California Western School of Law, 1999                         LICENSED IN: NY, SC
B.A. cum laude, Clemson University, 1996                             ADMITTED TO PRACTICE BEFORE:
As a strong advocate for the most defenseless members of             U.S. Court of Appeals for the First, Second, Third, Fourth, Fifth,
society, Kimberly Barone Baden seeks accountability and              Tenth and Eleventh Circuits
compensation for victims of corporate misconduct, medical            U.S. District Court for the Southern District of New York and
negligence and harmful medical drugs. She manages mass tort          the District of South Carolina
pharmaceutical litigation through complex personal injury and        EDUCATION:
economic damages cases.                                              J.D. / LL.M., Duke University School of Law, 1993
Kimberly represents children with birth defects allegedly caused     B.A., University of North Carolina at Chapel Hill, 1985
by antidepressants, including Zoloft®, Effexor® and Wellbutrin®;     A veteran litigator with strong roots in complex litigation, Fred
as well as Zofran® which is used to prevent pregnancy-               Baker works on a broad range of environmental, medical costs
related nausea and vomiting. She previously litigated against        recovery, consumer and products liability cases and holds
GlaxoSmithKline in the Paxil® birth defect litigation. She serves    numerous leadership roles within the firm. He represents
as co-lead counsel for In re Zofran (Ondansetron) Products           individuals, institutional investors, and governmental entities in
Liability Litigation MDL 2657 and is on the Plaintiffs’ Executive    a wide variety of cases.
Committee for In re Viagra (Sildenafil Citrate) Products Liability   Fred leads the firm’s tobacco litigation, and was a member
Litigation MDL 2691 and on the Plaintiffs’ Steering Committee In     of the legal team that litigated the groundbreaking tobacco
re Zoloft (sertraline hydrochloride) Products Liability Litigation   litigation on behalf of several State Attorneys General. Fred has
MDL 2342. She also manages the firm’s pharmaceutical                 also participated in the litigation of individual tobacco cases,
litigation regarding Crestor®, Lipitor®, Actos®, Risperdal®,         entity tobacco cases and a tobacco class action.
incretin mimetics, and dialysis products GranuFlo® Powder and
NaturaLyte® Liquid acid concentrates.                                In addition to his tobacco casework, Fred is part of the opioid
                                                                     litigation team which represents dozens of governmental
Kimberly also represents elderly victims of abuse and neglect,       entities, including states, cities, towns, counties and townships
litigating cases for nursing home and assisted living facility       in litigation targeting the alleged misrepresentation and
residents.                                                           fraudulent distribution of harmful and addictive opioids by
Kimberly has spoken at numerous seminars, legal gatherings,          manufacturers and distributors.
CLEs and conferences across the U.S., including the American         Fred was also a key member of the firm’s representation of
Association for Justice, Mass Torts Made Perfect and the             people and businesses in Gulf Coast communities suffering as
National Business Institute. She has addressed a broad range of      a result of the BP Deepwater Horizon oil spill. He held a central
topics related to pharmaceutical drugs and elder law litigation,     role in the negotiation process involving the two settlements
focusing on MDL procedures, birth defects, nursing home              reached with BP, one of which is the largest civil class action
litigation, discovery, trial strategy and mediation. Kimberly is     settlement in U.S. history. In addition, his environmental
currently the Treasurer of the American Association for Justice’s    experience also includes representing a state government in
Section on Toxic, Environmental and Pharmaceutical Torts.            a case against poultry integrators that alleged poultry waste
Prior to joining Motley Rice, Kimberly worked on the Fen-Phen        polluted natural resources.
diet drug litigation and served as an attorney with the California   Fred has served as counsel in a number of class actions,
District Attorney’s Office in San Diego. Kimberly is recognized      including the two class action settlements arising out of the 2005
as an AV® rated attorney by Martindale-Hubbell®.                     Graniteville train derailment chlorine spill. He was also closely
                                                                     involved in the litigation surrounding the statutory direct action
AWARDS AND ACCOLADES:
                                                                     settlement reached in the Manville bankruptcy court and a related
Best Lawyers®
                                                                     West Virginia unfair trade practices insurance class action.
2020–2021 Charleston, S.C. Personal injury litigation –
plaintiffs: Product Liability Litigation – plaintiffs                Fred began practicing with Motley Rice attorneys in 1994 and
                                                                     chairs the firm’s attorney hiring committee.
Lawdragon
2020 Lawdragon 500 Plaintiff Consumer Lawyers                        AWARDS AND ACCOLADES:
Super Lawyers®                                                       Best Lawyers®
2013–2014 South Carolina Super Lawyers Rising Stars list             2020–2021 Charleston, S.C. Mass tort litigation / class actions
Personal injury products: plaintiff; elder law                       –plaintiffs


Prior results do not guarantee a similar outcome.                                        Motley Rice LLC • Attorneys at Law       13
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Lawdragon                                                               Prior to joining Motley Rice, Esther founded Berezofsky Law
2019 Lawdragon 500 Plaintiff Financial Lawyers                          Group in New Jersey where she pursued complex consumer
                                                                        mass torts. Prior to that, she was a name partner in a plaintiffs’
South Carolina Lawyers Weekly
                                                                        law firm in Philadelphia for more than two decades. She has
2016 Leadership in Law Honoree
                                                                        been active in the legal community has held leadership roles at
                                                                        several law firms in Philadelphia and New Jersey.
Esther E. Berezofsky                                                    Active in the legal community, Esther previously served as
LICENSED IN: NJ, PA                                                     Board President of Public Justice, a national public interest law
ADMITTED TO PRACTICE BEFORE:                                            firm, and continues to serve on its Board of Directors. She also
U.S. Supreme Court; U.S. Court of Appeals for the Third                 sits on the Board of Governors of the New Jersey Association
Circuit; U.S. District Court for the District of New Jersey, the        of Justice and was awarded the Gold Medal for Distinguished
Eastern District of Pennsylvania, the Eastern and Western               Service in 2008.
Districts of Michigan, and the Northern District of New York
                                                                        She is a frequent speaker and lecturer on matters related to
EDUCATION:
                                                                        environmental contamination and toxic exposure, product
J.D., Rutgers University School of Law, 1987
                                                                        liability and mass torts. She served as an adjunct professor on
M.A., Wayne State University, 1982
                                                                        trial advocacy at Rutgers Law School, her alma mater in 2014.
B.A., Wayne State University, 1980
                                                                        While completing her legal studies at Rutgers Law, Esther
A trial lawyer with more than 30 years of experience litigating
                                                                        served as an articles editor for the Rutgers Law Journal.
complex mass torts, Esther Berezofsky has devoted her career
to representing communities impacted by environmental                   SELECTED PUBLICATIONS:
contamination and fighting for the rights of consumers,                 • Post- Traumatic Stress Disorder and the Technological
individuals and families impacted by fraud and misconduct                 Disaster, 18 Rutgers Law Journal 623 (1987), reprinted in BNA
across a range of litigation areas.                                       Toxic Law Reporter, Vol. 2 No. 11 (August 12, 1987)
Esther focuses her practice on protecting the rights and seeking        • Toxic Tort Litigation the Future Impact of Current Legislation,
accountability for people harmed by toxic chemical exposure—              Trial Magazine (October 1988), reprinted in The Superfund
environmental and occupational—as well as patients who suffer             Report, Mealey Publications (December 1988)
life-altering complications caused by dangerous and defective           • New Jersey Mass Torts & Class Action Treatise, Chapter 5
medical drugs and devices.                                                Environmental Torts 2016
                                                                        • Legal and Liability Considerations in Asbestos, Chapter in The
Prior to becoming an attorney, Esther practiced as a clinical             Hazardous Fiber, CRC Press, Inc. Trial Magazine (January 2012)
psychologist and consultant for a national network of law firms
on post-traumatic stress and community trauma arising out of            AWARDS AND ACCOLADES:
environmental disasters such as Three Mile Island, Pa., and Times       New Jersey Association for Justice
Beach, Mo. She currently serves on the Executive Committee              2021 Gerald B. O’Connor Award
as class counsel for residents exposed to lead contaminated             2008 Gold Medal for Distinguished Service
water in the Flint water crisis litigation, in addition to litigating
                                                                        Lawdragon
similar cases in Fresno, Calif. She also represents residents in
                                                                        2020 Lawdragon 500 Plaintiff Consumer Lawyers
Kent County, Mich., Hoosick Falls, N.Y. and Petersburgh, N.Y. in
PFAS litigation against corporations such as 3M, Wolverine, St.         Super Lawyers®
Gobain and others accused of manufacturing and wrongfully               2007–2021 New Jersey Super Lawyers list
disposing of PFAS chemicals. She was lead counsel for a                 No aspect of this advertisement has been approved by the
cancer cluster of children in Toms River, N.J, the story of which       Supreme Court of New Jersey.
is memorialized in the Pulitzer prize winning book: Toms River:
A Story of Science and Salvation.                                       ASSOCIATIONS:
                                                                        Law360 Environmental Editorial Advisory Board, 2021
In addition to her environmental and toxic exposure work,               American Association for Justice, Chair, Section on Toxic
Esther has held numerous leadership positions and represented           Environmental and Pharmaceutical Executive Committee
clients in MDLs and other litigations involving medical drugs           Public Justice, Past President and current member of the
and devices including Medtronic Pain and Insulin Pumps,                 Board of Directors
DePuy ASR, Pinnacle and Stryker Hip Implant cases, Benicar,             New Jersey Association of Justice, Board of Governors
Risperdal, Xarelto, Hormone Replacement Therapy (HRT), Ortho
Evra, Rezulin, PPA, Invokana, Taxotere, among others.                   Motley Rice LLC, a South Carolina Limited Liability Company,
                                                                        is engaged in the New Jersey practice of law through Motley
She also represents plaintiffs in consumer class actions alleging       Rice New Jersey LLC. Esther Berezofsky attorney responsible
fraudulent student loan schemes and consumers in pay day                for New Jersey practice. For award methodology, visit
lending cases. She has also litigated rent-to-own and option            www.motleyrice.com/award-methodology
ARM fraudulent mortgage claims, among other consumer
protection cases.



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Louis M. Bograd                                                       • Louis M. Bograd, Preemption’s Uncertain Path, 47 TRIAL 20
                                                                        (Nov. 2011)
LICENSED IN: DC, KY
ADMITTED TO PRACTICE BEFORE:                                          • Louis M. Bograd, W(h)ither Preemption?, 45 TRIAL 24 (Nov.
                                                                        2009)
U.S. Supreme Court; U.S. Court of Appeals for the First, Third,
Fourth, Fifth, Sixth, Eighth, Ninth, Tenth, and D.C. Circuits; U.S.   • Louis M. Bograd, Taking on Big Pharma- and the FDA, 43 TRIAL
District Court for the District of Columbia                             30 (Mar. 2007)
EDUCATION:                                                            ASSOCIATIONS:
J.D., Yale Law School, 1984                                           American Association for Justice Chair, Preemption Litigation
A.B., Princeton University, 1981                                      Group; Member, Legal Affairs Committee
Louis Bograd is a nationally recognized authority on issues of
federal preemption, drug and device litigation, and jurisdiction.
He has devoted much of his professional career to litigating          Michael M. Buchman
appeals on complex issues involving products liability,               LICENSED IN: CT, NY
Medicaid lien reimbursements, constitutional rights, and civil        ADMITTED TO PRACTICE BEFORE:
liberties. At Motley Rice, Lou continues his focus on appellate       U.S. Supreme Court
issues and mass torts, further enhancing the firm’s active and        U.S. Court of Appeals for the Second Circuit
growing complex litigation practice. Lou serves as co-chair           U.S. District Court for the Districts of Connecticut and
of the Law & Briefing Committee for the National Prescription         Southern and Eastern Districts of New York
Opiate MDL, which is focused on combatting the alleged                U.S. Court of International Trade
deceptive marketing and over-distribution of opioids.                 EDUCATION:
Prior to joining Motley Rice, Lou served as an appellate advocate     LL.M., International Antitrust and Trade Law, Fordham
and Chief Litigation Counsel for the Center for Constitutional        University School of Law, 1993
Litigation where he led work in mass torts, the Class Action          J.D., The John Marshall Law School, 1992
Fairness Act, and dispositive motions concerning consumer             B.A. cum laude, Alfred University, 1988
protection and products liability. Lou argued for plaintiffs before   Michael Buchman leads Motley Rice’s antitrust team. Prior to
the U.S. Supreme Court regarding federal preemption of claims         joining Motley Rice, Michael served as an Assistant Attorney
against generic drug manufacturers in Pliva, Inc. v. Mensing and      General in the New York State Attorney General’s Office,
has also participated in numerous other Supreme Court cases as        Antitrust Bureau. He also served as a co-managing partner of
counsel for petitioners, respondents, and amici curiae.               the antitrust department at a large New York-based class action
                                                                      law firm.
Lou has spoken on various legal topics at many seminars, CLE
programs, and legal conferences across the country sponsored          Michael has served as lead or co-lead counsel for a variety
by, among others, the American Association for Justice, state         of plaintiff clients, including a Fortune 500 company,
trial lawyers associations, and Mass Torts Made Perfect. Lou          multiple states, a city and individual consumers in complex
has also presented at judicial education programs sponsored           antitrust cases concerning restraint of trade, price-fixing,
by the Pound Institute, the Brookings Institution, the American       monopolization and other anticompetitive conduct. His more
Enterprise Institute, the Northwestern University School of Law,      than 25 years of antitrust experience includes playing an active
and the George Mason University School of Law.                        role in some of the largest antitrust class actions in the history
                                                                      of the Sherman Act, including In re NASDAQ Market-Makers
Lou’s legal career began at Arnold & Porter LLP in Washington,
                                                                      Antitrust Litigation ($1.027b settlement)*. Michael represented
D.C., where he managed and directed work on transfusion-
                                                                      the largest retailer class representative in the $6.2 billion* In re
associated HIV/AIDS cases on behalf of the American Red
                                                                      Payment Card Interchange Fee and Merchant Discount Antitrust
Cross. He subsequently served on the American Civil Liberties
                                                                      Litigation, MDL 1720.* Over the past 20 years, he has been a
Union Foundation’s national legal staff and as the legal director
                                                                      leader investigating and developing generic drug antitrust
of the Alliance for Justice. Lou has also taught advanced
                                                                      class actions.
torts and products liability law as an Adjunct Professor at the
University of Kentucky College of Law.                                He has consistently litigated these cases over the past two
                                                                      decades for self-insured health insurers, consumers, and
SELECTED PUBLICATIONS:                                                governmental entities who are the intended victims of such
• Louis M. Bograd & Andre M. Mura, Buckman Stops Here!                anticompetitive schemes. Michael is one of a limited group of
  Limits on Preemption of State Tort Claims Involving                 plaintiffs’ antitrust class action lawyers who has served as lead
  Allegations of Fraud on the PTO or the FDA, 41 Rutgers L. J.        trial counsel and tried a generic drug antitrust case. He has
  309 (2009)                                                          twice been selected as a co-chair of HarrisMartin’s Antitrust
• Louis M. Bograd, Be Careful What You Wish For: Drugmakers,
  the First Amendment, and Preemption, 51 TRIAL 24 (Nov. 2015)




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Pay-For-Delay Litigation Conference (2014-2015). Some of the              Lawdragon
generic drug antitrust class actions he has been involved with            2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
include:
                                                                          Super Lawyers®
MOTLEY RICE CASES:                                                        2014–2020 New York Metro Super Lawyers: Antitrust litigation
• In re Loestrin Antitrust Litigation ($62.5 million settlement in
  2020)*                                                                  Samuel B. Cothran Jr.
• In re Aggrenox Antitrust Litigation ($54 million settlement in          General Counsel
  2018)*
                                                                          LICENSED IN: NC, SC
• In re Solodyn Antitrust Litigation ($43 million settlement in
  2018)*                                                                  ADMITTED TO PRACTICE BEFORE:
                                                                          U.S. District Court for the Western District of North Carolina
PRIOR TO MOTLEY RICE:                                                     and District of South Carolina
• In re Wellbutrin SR Antitrust Litigation ($21.5million settlement       EDUCATION:
  in 2013)*                                                               J.D., cum laude, University of South Carolina School of Law, 1998
• In re Flonase Antitrust Litigation ($46 million settlement in           M.B.A., Duke University, 1994
  2012)*                                                                  B.S., summa cum laude, University of South Carolina, 1981
• In re Metoprolol Succinate End-Payor Antitrust Litigation ($21          Sam Cothran creatively addresses the many challenges and
  million settlement in 2011)*                                            opportunities inherent in the cutting-edge practice of a dynamic,
• In re Relafen Antitrust Litigation ($75 million settlement in           multi-jurisdictional law firm. As leader of Motley Rice’s legal
  2004)*                                                                  department, Sam directs and advises the firm’s management
• In re Augmentin Antitrust Litigation ($29 million settlement in         on diverse in-house legal matters regarding governmental
  2004)*                                                                  compliance, contracts and legal defense, as well as labor and
• In re Buspirone Antitrust Litigation ($90 million settlement in         employment, marketing, financial and operational issues.
  2003)*                                                                  After working for an international accounting firm as a certified
Additional cases he’s actively involved in at Motley Rice include         public accountant and for several Fortune 1,000 companies as a
In re Actos Antitrust Litigation, In re Effexor Antitrust Litigation,     financial manager, Sam attended law school to complement his
In re Lipitor Antitrust Litigation, In re Niaspan Antitrust Litigation,   background in business management and finance and joined
In re Suboxone Antitrust Litigation, and In re Zetia Antitrust            Motley Rice attorneys shortly after graduation.
Litigation.                                                               Recognized as a BV® rated attorney by Martindale-Hubbell®,
He also has experience litigating aviation matters, including a           Sam is the author of Dischargeability of Consumer Credit
large antitrust dispute between carriers.                                 Card Debt in Bankruptcy After Anastas v. American Savings
                                                                          Bank, 48 S.C.L. Rev. 915 (1997). As a law student, Sam served
Michael completed the intensive two-week National Institute for
                                                                          as Managing Editor of the South Carolina Law Review. He was
Trial Advocacy National Trial Training program in Boulder, Colo.,
                                                                          named a Carolina Legal Scholar and awarded both the Order of
in 2002. An avid writer, he has authored and co-authored articles
                                                                          the Coif and Order of the Wig and Robe.
on procedure and competition law, including a Task Force on
Dealer Terminations for The Association of the Bar of the City            Sam is active in his community, serving on the board of Directors
of New York, Committee on Antitrust and Trade Regulation,                 for the Dee Norton Lowcountry Children’s Center.
entitled Dealer Termination in New York dated June 1, 1998 and
What’s in a Name - the Diversity Death-Knell for Underwriters             ASSOCIATIONS:
of Lloyd’s of London and their Names; Humm v. Lombard World               American Bar Association
Trade, Inc., Vol. 4, Issue 10 International Insurance Law Review          Association of Professional Responsibility Lawyers
314 (1996).                                                               American Institute of Certified Public Accountants
                                                                          South Carolina Association of Certified Public Accountants
Michael has been active in his communities having served as
a member of the Flood and Erosion Committee for the Town
of Westport, Ct., and presently serves as pro bono counsel
in actions involving the misappropriation of perpetual care
monies. He has also coached youth ice hockey teams at
Chelsea Piers in New York City.

AWARDS AND ACCOLADES:
Best Lawyers®
2017–2021 Mass tort litigation/class actions – plaintiffs




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Kevin R. Dean                                                        Wiggins v. Parsons Nursery, one of the largest environmental
                                                                     and health contamination cases in South Carolina. Kevin also
LICENSED IN: GA, MS, SC
                                                                     served as a County Commissioner on the Early County Georgia
ADMITTED TO PRACTICE BEFORE:
                                                                     Board of Commissioners and still holds the honor of having
U.S. Court of Appeals for the Third, Fourth, Fifth and Eleventh
                                                                     been the youngest elected commissioner in county history.
Circuits, U.S District Court for the Middle, Northern and
Southern Districts of Georgia, Central District of Illinois,         Kevin frequently appears in local and national broadcast and
Northern and Southern Districts of Mississippi and District of       print media discussing legal matters of workplace safety, fire
South Carolina                                                       prevention and other products liability, as well as specific
EDUCATION:                                                           casework and efforts for changes and improvements in various
J.D., Samford University Cumberland School of Law, 1991              industries. Recognized as an AV® rated attorney Martindale-
B.A., Valdosta State University, 1989                                Hubbell®, Kevin co-authored “Dangerous Doors and Loose
Focusing his litigation efforts on catastrophic injury, products     Latches,” published in Trial Magazine (2004) for the American
liability, and wrongful death cases, Kevin Dean represents           Association for Justice, and authored “The Right to Jury Trial in
victims and families affected by hazardous consumer products,        ERISA Civil Enforcement Actions” published in The American
occupational and industrial accidents, fires, premise injuries       Journal of Trial Advocacy (1989).
and other incidents of negligence.
                                                                     AWARDS AND ACCOLADES:
Kevin currently represents people allegedly harmed by
                                                                     Best Lawyers®
defective Takata airbags, Volkswagen’s diesel emissions fraud,
                                                                     2017–2021 Charleston, S.C. Personal injury litigation –
and GM’s misconduct regarding its defective vehicles in In re
                                                                     plaintiffs; Product Liability Litigation – plaintiffs
General Motors LLC Ignition Switch Litigation. He has litigated
numerous vehicle defect cases, including against “the Big            South Carolina Super Lawyers® list
Three” automotive manufacturers in cases involving defective         2015–2020 Personal injury–general: plaintiff; Personal injury–
brakes, door locks, door latches, seat belts and roll overs. He      products: plaintiff; Personal injury–medical malpractice:
served as trial co-counsel in Guzman v. Ford (2001), the first       plaintiff
case brought to trial regarding a defective outside door latch       Lawdragon
handle, as well as in the vehicle rollover case Hayward v. Ford      2020 Lawdragon 500 Plaintiff Consumer Lawyers
(2005). He was also a member of the plaintiffs’ litigation team
in the defective seat belt case, Malone v. General Motors            Benchmark Plaintiff
Corporation (1998) prior to joining Motley Rice.                     2012–2013 National “Litigation Star”: mass torts/product
                                                                     liability
Committed to occupational safety, Kevin recently secured a           2012–2013 South Carolina “Litigation Star”: product liability
jury verdict against SAR Automation, L.P. for $8.8 million in the
wrongful death of a worker who fell at a Boeing facility leaving     ASSOCIATIONS:
behind a widow and two small children.*                              American Association for Justice
He has been involved in several investigations of catastrophic       Georgia Trial Lawyers Association
fire cases, including reaching a multi-million dollar settlement     South Carolina Association for Justice, Board of Governors–
for the surviving children of a couple who were tragically           Circuit 9; Tort & Negligence Chair
killed in a house fire allegedly caused by electrical wiring in a    Southern Trial Lawyers Association
defective golf cart. Kevin also served as lead plaintiffs’ counsel   Attorneys Information Exchange Group, Board of Directors
in In re Charleston Firefighter Litigation, a wrongful death and
negligence case against Sofa Super Store, contractors and
multiple furniture manufacturers on behalf of the families of
the nine firefighters lost in the June 2007 warehouse fire in
Charleston, S.C.
Since the 2010 explosion of the Deepwater Horizon, Kevin has
been helping people and businesses pursuing litigation, as well
as those needing help filing and negotiating their claims. He
served as a member of the oil spill MDL’s GCCF Jurisdiction &
Court Oversight Workgroup and works with victims on claims
through the programs established by the two settlements
reached with BP.
Kevin’s experience also includes the health insurance fraud and
post-claims underwriting case Clark v. Security Life Insurance
Company, the largest civil RICO case in Georgia history, and




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Michael E. Elsner                                                       bombs while serving in Iraq. He also leads the worldwide
                                                                        investigation for liability evidence in the 9/11 Families United
LICENSED IN: NY, SC, VA
                                                                        to Bankrupt Terrorism civil action against al Qaeda’s alleged
ADMITTED TO PRACTICE BEFORE:
                                                                        financiers and supporters. In this capacity, Michael meets
U.S District Court for the Eastern and Southern Districts of
                                                                        with U.S. and foreign intelligence officers, witnesses, and
New York
                                                                        informants, who have already helped him gather more than two
EDUCATION:
                                                                        million pages of documents in numerous languages identifying
J.D., University of Memphis Cecil C. Humphreys School of Law,
                                                                        the activities of al Qaeda and its financiers. He is a member of
1997
                                                                        the Plaintiffs’ Steering Committee for this multidistrict litigation
B.A., John Carroll University, 1993
                                                                        filed on behalf of more than 6,500 families and survivors of
Michael Elsner litigates complex civil matters on behalf of
                                                                        the 9/11 attacks. He also served as a member of the Plaintiffs’
people and businesses victimized by commercial malfeasance,
                                                                        Committee in In re September 11th Litigation, a suit brought
violations of human rights, acts of terrorism, occupational
                                                                        against the airline industry alleging that it failed to detect and
disease and environmental disasters. He manages large-
                                                                        prevent the attacks.
scale cross-border litigation and conducts detailed factual
investigations.                                                         Michael’s work with financial transaction litigation includes
                                                                        commercial, securities fraud and shareholder derivative cases
Michael’s understanding of the complex legal challenges in
                                                                        such as his extensive work on behalf of domestic and foreign
international litigation is critical to uncovering admissible
                                                                        investors in In re Vivendi Universal, S.A. Securities Litigation.
evidence and developing opportunities for client recovery.
He tracks historical corporate conduct and uncovers illicit             Michael began his career with the Manville Personal Injury
finances, money laundering and terrorist financing through a            Trust and then practiced complex civil litigation in New York in
maze of international banking and financial regulations. His            the areas of toxic torts, security, personal injury, bankruptcy,
investigations have aided victims of human rights abuses and            and whistleblower protections prior to joining Motley Rice
plaintiffs harmed by financial crimes. Through these efforts he         attorneys in 2002.
has held global institutions and organizations accountable.             Sharing his experience and insight as a lecturer and consultant,
Michael leads the firm in its role as consultant to South African       Michael has discussed anti-terrorism and human rights litigation
human rights lawyer Richard Spoor, seeking justice for tens of          on several national and international news outlets, including
thousands of gold mineworkers who are suffering from silicosis.         CNN, MSNBC, NPR and the BBC, as well as international anti-
Few class actions have been brought in South Africa, and this is        money laundering and anti-terrorism industry conferences.
the first of its kind for sick workers. Michael was a lead negotiator
of the settlement agreement reached for sick gold miners and            AWARDS AND ACCOLADES:
their dependents. The settlement generated an unprecedented             Lawdragon
means of recovery and helped ensure meaningful access to                2020 Lawdragon 500 Plaintiff Consumer Lawyers
justice for the indigent and rural workers who are dying from this      2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
entirely preventable yet incurable disease.                             2014–2015 Lawdragon 500 Leading Lawyers in America
                                                                        2010 Lawdragon™ 3,000
Michael was lead plaintiffs’ counsel in the historic litigation,
Linde et al. v. Arab Bank, a suit brought by victims of terrorist       Public Justice Foundation
attacks in Israel that alleged Arab Bank played a role in financing     2016 Trial Lawyers of the Year
Hamas and other Israeli terrorist organizations. This litigation        Benchmark Litigation
marked the first time a financial institution was brought to            2016–2018 South Carolina “Litigation Star”: personal Injury,
trial under the Anti-Terrorism Act. The case resolved through           product Liability, general commercial, professional liability
a confidential settlement. Michael was also co-lead counsel
in a parallel suit, representing thousands of non-U.S. citizens,        National Law Journal
Jesner v. Arab Bank, which was heard by the U.S. Supreme Court          2014 Litigation Trailblazers
under the Alien Tort Statute regarding violations of customary          South Carolina Lawyers Weekly
international law by foreign corporations.                              2014 Leadership in Law Honoree
He also plays a leading role with Motley Rice’s team of attorneys
                                                                        ASSOCIATIONS:
in representing states and municipalities against the opioid
                                                                        American Association for Justice
industry, including manufacturers, distributors and pharmacies.
                                                                        American Bar Association
This litigation alleges opioid companies created and fueled the
                                                                        New York Bar Association
opioid epidemic that claims thousands of Americans every
                                                                        South Carolina Bar Association, International Law Committee
year, through deceptive marketing and over distribution of
                                                                        Virginia Bar Association
highly addictive opioids.
                                                                        National Crime Victims Bar Association
As a leading member of the firm’s antiterrorism and human               Public Justice Foundation
rights practice, Michael represents U.S. military service
members and contractors who were injured by EFP roadside


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John M. Eubanks                                                           A former independent terrorism consultant for the Washington,
LICENSED IN: MD, SC                                                       D.C.-based think tank, The Investigative Project on Terrorism,
ADMITTED TO PRACTICE BEFORE:                                              John served as a liaison and researcher working with the FBI,
U.S. Supreme Court, U.S. Court of Appeals for the Second,                 INS, and U.S. Customs on terrorism financing investigations
Third, Fourth, Fifth and Eleventh Circuits                                related to Hamas and the Palestinian Islamic Jihad terrorist
EDUCATION:                                                                organizations.
J.D., Georgetown University Law Center, 2003                              John is a published author on counterterrorism and security
B.S., Georgetown University, 1996                                         and was a central contributor to the non-fiction work American
With extensive experience investigating terrorist organizations           Jihad: The Terrorists Living Among Us (Free Press 2002), which
and terrorist financing in the Middle East, John Eubanks                  details the activities of organizations and individuals within the
represents victims, survivors and their families in litigation            U.S. who provide material support and/or resources to Middle
designed to bankrupt the financiers of terror, crippling their            Eastern and Islamic terrorist organizations abroad.
ability to recruit, train, supply and dispatch terrorist operatives.
                                                                          John lives in Mount Pleasant, S.C., with his wife and two children,
John is substantially involved in the firm’s litigation on behalf of      and serves as a deacon in his church.
foreign terror victims and victims of international human rights
abuses. He was a key member of the litigation team prosecuting            AWARDS AND ACCOLADES:
Linde et al. v. Arab Bank Plc, the first litigation against a financial   Lawdragon
institution brought to trial under the Anti-Terrorism Act. In this        2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
historic litigation, John also played an integral role in pursuing        Public Justice Foundation
Alien Tort Statute claims that were argued before the U.S.                2016 Trial Lawyers of the Year
Supreme Court for a separate class of plaintiffs against Arab
Bank.                                                                     ASSOCIATIONS:
John is also a member of the team pursuing a civil action against         American Association for Justice
al Qaeda’s alleged financiers and supporters arising out of the           American Bar Association, Section of International Law
9/11 terrorist attacks. He has pursued litigation against Libya for       South Carolina Association for Justice
allegedly providing material resources to the Provisional Irish           Charleston County Bar Association
Republican Army, resulting in the death and injury of citizens
of the United States and United Kingdom. John plays a key role            Nathan D. Finch
in Krishanthi, et al. v. Rajaratnam, a case brought under the
                                                                          LICENSED IN: DC, VA
Alien Tort Statute involving allegations of American-sourced
                                                                          ADMITTED TO PRACTICE BEFORE:
financing for dozens of terrorist attacks in Sri Lanka carried out
                                                                          U.S. Court of Appeals for the Third, Fourth, Fifth, Sixth, Tenth
by the Liberation Tigers of Tamil Eelam. He was also extensively
                                                                          and Eleventh Circuits, U.S. District Court for the District of
involved in an Alien Tort Statute case on behalf of young boys
                                                                          Columbia, the Eastern District of Virginia, and the Western
allegedly kidnapped for enslavement as camel jockeys in the
                                                                          District of Wisconsin
United Arab Emirates.
                                                                          EDUCATION:
Prior to joining Motley Rice in 2004, John served as counsel in           J.D., University of Virginia School of Law, 1992
a case brought under the Anti-Terrorism Act against various               B.A., University of Virginia, 1989
charitable organizations and political groups in the U.S. for             With a diverse background in complex civil litigation, Nate
supplying Hamas with material support and financial resources             Finch brings almost twenty years of trial experience and strong
in the groundbreaking Boim v. Quranic Literacy Institute.                 negotiation skills to Motley Rice. He represents clients in
John has drafted various “friend of the court” briefs to the              various asbestos, toxic tort, commercial, securities fraud and
Supreme Court on issues related to anti-terrorism and                     other complex cases.
customary international law on behalf of a broad range of                 Nate has served as the lead trial attorney for his clients in many
individuals and organizations.                                            federal and state courts and is sought after by co-counsel for
John has also handled multiple personal injury and wrongful               advice on challenging cases and complex legal matters. His
death cases involving tour bus and commercial truck crashes,              thorough knowledge of asbestos and medical issues is an
both domestic and international. In 2010, a tour bus operated             asset to the firm’s occupational disease and toxic tort clients.
by Boston-based Grand Circle Travel crashed near Aswan,                   He has obtained plaintiffs’ verdicts in cases against asbestos
Egypt, killing eight passengers and injuring numerous others.             product manufacturer defendants and cigarette makers. He has
John and the Motley Rice litigation team filed suit on behalf of          extensive experience trying cases involving a wide variety of
seven of the victims of the crash against the tour operator and           asbestos-containing products, including gaskets, automotive
negotiated a settlement for our clients in 2015.*                         brakes, floor tiles, joint compounds, and various forms of
                                                                          insulation. He also has years of experience representing
                                                                          individuals, companies and creditors’ committees in personal




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injury litigation, mass torts products liability litigation, securities   Fidelma L. Fitzpatrick
and financial fraud litigation and an array of other complex
                                                                          LICENSED IN: DC, MA, NY, RI
litigation cases ranging from single plaintiffs’ products liability
                                                                          ADMITTED TO PRACTICE BEFORE:
cases to high-stakes business disputes.
                                                                          U.S. Supreme Court; U.S. Court of Appeals for the First,
Prior to joining Motley Rice, Nate was a partner for more                 Seventh and Eleventh Circuits; U.S. District Court for the
than ten years in a Washington, D.C.-based law firm and                   District of Columbia, District of Massachusetts, District of
frequently collaborated with Motley Rice attorneys in trials and          Rhode Island and Eastern District of Wisconsin
negotiations to resolve large asbestos product manufacturers’             EDUCATION:
bankruptcies. He tried numerous cases in federal district courts          J.D., cum laude, American University, 1994
focusing on the medical and scientific factors associated with            B.A., Canisius College, 1991
asbestos-related diseases and asbestos exposure. During this              Fidelma Fitzpatrick represents people and communities in toxic
time, he also tried and helped to resolve in favor of his clients         tort and environmental matters, including property damage
five asbestos bankruptcy cases, each having more than $1                  and personal injury claims. Her experience with complex civil
billion at stake. In addition, Nate worked closely with Motley            litigation has led her to represent other victims of corporate
Rice attorneys on behalf of investors in In re MBNA Securities            malfeasance, including hundreds of women allegedly injured by
Litigation and In re Vivendi Universal, S.A. Securities Litigation.       medical devices such as Essure® and pelvic mesh/sling products.
Nate’s understanding of the factual and legal challenges                  In addition to her toxic tort and medical casework, Fidelma
inherent in complex cases, combined with his trial experience,            also represents states, cities, counties and townships in
has positioned him as a considerable resource within many                 litigation against the opioid industry, including manufacturers,
practice areas. A frequently invited speaker regarding a variety          distributors and pharmacies. The litigation alleges the
of legal matters, he has spoken at many asbestos litigation and           companies engaged in deceptive marketing and over
bankruptcy conferences and has been a guest lecturer at the               distribution of highly addictive opioids to create and fuel the
Georgetown University, George Washington University, George               opioid crisis that claims thousands of American lives every year.
Mason University and the University of Baltimore law schools
                                                                          Fidelma is Lead Counsel of the Plaintiffs’ Executive Committee
on topics relating to civil procedure, mass tort litigation and the
                                                                          for the coordinated Essure® litigation in California against
differences between litigating in Article III and Article I courts.
                                                                          Bayer Corp., and she serves on the PEC for Paragard® IUD
He has been an invited speaker at several judicial conferences
                                                                          multidistrict litigation filed in the Northern District of Georgia
on the topic of asbestos litigation.
                                                                          for women who suffered severe effects allegedly caused by the
Recognized as a Martindale Hubbell® AV® rated attorney, Nate              birth control device. She also represents hundreds of women
has served his community for many years through volunteer                 allegedly harmed by pelvic mesh/sling products in filed cases
activities coordinated by Greater D.C. Cares, an organization             against defendants that include American Medical Systems,
committed to connecting volunteers with community service                 Boston Scientific, C.R. Bard, Inc., and Ethicon. In 2012, Fidelma
groups. Nate was a member of the Virginia Law Review and the              was appointed co-lead counsel of the pelvic mesh MDL In
Order of the Coif, and is a former scholarship track and cross            re American Medical Systems, Inc., Pelvic Repair Systems
country athlete at UVA.                                                   Products Liability Litigation pending in the Southern District of
                                                                          West Virginia. She also holds leadership roles in pelvic mesh
AWARDS AND ACCOLADES:                                                     state court litigations, including serving as liaison counsel in
American Association for Justice                                          the American Medical Systems cases consolidated in Delaware
2013 Wiedemann & Wysocki Award                                            and the Boston Scientific cases consolidated in Massachusetts.
Benchmark Litigation                                                      Fidelma was co-lead trial counsel in the billion dollar lead paint
2013–2017 Washington, D.C. “Litigation Star”: bankruptcy,                 pigment case, The People of California v. Atlantic Richfield
general commercial, product liability, securities, white collar           Company et al., in which Motley Rice represented cities and
crime                                                                     counties, including San Francisco, Santa Clara, Los Angeles
Washington, D.C., Super Lawyers® list                                     and San Diego, in litigation against national lead paint pigment
2012–2017, 2019–2020 Personal injury – products: plaintiff;               manufacturers. In January 2014, the court ruled Sherwin-Williams
Personal injury – general: plaintiff; Securities litigation               Company, NL Industries, Inc., and ConAgra Grocery Products
                                                                          Company created a public nuisance by actively promoting lead
Chambers USA                                                              for use in homes despite knowing that it was highly toxic. The
2009–2010 “Top Lawyer”: bankruptcy and restructuring                      California Court of Appeals, 6th appellate District, later affirmed
                                                                          the majority of the ruling, and remanded the case to the Santa
ASSOCIATIONS:
                                                                          Clara Superior Court to decide how much defendants should
American Association for Justice
                                                                          pay to establish an abatement fund that will be used to clear
The Barristers
                                                                          toxic lead paint from homes in plaintiffs’ jurisdictions that were
                                                                          constructed prior to 1951. In 2018, U.S. Supreme Court declined




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to review the litigation, effectively exhausting defense appeals    The Legal 500 United States
and ensuring that an abatement fund for the removal of toxic        2013, 2014, 2018 Dispute resolution – product liability, mass
lead paint from pre-1951 California homes will be established.      tort and class action – toxic tort – plaintiff
This will help protect the health and safety of thousands of        The National Trial Lawyers
California children.                                                2010–2013 Top 100 Trial Lawyers™ – Rhode Island
Fidelma held a central role in the state of Rhode Island’s trial    Rhode Island Lawyers Weekly
against former corporate manufacturers of lead paint pigment.       2006 Rhode Island Lawyer of the Year
She continues to manage cases seeking to hold the lead paint
pigment industry accountable for the childhood lead poisoning       Public Justice Foundation
crisis and provide restitution and compensation to affected         2014 Trial Lawyers of the Year
children and families. As a result of her work for lead poisoning   2006 Finalist: Trial Lawyers of the Year award
victims, the Wisconsin State Supreme Court became the first
to recognize the legal rights of poisoned children to sue lead      ASSOCIATIONS:
paint pigment manufacturers. She also played a lead role in         American Association for Justice
representing the community of Tallevast, Florida, in a lawsuit      American Bar Association
against Lockheed Martin Corporation involving the pollution of      American Civil Liberties Union, Volunteer attorney
the community’s groundwater with PCE and TCE.                       Public Justice Foundation, Rhode Island State Coordinator
                                                                    Rhode Island Association for Justice
Fidelma began working with Motley Rice attorneys in 1997 on         Rhode Island Women’s Bar Association
the Massachusetts, New York and Rhode Island lawsuits against
the tobacco industry. She serves on the Board of Regents at         * Please remember that every case is different. Although it
Canisius College and frequently speaks on environmental and         endorses this lawyer, The Legal 500 United States is not a Motley
mass tort topics at conferences for federal and state court         Rice client. Any result we achieve for one client in one matter
judges, attorneys, academic professionals and law students.         does not necessarily indicate similar results can be obtained
                                                                    for other clients.
PUBLISHED WORKS:
“Painting Over Long-Standing Precedent: How the Rhode               Jodi Westbrook Flowers
island Supreme Court Misapplied Public Nuisance Law in State
                                                                    LICENSED IN: SC
v. Lead Industries Association” Roger Williams University Law
                                                                    ADMITTED TO PRACTICE BEFORE:
Review (Summer 2010)
                                                                    U.S. Supreme Court; U.S. Court of Appeals for the Second,
“Access to Justice: The Use of Contingent Fee Arrangements          Fourth, and District of Columbia Circuits; U.S. District Court for
by Public Officials to Vindicate Public Rights” Cardozo J.L. &      the District of South Carolina
Gender (Spring 2008)                                                EDUCATION:
“Negligence in the Paint: The Case for Applying the                 J.D., University of South Carolina School of Law, Carolina Legal
Risk Contribution Doctrine to Lead Litigation” in Pace              Scholar, 1993
Environmental Law Review (Fall 2008)                                B.A. magna cum laude, College of Charleston, 1989
                                                                    A veteran of the courtroom, Jodi Westbrook Flowers seeks to
AWARDS AND ACCOLADES:                                               protect the health, safety and rights of consumers, families,
Best Lawyers®                                                       investors, workers, and victims of crime and terrorism. Jodi has
2008–2021 Mass tort litigation/class actions – plaintiffs           litigated a wide range of cases involving tobacco, asbestos,
                                                                    lead pigment, aviation disasters, consumer fraud, cybersecurity
Law360
                                                                    and product defects, as well as terrorist financing and human
2021 Titans Of The Plaintiffs Bar
                                                                    rights violations. She also represents public entities seeking
2019 “Product Liability MVP”
                                                                    to hold opioid manufacturers and distributors accountable for
Rhode Island Super Lawyers® list                                    allegedly deceptive marketing and distribution practices that
2008, 2010–2020 Environmental litigation; Personal injury –         contributed to the nation’s opioid crisis.
products: plaintiff; Class action/mass torts
                                                                    In the vehicle defect multidistrict litigation, In re General Motors
National Law Journal                                                LLC Ignition Switch Litigation, Jodi works on cases related to
2019 Elite Women of the Plaintiffs’ Bar                             economic loss due to faulty ignition switches installed in more
2018 Plaintiffs’ Lawyers Trailblazers                               than 14 million recalled GM vehicles. Previously, she worked
2015 Outstanding Women Lawyers                                      to demonstrate the necessary minimum contacts within the
Lawdragon                                                           U.S. for the exercise of personal jurisdiction over Bridgestone
2014–2021 Lawdragon 500                                             Corporation in the class action for damages allegedly caused
2019–2020 Lawdragon 500 Plaintiff Consumer Lawyers                  by vehicle and tire defects, In re Bridgestone/Firestone, Inc.,
                                                                    ATX, ATX II and Wilderness Tire Products Liability Litigation,




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Case No. 00-MDL-1373-SEB (S.D.Ind.). She also led a team at           authored an amicus brief, supporting section 1502 of the Dodd-
Motley Rice in the Volkswagen Diesel Emissions Fraud class            Frank Act, regarding the trade regulation of conflict minerals in
action litigation, working on behalf of defrauded consumers           the Democratic Republic of the Congo. She was also an integral
in the $15 billion settlement deal for 2.0-liter vehicles. The        member of a team that sought recourse for young victims of
settlement was the largest auto-related consumer class action         human trafficking and child enslavement for use as camel
in U.S. history, and among the fastest reached of its kind. Jodi      jockeys, and filed a federal civil complaint against several
represents clients who have raised similar allegations against        leaders in the United Arab Emirates for their alleged role.
Fiat Chrysler Automobiles, claiming the automaker installed
                                                                      Jodi has worked on environmental contamination cases in the
emissions cheating software in thousands of 3.0-liter diesel
                                                                      Virgin Islands involving leaking gas tanks, and she represented
vehicles, in In re Chrysler-Dodge-Jeep EcoDiesel Marketing,
                                                                      clients in advancing their Deepwater Horizon oil spill claims
Sales Practice and Products Liability Litigation.
                                                                      through the programs established by the two settlements
Jodi serves as co-liaison counsel and represents victims in           reached with BP. Jodi has served on numerous MDL Executive
the 21st Century Oncology data breach multidistrict litigation.       Committees and subcommittees, and holds several leadership
She also represents consumers and businesses impacted                 positions within the firm.
by security flaws believed to affect virtually all Intel Corp.,
                                                                      Jodi began her career applying restitution and fraud theories
computer processors.
                                                                      to the litigation against the tobacco industry which resulted in
Jodi handles a variety of cases regarding the state-sponsorship       the historic Master Settlement Agreement between the state
of international terrorism, as well as human rights litigation        attorneys general and the tobacco industry. She developed
involving violations of international law and human rights            expert and whistleblower testimony and synthesized millions of
abuses. Jodi now leads the legal team founded by Ron                  pages of documents for trial. She prepared the false-marketing
Motley that brought the groundbreaking litigation against the         and child targeting case against the tobacco industry which
financiers and material supporters of al Qaeda. Representing          resulted in restrictions on cartoon ads and the retirement of
thousands of family members and survivors of Sept. 11,                Joe Camel.
2001, in a pioneering civil action to hold al Qaeda’s sponsors
                                                                      Jodi has been interviewed by various media outlets, including
accountable and cut off the terror support pipeline, she serves
                                                                      U.S. and foreign television, radio and print media. She provides
on the Plaintiffs’ Executive Committee for the In re Terrorist
                                                                      pro bono work on a variety of global, national and community
Attacks on September 11, 2001 litigation consolidated by the
                                                                      issues and helped establish the firm’s Charitable Contributions
Multidistrict Litigation Panel. She aided 9/11 victims and families
                                                                      Committee. She served as a member of the American Bar
in their years-long push to pass the Justice Against Sponsors of
                                                                      Association’s Center for Human Rights Advisory Council from
Terrorism Act, which became law in 2016.
                                                                      2014 to 2016, and currently serves on the board of the PanAm
Jodi is currently involved in processing claims for the new           103 Lockerbie Legacy Foundation.
Victims’ Compensation Fund for first responders, area
residents, and anyone whose health may have been affected             PUBLISHED WORKS:
by exposure to environmental toxins released in the terrorist         “Remarks on the GJIL Symposium on Corporate Responsibility
attacks. She was also an integral member of the Motley Rice           and the Alien Tort Statute,” Georgetown Journal of International
aviation security litigation team seeking accountability and          Law, Volume 43–Issue 4, Summer 2012. (43 Geo. J. Int’l. L. 1601)
change in aviation security following the 9/11 attacks. In
addition, Jodi also represents international terror victims who       AWARDS AND ACCOLADES:
have filed claims through the U.S. Victims of State Sponsored         Best Lawyers®
Terrorism Fund.                                                       2015–2021 Mass tort litigation/class actions – plaintiffs
Jodi also played a key role in Linde et al. v. Arab Bank PLC,         National Law Journal
filed by victims of terrorist bombings in Israel against Arab         2020 Elite Women of the Plaintiffs’ Bar
Bank for allegedly financing Hamas and other Israeli terrorist        2018 Plaintiffs’ Lawyers Trailblazers
organizations. This case marked the first time that a financial       The National Trial Lawyers
institution has been brought to trial under the Anti-Terrorism        2020–2021 Top 100 Trial Lawyers™: South Carolina
Act. Jodi also helped lead a parallel suit for thousands of non-
U.S. citizens, Jesner v. Arab Bank, which was heard by the U.S.       Lawdragon
Supreme Court regarding violations of customary international         2010–2021 Lawdragon 500
law by foreign corporations under the Alien Tort Statute.             2019–2020 Lawdragon 500 Plaintiff Consumer Lawyers
                                                                      2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
She served as the lead negotiator in Cummock, et al. v. Socialist
People’s Libyan Arab Jamahiriya, et al., the last hold-out of the     South Carolina Lawyers Weekly
individual cases against Libya for the Lockerbie bombing of           2017 Leadership in Law Honoree
Pan Am Flight 103, and continues to seek justice for victims of       Public Justice Foundation
Libyan sponsored terrorism during Qadhafi’s reign. Jodi also          2016 Trial Lawyers of the Year




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The Legal 500 United States, Litigation edition                         In addition to his toxic exposure casework, Vin litigates on behalf
2016–2018 Dispute resolution – product liability, mass tort and         of patients who suffered severe health complications caused
class action – toxic tort – plaintiff                                   by allegedly defective mesh products, including Composix®
                                                                        Kugel® Mesh patches and other hernia mesh products, as well
Benchmark Plaintiff
                                                                        as transvaginal mesh.
2014 Top 150 Plaintiff Women in Litigation: South Carolina
2012–2013 National “Litigation Star”: civil rights/human rights         Active in the legal community, Vin served in 2015 as President
and mass tort/product liability                                         of the Rhode Island Association for Justice. He is the current
2012–2014 South Carolina “Litigation Star”: environmental,              Treasurer for the Rhode Island Center for Justice, a non-profit
human rights, mass tort and securities                                  law center advocating for workers’ rights and other public
                                                                        interest issues. Vin began working with Motley Rice attorneys in
ASSOCIATIONS:                                                           1997 on the landmark litigation against the tobacco industry and
Litigation Counsel of America                                           medical malpractice cases. Named a Motley Rice member in
American Association for Justice                                        2008, Vin is recognized as an AV® rated attorney by Martindale-
South Carolina Association for Justice                                  Hubbell®.
American Bar Association, SIL–International Human Rights
Committee                                                               AWARDS AND ACCOLADES:
South Carolina Bar Association, SC Women Lawyers                        Best Lawyers®
Charleston Bar Association                                              2017–2021 Product liability litigation – plaintiffs
Daughters of the American Revolution                                    Lawdragon
The Fellows of the American Bar Foundation                              2020 Lawdragon 500 Plaintiff Consumer Lawyers
*Although it endorses this lawyer, The Legal 500 United States is
                                                                        Rhode Island Super Lawyers® lists
not a Motley Rice client.
                                                                        2014–2020 Personal injury – products: plaintiff; Class action/
                                                                        mass torts; Environmental litigation
Vincent L. Greene IV                                                    Benchmark Plaintiff
LICENSED IN: RI                                                         2012–2014 Rhode Island “Litigation Star”: environmental,
ADMITTED TO PRACTICE BEFORE:                                            medical malpractice, toxic tort
U.S. District Court for the District of Rhode Island
                                                                        The Legal 500 United States
EDUCATION:
                                                                        2010 Mass tort and class action: plaintiff representation –
J.D., George Washington University Law School, 1998
                                                                        toxic tort
B.A., College of the Holy Cross, 1995
Vin Greene works on behalf of victims of lead poisoning,                ASSOCIATIONS:
asbestos-related diseases and defective medical products.               American Association for Justice
He represents children and families poisoned by exposure to             American Civil Liberties Union
lead paint and pigments in trials, negotiations and settlements,        Rhode Island Association for Justice, Past President
including achieving a rare jury verdict and compensatory                Rhode Island Center for Justice, Treasurer
damages in 2015 for a Rhode Island woman who suffered
cognitive defects due to lead exposure as a child. Vin’s legal          *Although it endorses this lawyer, The Legal 500 United States
efforts led to his critical role in defeating tort reform legislation   is not a Motley Rice client.
in Rhode Island, utilizing testimony, analysis and grassroots
outreach to push passage of a bill that helped prevent
childhood lead poisoning without infringing on victims’ rights.
For his numerous efforts and accomplishments, the Childhood
Lead Action Project honored him with its Beyond the Call of
Duty Award in 2001.
Currently, Vin represents workers and families suffering from
mesothelioma and other asbestos-related diseases as a result
of occupational, environmental or household exposure to
asbestos. He has managed asbestos cases and negotiations
on behalf of hundreds of individuals, including arguing before
the Supreme Courts of Ohio and Rhode Island, as well as Ohio
Appellate Courts.




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Serena P. Hallowell                                                     Serena was selected to The National Law Journal’s “Elite
                                                                        Women of the Plaintiffs Bar” in 2020 for having consistently
LICENSED IN: NY
                                                                        excelled in high-stakes matters on behalf of plaintiffs. She was
ADMITTED TO PRACTICE BEFORE:
                                                                        also recognized by them as a Plaintiffs’ Lawyer “Trailblazer” in
U.S. Court of Appeals for the First, Ninth, and Eleventh Circuits;
                                                                        2019 in part for her work on behalf of opt-out plaintiffs. Legal
U.S. District Court for the Southern and Eastern Districts of
                                                                        publication Law360 named her as a “Securities MVP” in 2019,
New York
                                                                        and the 2020 Chambers USA report recognized her in the area
EDUCATION:
                                                                        of New York securities litigation for plaintiffs. The Legal 500 also
J.D., Boston University School of Law, 2003
                                                                        recommended her in the field of securities litigation in 2016 and
B.A., Occidental College, 1999
                                                                        2017.
With nearly 20 years of complex litigation and securities
experience, Serena Hallowell has been recognized by her                 Serena is a frequent speaker in legal circles throughout the
peers as a leader in the plaintiffs’ securities bar and a Plaintiffs’   country on matters related to securities litigation and diversity
Lawyer “Trailblazer” in 2019 by National Law Journal for her            and inclusion in the legal and financial sectors. She uses her
work in securities opt-out litigation. As lead of Motley Rice’s         platform to champion women’s rights and promote diversity
direct-action litigation efforts, and a leader of the firm’s            in the financial realm, including advocating for women and
securities fraud team, Serena litigates for some of the world’s         minority-led investment firms.
largest institutional investors, including pension funds, hedge         Serena has performed pro bono work for immigrant detainees
funds, mutual funds, family offices, and other large institutional      through the American Immigrant Representation Project,
investors. She also regularly advises institutional investors and       in addition to volunteering with the Securities Arbitration
public entities regarding recovery opportunities in connection          Clinic at Brooklyn Law School, among other positions. She is
with fraud-related conduct.                                             conversational in Hindi and Urdu.
Prior to her time at Motley Rice, Serena was the head of a direct-
action practice and member of the securities class action               SELECTED PUBLICATIONS:
group as a partner of a large securities law firm in New York. In       • ‘Mutual Funds Should Consider Shareholder Litigation,’
that capacity, she was a key member of several litigation teams           Law360 (Oct. 8, 2019)
that achieved multi-million settlements for clients, aggregating        • ‘Around the World in a Decade: The Evolving Landscape of
close to $500 million. Notable cases Serena was a leading/key             Securities Litigation Post-Morrison,’ NAPPA (Nov. 26, 2019)
member of prior to joining Motley Rice include:                         • ‘Emulex Highlights Greater Scrutiny of Issues at High Court,’
                                                                          Law360 (April 25, 2019)
• In re Barrick Gold Securities Litigation ($140 million
  settlement*)                                                          • ‘China Agritech’s Positive Implications for Plaintiffs,’ Law360
                                                                          (July 3, 2018)
• In re Computer Sciences Corp. Securities Litigation ($97.5
  million settlement*)(“rocket docket” jurisdiction and                 • ‘Direct Actions: A Path to Recovery for Foreign Purchases
  estimated to be the third largest all cash settlement in the            of Securities,’ The NAPPA Report (Oct. 31, 2017) ‘Investor
  Fourth Circuit)                                                         Recovery Strategies Following ANZ Securities,’ Law360 (July
                                                                          12, 2017)
• Public Employees’ Retirement System of Mississippi v. Endo
  ($50 million settlement*) (state court Section 11 action              • ‘Does ‘Dukes’ Require Full ‘Daubert’ Scrutiny at Class
  believed to be the largest class settlement obtained pursuant           Certification?’ New York Law Journal (Nov. 25, 2011)
  to the Securities Act of 1933 in connection with a secondary
  public offering)                                                      AWARDS AND ACCOLADES:
                                                                        National Law Journal
• In re Intuitive Surgical Securities Litigation, No. 5:13-cv-01920
                                                                        2020 Elite Women of the Plaintiffs’ Bar
  (N.D. Cal.) ($42.5 million settlement* for the class, including
  the Employees’ Retirement System of the State of Hawaii)              2019 Plaintiffs’ Lawyers Trailblazers
• In re NII Holdings, Inc. Securities Litigation ($41.5 million         Lawdragon 500
  settlement*) (“rocket docket” jurisdiction where settlement           2019-2020 Leading Plaintiff Financial Lawyers
  was obtained even after company filed bankruptcy)                     2019-2020 Leading Lawyers in America
Serena has also led opt-out cases against companies,                    Chambers USA
including Valeant Pharmaceuticals, Perrigo Company, and Teva            2020 New York Securities Litigation, Plaintiff
Pharmaceuticals for a variety of institutional investors seeking
to recoup losses stemming from alleged fraud-related conduct.           Benchmark Litigation
With respect to Valeant, Serena and her team pursued claims             2020-2021 Future Star
under the New Jersey RICO statute, and was the first opt-out            Law360
plaintiff to successfully defeat a motion to dismiss those claims.      2019 Securities MVP
Certain Valeant actions have since been resolved and Serena             2016 Rising Star
continues to prosecute matters on behalf of others.
                                                                        The Legal 500
                                                                        2016-2017 Recommended in the Field of Securities Litigation



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ASSOCIATIONS:                                                           AWARDS AND ACCOLADES:
New York City Bar Association, Securities Litigation Committee          Best Lawyers®
Federal Bar Council                                                     2018 “Lawyer of the Year” Charleston, SC: Product liability
South Asian Bar Association                                             litigation – plaintiffs
National Association of Public Pension Attorneys                        2015–2021 Product liability litigation – plaintiffs
National Association of Women Lawyers                                   Lawdragon
The National Association of Shareholder & Consumer                      2020 Lawdragon 500 Plaintiff Consumer Lawyers
Attorneys, Secretary
                                                                        The Legal 500 United States
                                                                        2007, 2009–2012, 2015, 2018 Dispute resolution – product
John E. Herrick                                                         liability, mass tort and class action – toxic tort – plaintiff
LICENSED IN: MD, SC
ADMITTED TO PRACTICE BEFORE:                                            ASSOCIATIONS:
U.S. District Court for the Central District of Illinois, District of   The Fellows of the American Bar Foundation
Maryland, Northern District of Ohio, District of South Carolina,        American Association for Justice
Eastern and Southern Districts of Texas, Eastern and Western            American Bar Association
Districts of Wisconsin                                                  American Board of Trial Advocates
EDUCATION:                                                              South Carolina Association for Justice
J.D., University of South Carolina School of Law, 1988                  Although it endorses this lawyer, The Legal 500 United States is
B.A., University of South Carolina, 1983                                not a Motley Rice client.
John Herrick has spent more than 30 years representing
victims of asbestos exposure suffering from mesothelioma                T. David Hoyle
and other asbestos-related diseases. As a leader of the firm’s
occupational disease practice, John continues to fight for the          LICENSED IN: DC, FL, GA, SC
rights of those harmed by asbestos and other occupational               ADMITTED TO PRACTICE BEFORE:
diseases and assists in managing the firm’s asbestos litigation         Georgia Supreme Court; U.S. Court of Appeals for the Fourth
teams. A senior trial lawyer with years of courtroom experience,        and Eleventh Circuits; Georgia Court of Appeals; U.S. District
John represents individuals and families against defendants             Court for the Middle, Northern and Southern Districts of
which manufactured and sold defective and unreasonably                  Florida, Middle and Northern Districts of Georgia, Western
dangerous asbestos-containing products and equipment, as                District of Michigan, District of Nebraska, District of South
well as premise owners and contractors who specified and                Carolina, and the Western District of Wisconsin
installed those products.                                               EDUCATION:
                                                                        J.D., cum laude, University of South Carolina School of Law,
John has litigated asbestos cases resulting from occupational,          2005
environmental and household exposure, receiving verdicts                B.A., Wofford College, 2002
in hundreds of matters. He also represents maritime workers             David Hoyle is a trial lawyer who works to bring about change
who suffered asbestos exposure caused by manufacturers and              through the civil justice system, representing victims of corporate
suppliers, ship owners, shipbuilders and vessel designers.              wrongdoing and negligence in litigation ranging from toxic torts
In addition, John was lead trial counsel in a welding fume              to environmental contamination and catastrophic incidents.
verdict for the plaintiff on behalf of a welder who developed           David plays a leading role in litigation involving per- and poly-
manganism from exposure to welding fumes. He won the                    fluroalkyl substances or PFAS. These man-made chemicals
first affirmed jury verdict in the United States for a domestic,        are “forever chemicals,” which do not biodegrade and are
asbestos- exposed mesothelioma victim in the Marie Granski              extremely persistent in the environment. David has taken
case and achieved the first verdict in the United States against        dozens of liability depositions concerning the alleged
SCAPA US, the former manufacturer of asbestos-containing                concealment of these hazards. He leads the 3M Discovery
dryer felts. John also worked as lead trial counsel in the Harlow       Team for the Plaintiffs’ Executive Committee in In re Aqueous
trial group, cited as a top 100 case of the year by The National        Film-Forming Foams Products Liability Litigation, MDL No. 2873,
Law Journal, and litigated a personal injury case against a             involving AFFF firefighting suppressant products. In addition,
tobacco company for a plaintiff harmed by the use of asbestos           David represents governmental entities and water providers in
in cigarette filters.                                                   the MDL. He is also co-lead counsel for a test case, with water
John is recognized as an AV® rated attorney by Martindale-              contamination levels more than 1,000 times the regulatory limit,
Hubbell® and frequently serves as a guest speaker at asbestos           set for a bellwether trial involving alleged PFAS contamination
litigation-related seminars.                                            from the operation and disposal practices of the former
                                                                        Wolverine World Wide tannery in Rockford, Michigan which
                                                                        used 3M’s PFAS-containing Scotchgard™ products.




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David has also litigated complex personal injury cases involving        James M. Hughes, Ph.D.
catastrophic burns, brain injury, loss of limb and paralysis, as        LICENSED IN: SC
well as wrongful death cases resulting from negligence, fires,          ADMITTED TO PRACTICE BEFORE:
industrial accidents and defective products. He previously              U.S. Supreme Court, U.S. Court of Appeals for the First,
represented governments and businesses affected by the 2010             Second, Fourth, Fifth, Eighth, and Eleventh Circuits, U.S.
BP Deepwater Horizon oil spill.                                         District Court for the District of South Carolina
David began his career at Motley Rice working on behalf of              EDUCATION:
victims suffering from mesothelioma and other asbestos-                 J.D., University of South Carolina School of Law, 1993
related diseases and continues to represent Canadian                    Ph.D., University of Illinois, Chicago, 1983
provincial workers’ compensation boards concerning third-               M.A., University of Illinois, Chicago, 1976
party asbestos claims.                                                  B.A., University of Minnesota, 1975
                                                                        Jim Hughes has a broad range of experience litigating complex
For more than 15 years, David’s wide-ranging curiosity,
                                                                        matters, including securities fraud, occupational disease and
genuine empathy, and versatile litigation skills have made him
                                                                        public client cases.
comfortable in a variety of settings and allowed him to handle all
aspects of litigation, from initial client meetings to first chairing   Focusing his practice on securities fraud, he develops strategic
jury trials and making appellate oral arguments. An AV® rated           legal arguments, drafts and argues motions and litigates cases.
attorney in Martindale-Hubbell®, he has also negotiated the             Most notably, Jim was the lead Motley Rice lawyer in Bennett v.
resolution of numerous cases with a focus on the clients’ goals         Sprint Nextel Corp. ($131 million settlement) and In re Barrick
and changing defendant conduct. Following the conviction of             Gold Securities Litigation ($140 million settlement).
a South Carolina child predator, David litigated sexual abuse           Involved with the firm’s representation of governmental entities,
survivor claims against the predator’s former employer,                 he works on opioid litigation against opioid manufacturers,
Pinewood Preparatory School, negotiating a resolution that              distributors and pharmacies.
includes the implementation of a new Child Protection Policy
that includes the enforcement of stricter procedures and a              Jim has also represented industrial workers exposed to silica
decade of outside monitoring. David also litigated the claims of        and asbestos in the workplace, arguing before appellate courts
a rape survivor against the owner of a self-storage facility and        in Illinois and Minnesota on behalf of occupational disease
negotiated a resolution that included the business changing its         victims. He has shared his experience with silica litigation
security practices.                                                     and product identification at several national conferences,
                                                                        addressing the plaintiff’s perspective and other pertinent issues.
David has presented at seminars on a diverse range of topics,
such as the economic loss rule in environmental cases, trends           A published author on several legal and academic themes, Jim’s
in federal practice, ethical issues involving social media, NFL         law review article, “Informing South Carolina Capital Juries
concussion litigation, and asbestos disease awareness. He is            About Parole” (44 S.C. Law Review 383, 1993) was cited in 2000 by
the author of “Seal of Disapproval: International Implications of       U.S. Supreme Court Justice John Paul Stevens in his dissenting
South Carolina’s Notary Statute,” 3 S.C.J.Int’l. L. & Bus. 1 (2006).    opinion in Ramdass v. Angelone. His reported opinions include
                                                                        Ison v. E.I. DuPont de Nemours & Co. (Del. 1999), In re Minnesota
David currently serves in a leadership role for the South               Asbestos Litigation (Minn., 1996), W.R. Grace & Co. v. CSR Ltd.,
Carolina Association for Justice. Active in his community, he           (Ill. App. Ct. 1996) and In re Tutu Wells Contamination Litigation
has served on the Board of Directors for the Lowcountry Autism          (D.V.I. 1995).
Foundation and volunteered for more than 10 years with the
Lowcountry AIDS Legal Clinic. He is a former member of the              A former professor of philosophy, Jim began his legal career
Ecclesiastical Court of The Episcopal Church in South Carolina,         with the plaintiffs’ bar after clerkships with the South Carolina
and is an appointed member of The Episcopal Church Province             Office of Appellate Defense and a business, employment and
IV Court of Review.                                                     intellectual property defense firm. He is recognized as an AV®
                                                                        rated attorney by Martindale-Hubbell®.
AWARDS AND ACCOLADES:
South Carolina Super Lawyers® Rising Stars list                         AWARDS AND ACCOLADES:
2012–2019 Personal injury–general: plaintiff; Civil rights;             Lawdragon
Environmental litigation                                                2019 Lawdragon 500 Plaintiff Financial Lawyers

Charleston Business Magazine                                            ASSOCIATIONS:
2017 “Legal Elite of the Lowcountry”                                    American Association for Justice
The National Trial Lawyers                                              South Carolina Association for Justice
2012 Top 100 Trial Lawyers™– South Carolina

ASSOCIATIONS:
American Association for Justice
South Carolina Association for Justice


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John D. Hurst                                                       Mathew P. Jasinski
LICENSED IN: NC, PA, SC, WV                                         LICENSED IN: CT, NY
ADMITTED TO PRACTICE BEFORE:                                        ADMITTED TO PRACTICE BEFORE:
U.S. District Court for the Eastern, Middle and Western             U.S. Supreme Court; U.S. Court of Appeals for the First,
Districts of North Carolina, Northern District of Ohio, District    Second, and Third Circuits; U.S. District Court for the District
of South Carolina, and the Northern and Southern Districts of       of Connecticut and Southern District of New York
West Virginia                                                       EDUCATION:
EDUCATION:                                                          J.D. with high honors, University of Connecticut School of Law,
J.D., University of North Carolina, School of Law, 2006             2006
B.A. highest distinction, University of North Carolina, Chapel      B.A. summa cum laude, University of Connecticut, 2003
Hill, 2002                                                          Mathew Jasinski represents consumers, businesses, and
John Hurst works to hold corporations accountable for the harm      governmental entities in class action and complex cases
they do to individuals and society, developing and executing        involving consumer protection, unfair trade practices,
case strategies in toxic tort, occupational disease, catastrophic   commercial, environmental and securities litigation. He also
injury, and product liability cases.                                represents whistleblowers in qui tam cases under the False
                                                                    Claims Act.
John represents workers and their family members injured
by occupational, environmental or household exposure                Mathew’s litigation experience includes all aspects of trial
to asbestos, including numerous mesothelioma victims. A             work, from case investigation to appeal. He has represented
central member of the West Virginia team, he also manages           plaintiffs in class actions involving such claims as breach of
large, complex multi-party litigation and works extensively in      contract and unfair trade practices. He has experience in
federal, state, and bankruptcy court at both trial and appellate    complex commercial cases regarding claims of fraud and
levels. John litigates legal issues under product, premises, and    breach of fiduciary duty and has represented an institutional
employer liability theories.                                        investor in its efforts to satisfy a judgment obtained against the
                                                                    operator of a Ponzi scheme. Mathew obtained a seven-figure
John represents merchant mariners with Jones Act claims
                                                                    arbitration award in a case involving secondary liability for an
against their shipowner employers in the federal asbestos
                                                                    investment advisor’s conduct under the Uniform Securities
MDL-875 and in the Northern District of Ohio and has presented
                                                                    Act. Please remember that every case is different. Any result
on this topic. In 2014, John was a key member of a trial team
                                                                    we achieve for one client in one matter does not necessarily
that obtained a compensatory and punitive damages verdict
                                                                    indicate similar results can be obtained for other clients.
in Massachusetts federal court against a manufacturer of
asbestos-containing fireproofing.                                   Mathew also serves the firm’s appellate group, having argued
                        ®                                       ®   cases in the U.S. Courts of Appeals for the First and Second
Recognized as an AV rated attorney Martindale-Hubbell ,
                                                                    Circuits, the Connecticut Appellate Court, and the Connecticut
John’s experience goes beyond occupational disease litigation.
                                                                    Supreme Court. He also has worked on numerous appeals before
He represented victims of a 2009 explosion at the ConAgra
                                                                    other state and federal appellate courts across the country.
facility in Garner, N.C., and negotiated the resolution of those
claims against industrial contractors.                              Prior to joining Motley Rice in 2009, Mathew practiced complex
                                                                    commercial and business litigation at a large defense firm.
John published the first academic analysis of credit counseling
                                                                    He began his legal career as a law clerk for Justice David M.
agencies, “Protecting Consumers from Consumer Credit
                                                                    Borden (ret.) of the Connecticut Supreme Court. During law
Counseling,” 9 N.C. Banking Inst. 159 (2005), and co-authored
                                                                    school, Mathew served as executive editor of the Connecticut
“Premises Liability Update: Employee Cases,” for Emerging
                                                                    Law Review and judging director of the Connecticut Moot
Trends in Asbestos Litigation, (March 9-11, 2009), and “The
                                                                    Court Board. He placed first in various moot court and mock
Changing Landscape of Single Sex Education,” School Law
                                                                    court competitions, including the Boston region mock trial
Bulletin (2006).
                                                                    competition of the American Association for Justice. As an
AWARDS AND ACCOLADES:                                               undergraduate, Mathew served on the board of associate
West Virginia Super Lawyers® Rising Stars list                      directors for the University of Connecticut’s honors program
2014–2021 Personal injury – general: plaintiff; Personal injury –   and was recognized with the Donald L. McCullough Award for
products: plaintiff; Class action/mass torts                        his student leadership.
                                                                    Mathew continues to demonstrate civic leadership in the
ASSOCIATIONS:                                                       local Hartford community. He is vice chairman of the board of
American Association for Justice                                    directors for the Hartford Symphony Orchestra, a deacon of the
American Bar Association                                            Asylum Hill Congregational Church, and a commissioner of the
Charleston County Bar Association                                   Hartford Parking Authority. Previously, Mathew served on the
South Carolina Association for Justice                              city’s Charter Revision Commission and its Young Professionals
                                                                    Task Force, an organization focused on engaging young
                                                                    professionals and positioning them for future business and
                                                                    community leadership.


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PUBLISHED WORKS:                                                   She works closely with victims and their families, often meeting
“On the Causes and Consequences of and Remedies                    with them in their homes for consultations. She strives to
for Interstate Malapportionment of the U.S. House of               provide each client with personalized attention and individual
Representatives” (Jasinski and Ladewig, Perspectives on            justice, whether the case is part of a class action or stands
Politics, Vol. 6, Issue 1, March 2008)                             alone.
“Hybrid Class Actions: Bridging the Gap Between the Process        Anne often collaborates with other attorneys, including estate
Due and the Process that Functions” (Jasinski and Narwold),        and probate counsel, in order to approach each case from a
The Brief, Fall 2009                                               team perspective. She also consults with experts to provide
                                                                   input on cases.
AWARDS AND ACCOLADES:
                                                                   She is a member of the firm’s litigation team currently
Lawdragon
                                                                   representing dozens of governmental entities, including states,
2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
                                                                   cities, towns, counties and townships targeting the alleged
Super Lawyers®                                                     misrepresentation of highly addictive opioids by manufacturers
2013–2020 Connecticut Super Lawyers Rising Stars list              and distributors, a suspected cause of the opioid epidemic
Business litigation; Class action/mass torts; Appellate            plaguing communities nationwide.
Connecticut Law Tribune                                            Anne represents workers diagnosed with the devastating
2018 “New Leaders in Law”                                          disease mesothelioma caused by asbestos exposure in the
Hartford Business Journal                                          chemical, electric power generation, steel or construction
2009 “Forty Under 40”                                              industries. She also represents victims of household exposure—
                                                                   children and spouses who developed mesothelioma or other
ASSOCIATIONS:                                                      asbestos-related diseases after being exposed to asbestos
American Association for Justice                                   fibers that a family member unwittingly brought home from work
American Bar Association                                           on clothes or belongings. Anne has tried several noteworthy
Connecticut Bar Association                                        asbestos cases, including Cox vs. A&I Company, West Virginia’s
Oliver Ellsworth Inn of Court                                      first household asbestos exposure case, and the 2002 West
Phi Beta Kappa                                                     Virginia Consolidated Asbestos Trial against Union Carbide
                                                                   in which unsafe working conditions were found at its plants
For full Super Lawyers selection methodology visit: www.
                                                                   throughout the state. In addition to maintaining an active trial
superlawyers.com/about/selection_process.html
                                                                   schedule, Anne represents Canadian Workers’ Compensation
For current year CT data visit: www.superlawyers.com/
                                                                   Boards in U.S. courts to recoup benefits they paid Canadian
connecticut/selection_details.html
                                                                   asbestos victims.
                                                                   Devoted to worker safety and health in all forms, Anne also
Anne McGinness Kearse                                              represents and has secured settlements for flavoring workers
LICENSED IN: DC, SC, WV                                            who suffered respiratory ailments and other diseases caused
ADMITTED TO PRACTICE BEFORE:                                       by toxic chemical exposure. She also recently secured a jury
U.S. Court of Appeals for the Eleventh Circuit, U.S. District      verdict against SAR Automation, L.P. for $8.8 million* for the
Court for the Eastern District of New York, Eastern and            wrongful death of a worker who fell at a Boeing facility and left
Western Districts of Pennsylvania, District of South Carolina      behind a widow and two small children.
and the Southern District of West Virginia                         As a law clerk, Anne supported the team representing the State
EDUCATION:                                                         Attorneys General in the historic lawsuit against Big Tobacco,
J.D. summa cum laude, University of South Carolina School of       which resulted in the largest civil settlement in U.S. history.
Law, 1998                                                          Shortly after, she was a member of the trial team that litigated
B.S., Syracuse University, 1983                                    Falise v. American Tobacco Company.
With more than two decades of experience in complex litigation,
Anne brings a passion for justice to each case, working for her    Well-versed in navigating complex litigation, Anne holds
clients and seeking to bring those responsible to account.         several leadership positions within the firm, managing legal
Through litigation, including mass torts, class actions and        teams associated with occupational disease, toxic exposure
individual cases, Anne pursues the implementation of better        and severe personal injury. Anne has written several articles of
safety practices and corporate governance measures for those       interest to the plaintiffs’ bar and frequently speaks on asbestos
corporations, as well as just compensation for victims of toxic    litigation, general product liability, legal ethics and tort reform
exposure, extreme and life-altering injuries, workplace injuries   at seminars across the country. She has been published
and diseases, severe burns, brain damage, loss of limb and         on major legal issues, including forum non conveniens and
paralysis, and wrongful death resulting from negligence and        defective products abroad, corporate misconduct, medicolegal
defective products.                                                aspects of asbestos litigation and mass tort litigation. Anne co-
                                                                   authored the 12th chapter of the book, “Pathology of Asbestos-



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Associated Diseases” (Medicolegal Aspects of Asbestos-             Marlon E. Kimpson
Related Diseases: A Plaintiff’s Attorney’s Perspective, 3rd ed.,
                                                                   LICENSED IN: SC
2014). Edited by Victor L. Roggli, MD; Tim D. Oury, MD, PhD;
                                                                   ADMITTED TO PRACTICE BEFORE:
and Thomas A. Sporn, MD, this publication is a comprehensive
                                                                   U.S. District Court for the District of South Carolina, Eastern
asbestos reference book used by both physicians and attorneys.
                                                                   District of Michigan
Anne served as the 2016–2017 President of the Public Justice       EDUCATION:
Foundation, a charitable organization focused on protecting        J.D., University of South Carolina School of Law, 1999
people and the environment and increasing access to justice.       B.A., Morehouse College, 1991
She has been on the Board of Directors since 2010. In 2011,        Marlon Kimpson represents victims of corporate malfeasance,
Anne served on the Executive Board for a local chapter of Safe     from investors in securities fraud cases to consumers harmed
Kids USA, advocating for childhood injury prevention. She also     by large data and privacy breaches, as well as people injured
currently serves as a Section Councilor in the Law Section of      or killed in catastrophic incidents. Building upon the firm’s
the American Public Health Association.                            relationships with unions and governmental entities, Marlon
                                                                   represents individuals, state and municipality pension funds,
AWARDS AND ACCOLADES:                                              multi-employer plans, unions and other institutional investors
Best Lawyers®                                                      in securities fraud class actions and in mergers and acquisition
2016 Charleston, S.C. “Lawyer of the Year”: Mass tort              cases, seeking asset recovery and improved corporate
litigation/class actions – plaintiffs                              governance.
2011–2021 Mass tort litigation/class actions – plaintiffs
                                                                   Marlon has litigated securities cases including: In re Atheros
South Carolina Super Lawyers® list                                 Communications, Inc., Shareholder Litigation; In re Celera
2013–2021 Class action/mass torts; Personal injury – products:     Corporation Shareholder Litigation; In re RehabCare Group,
plaintiff; Personal injury – general: plaintiff                    Inc. Shareholders Litigation; In re Coventry Healthcare, Inc.,
South Carolina Lawyers Weekly                                      Shareholder Litigation; and In re Big Lots, Inc., Shareholder
2020 Leadership in Law Lawyer of the Year                          Litigation. In 2017, he helped secure a $16 million settlement
                                                                   to resolve shareholders’ claims in Epstein v. World Acceptance
Lawdragon                                                          Corp. et al., which alleged that World Acceptance misled
2020 Lawdragon 500 Plaintiff Consumer Lawyers                      investors about its lending practices and compliance with
University of South Carolina School of Law Alumni Association      federal law. More recently, Marlon was local counsel for
2018 Compleat Lawyer Award                                         institutional investors in In re SCANA Corporation Securities
1998 Bronze Compleat Award                                         Litigation, a complex securities fraud matter related to
                                                                   alleged misrepresentations and omissions concerning the
The National Trial Lawyers
                                                                   design, construction, and abandonment of SCANA’s nuclear
2010 Top 100 Trial Lawyers™: South Carolina
                                                                   construction project in South Carolina. The case resolved in
The Legal 500 United States                                        2020 with a $192 million settlement. It is the largest securities
2007, 2009–2012, 2016, 2018 Dispute resolution – product           class action recovery ever obtained in the District of South
liability, mass tort and class action – toxic tort – plaintiff     Carolina, the fifth largest securities class action recovery in the
Benchmark Plaintiff                                                history of the Fourth Circuit, and among the top 100 securities
2013 National “Litigation Star”: mass tort/product liability –     class action recoveries nationwide.
plaintiffs                                                         Marlon is co-lead counsel and a member of the Plaintiffs’
2012–2014 South Carolina “Litigation Star”: mass tort/product      Steering Committee for multidistrict litigation, In re: Blackbaud
liability – plaintiffs                                             Inc. Customer Data Security Breach Litigation, filed in the
2014 Top 150 Women in Litigation list: South Carolina: mass        District of South Carolina for consumers affected by a 2020
tort/product liability – plaintiffs                                ransomware attack and resulting data breach that targeted
                                                                   software company Blackbaud. He also represents Facebook
ASSOCIATIONS:                                                      users who allege the social media network violated privacy
Public Justice Foundation, Board of Directors                      laws by allowing political data firm Cambridge Analytica to
American Association for Justice, Chair – Committee on             harvest private information from more than 87 million of its
Asbestos Education                                                 users without their knowledge or permission.
American Bar Association
South Carolina Association for Justice, Board of Governors         In addition to securities and consumer fraud litigation, Marlon
Litigation Counsel of America, Senior Fellow                       is part of the team representing dozens of governmental
Order of the Coif                                                  entities, including states, counties, cities, towns, and townships
Order of the Wig and Robe                                          in litigation targeting the alleged deceptive marketing and
John Belton O’Neal Inn of Court                                    over-distribution of highly addictive opioid drugs, a contended
American Inns of Court, James L. Petigru Chapter                   cause of the nationwide opioid crisis. He has also represented
Pound Civil Justice Institute, Supporting Fellow                   victims of catastrophic personal injury, asbestos exposure, and
The Fellows of the American Bar Foundation


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aviation disasters. He has litigated commercial and charter        ASSOCIATIONS:
aviation cases with clients, defendants and accidents involving    American Association for Justice
multiple countries. He also represented people and businesses      South Carolina Association for Justice
in the Deepwater Horizon BP oil spill settlements claims           National Association of Public Pension Attorneys
programs.                                                          American Bar Association
Marlon currently serves as South Carolina State Senator of         National Bar Association
District 42, representing citizens of Charleston and Dorchester
Counties. A frequent speaker, Marlon has presented at seminars     Daniel R. Lapinski
and conferences across the country, including the Public Funds     LICENSED IN: NJ, NY, PA
Summit, the National Association of State Treasurers, the South    ADMITTED TO PRACTICE BEFORE:
Carolina Black Lawyers’ Association, the National Conference       U.S. Supreme Court; U.S. Court of Appeals for the First, Third,
on Public Employee Retirement Systems (NCPERS) and the             Fourth, Sixth and Tenth Circuits; Supreme Court of New
National Association of Securities Professionals (NASP).           Jersey; Supreme Court of New York, First Judicial Department;
After five years in commercial banking, Marlon entered the field   Supreme Court of Pennsylvania, Western District; U.S. District
of law and served as a law clerk to Judge Matthew J. Perry of      Court for the Eastern and Middle Districts of Pennsylvania,
the U.S. District Court of South Carolina. His legal work and      District of New Jersey, and Eastern and Southern Districts of
volunteer service also earned him the University of South          New York
Carolina School of Law bronze Compleat Award. Martindale-          EDUCATION:
Hubbell® recognizes Marlon as a BV® rated attorney.                J.D., Seton Hall University School of Law, 1999
                                                                   B.A., Rutgers University, 1990
Marlon is active in his community and formerly served on the
                                                                   Daniel Lapinski has nearly 20 years of litigation experience, with
Board of Directors for the Peggy Browning Fund. He has also
                                                                   a focus on mass tort litigation and complex consumer actions
held leadership roles with the University of South Carolina
                                                                   in state, federal and appellate courts.
Board of Visitors, the Charleston Black Lawyers Association and
the South Carolina Election Commission. In 2017, the American      Dan represents victims of childhood sexual abuse who seek
Association of Justice Minority Caucus awarded Marlon with its     to hold abusers and abuse enablers accountable in civil court
Johnnie L. Cochran, Jr. Soaring Eagle Award reserved for lawyers   under “window” laws. Newly enacted in many states and pending
of color who have made outstanding contributions to the legal      in others, these laws extend the number of years available for
profession and paved the way for others. In 2018, Marlon was       victims to file a childhood sexual abuse claim by opening a
chosen as a Leadership in Law Honoree by South Carolina            statute of limitations window for a finite period of time. Dan
Lawyers Weekly. He is a lifetime member of the NAACP and a         also represents former Boy Scouts who suffered abuse with
member of Sigma Pi Phi Boulé and Omega Psi Phi Fraternity, Inc.    claims against the Boy Scouts of America bankruptcy.
                                                                   As a mass tort attorney, Dan represents victims harmed by
AWARDS AND ACCOLADES:                                              dangerous pharmaceutical products and defective medical
Best Lawyers®
                                                                   devices. His perspective and approach to litigation is shaped
2015–2021 Mass tort litigation/class actions – plaintiffs
                                                                   by his previous experience as a surgical representative for a
Lawdragon                                                          major medical device manufacturer.
2019–2020 Lawdragon 500 Plaintiff Consumer Lawyers
                                                                   Dan plays an active role in numerous mass tort cases, including
2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
                                                                   as a member of the Plaintiffs’ Steering Committees for the
South Carolina Lawyers Weekly                                      following multidistrict litigations, among others:
2018 Leadership in Law Honoree                                     • In re Proton-Pump Inhibitor Prods. Liability Litigation (No. II),
American Association of Justice                                      D.N.J.
2017 Johnnie L. Cochran, Jr. Soaring Eagle Award                   • In re Johnson & Johnson Talcum Powder Products Liability
                                                                     Litigation, D.N.J.
Benchmark Plaintiff
2012 National “Litigation Star”: mass tort/product liability       • In re Zimmer NexGen Knee Implant Products Liability
                                                                     Litigation, N.D. Ill.
2012–2014 South Carolina “Litigation Star”: environmental,
mass tort, securities                                              Additionally, Dan has successfully argued preemption issues
                                                                   before federal appellate courts, and has represented clients
Coastal Conservation League
                                                                   in class actions regarding shareholder derivatives, alleged
2016 Coastal Stewardship Award
                                                                   deceptive marketing of vehicles and pharmaceutical products,
United Food and Commercial Workers                                 and alleged negligence contributing to a massive apartment
2016 Legislative Activist of the Year                              fire, in cases including:
                                                                   • DeMarco v. AvalonBay Communities, Inc., D.N.J.
                                                                   • D.C.G. & T., et al., v. Knight, et al., E.D. Va.




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• In re Ford Explorer Cases, Cal. Sacramento Cnty. Super. Ct.      manufacturers and distributors, a suspected cause of the
• Alexander v. Solvay Pharmaceuticals, Inc., Cal. Los Angeles      opioid epidemic. He also represents workers and families who
  Cnty. Super. Ct.                                                 suffered serious injury or death due to defective products or
• Slaughter v. Unilever United States, Inc., D.N.J.                unsafe working conditions.
Prior to joining Motley Rice, Dan served among the leadership      Understanding that lawyers must be counselors as well as
of the mass tort and class action team of a New Jersey law firm.   advocates, James meets with clients and their families to help
                                                                   them figure out the best path forward.
Dan is a frequent speaker on the local and national levels
regarding mass tort and class action litigations, including        As a United States Army veteran having served in the Judge
presenting at the New Jersey State Bar annual conference,          Advocate General Corps (JAG), James is honored to have
and serving as a panelist for both Harris Martin Publishing        represented thousands of veterans during his career. In this
and the American Association of Justice. He has also been a        capacity, James played a leading role in In re KBR, Inc., Burn
regular speaker at New Jersey Association for Justice’s Annual     Pit Litigation, filed for veterans and contract workers who have
Boardwalk Seminar.                                                 developed cancers and other chronic illnesses after being
                                                                   exposed to allegedly toxic open-air burn pits while serving
Outside of the courtroom, Dan has served as a board member
                                                                   in Iraq and Afghanistan. James also represents veterans and
for the MYAA Baseball program, in addition to coaching various
                                                                   families dealing with mesothelioma and other asbestos-related
youth baseball and soccer teams.
                                                                   diseases.
AWARDS AND ACCOLADES:                                              James has devoted a significant portion of his career to trial
Super Lawyers®                                                     work. As co-lead counsel in Donna Brown v. Philip Morris USA
2013–2021 New Jersey Super Lawyers list                            et al, James recently helped secure a $17.2 million* jury verdict
2011 New Jersey Super Lawyers Rising Stars list                    in 2015 for a client who suffered debilitating, life-altering effects
No aspect of this advertisement has been approved by the           to her health after being targeted by misleading advertising
Supreme Court of New Jersey.                                       related to nicotine during her teen years. James was also a key
                                                                   member of the team that negotiated the historic $100 million
ASSOCIATIONS:                                                      aggregate settlement reached in 2015 with Lorillard Tobacco
American Association for Justice                                   Company, Philip Morris USA, and R.J. Reynolds Tobacco
New Jersey Association for Justice                                 Company, resolving roughly 400 Engle-progeny tobacco cases
New Jersey State Bar Association                                   filed in the Florida federal district court. Both were recognized
Motley Rice LLC, a South Carolina Limited Liability Company,       by South Carolina Lawyers Weekly as two of the top five largest
is engaged in the New Jersey practice of law through Motley        verdicts and settlements in South Carolina for 2015.*
Rice New Jersey LLC. Esther Berezofsky attorney responsible        James has represented businesses that suffered losses as a
for New Jersey practice. For award methodology, visit www.         result of the Deepwater Horizon oil spill in the Gulf of Mexico.
motleyrice.com/award-methodology                                   He has also represented whistleblowers in qui tam actions
                                                                   alleging fraud against the federal government, in addition to
James W. Ledlie                                                    representing numerous provincial workers’ compensation
                                                                   boards and private Canadian citizens in U.S. civil actions
LICENSED IN: DC, NY, SC, WV                                        brought against U.S. manufacturers of dangerous products
ADMITTED TO PRACTICE BEFORE:                                       sold in Canada.
U.S. Court of Appeals for the Fourth and Eleventh Circuits, U.S.
District Court for the District of South Carolina, and Southern    Prior to joining Motley Rice, James, a South Carolina native, was
District of West Virginia                                          a Law Clerk to the Honorable John C. Few, then a South Carolina
EDUCATION:                                                         Circuit Court Judge and now a Justice on South Carolina’s Supreme
J.D., University of South Carolina School of Law, 2000             Court. He also clerked for the Honorable G. Ross Anderson, Jr., of
B.A., Wofford College, 1996                                        the U.S. District Court for the District of South Carolina.
A trial lawyer, James Ledlie has spent the past 20 years           He has been profiled by the Centers for Disease Control and
advocating for clients throughout the country while furthering     Prevention for his work using the court system to impact public
complex litigation related to public health, worker safety and     health. He has also been awarded the American Association for
other issues.                                                      Justice’s F. Scott Baldwin award for an outstanding trial verdict
His practice spans litigation areas including asbestos, tobacco,   in the interests of public justice.
defective consumer products, pharmaceuticals and faulty            James is committed to sharing the knowledge he has gained
medical devices. He is also a member of Motley Rice’s litigation   and has spoken at numerous legal conferences, medical
team representing dozens of governmental entities, including       conferences and continuing education seminars on asbestos
states, cities, towns, counties and townships targeting the        litigation, trial advocacy, jury selection and professionalism. He
alleged misrepresentation of highly addictive opioids by           is recognized as an AV® rated attorney by Martindale-Hubbell®.




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James is equally committed to making a positive impact outside       actions in federal and state courts across the country, including
the courtroom, including being involved in local charities and       the WorldCom, Telxon and Global Crossing cases. He also
community improvement initiatives.                                   served as corporate counsel to a Delaware Valley-based retail
                                                                     corporation from 1996-2003, where he handled corporate
AWARDS AND ACCOLADES:                                                compliance matters and internal investigations.
Best Lawyers®
                                                                     In 2019, Gregg was appointed as a Vice President of the Institute
2021 Mass Tort Litigation / Class Actions – Plaintiffs
                                                                     for Law and Economic Policy, a foundation whose goals include
Lawdragon                                                            supplementing the resource-limited SEC by educating the
2020 Lawdragon 500 Plaintiff Consumer Lawyers                        public on the importance of private securities fraud litigation in
American Association for Justice                                     maintaining corporate accountability. Since its inception in the
2010 F. Scott Baldwin Award: in honor of his significant             1990s, the institute has presented and published papers that
contribution to the New Lawyers Division and the attainment          have been cited in more than 60 federal cases, including several
of outstanding trial verdicts                                        in the U.S. Supreme Court. Appearing in the media to discuss
                                                                     a variety of securities matters, Gregg has also presented in
The National Trial Lawyers                                           educational forums, including at the Ethics and Transparency
2016 Top 100 Trial Lawyers™– South Carolina                          in Corporate America Webinar held by the National Association
Super Lawyers®                                                       of State Treasurers.
2012–2013 South Carolina Super Lawyers Rising Stars list
Personal injury products: plaintiff; Class action/mass torts:        PUBLISHED WORKS:
plaintiff                                                            Gregg is a published author on corporate governance and
                                                                     accountability issues, having written significant portions of the
ASSOCIATIONS:                                                        treatise Shareholder Activism Handbook (Aspen Publishers,
American Association for Justice, former New Lawyers Division        November 2005), as well as several other articles of interest to
Board of Governors member                                            institutional investors, including:
South Carolina Association for Justice, former Board of              • “In re Cox Communications: A Suggested Step in the Wrong
Governors member                                                       Direction” (Bank and Corporate Governance Law Reporter,
South Carolina Bar Association, Past Chairman – Torts and              September 2005)
Insurance Practice Section                                           • “Does Corporate Governance Matter to Investment Returns?”
Charleston Bar Association                                             (Corporate Accountability Report, September 23, 2005)
Public Justice Foundation                                            • “In re Walt Disney Co. Deriv. Litig. and the Duty of Good
                                                                       Faith under Delaware Corporate Law” (Bank and Corporate
                                                                       Governance Law Reporter, September 2006)
Gregg S. Levin
                                                                     • “Proxy Access Takes Center Stage: The Second Circuit’s
LICENSED IN: DC, MA, SC                                                Decision in American Federation of State County and
ADMITTED TO PRACTICE BEFORE:                                           Municipal Employees, Employees Pension Plan v. American
U.S. Court of Appeals for the First, Second, Third, Fourth, Fifth,     International Group, Inc.” (Bloomberg Law Reports, February
Ninth and Eleventh Circuits                                            5, 2007)
U.S. District Court for the District of Colorado, District of        • “Investor Litigation in the U.S. -- The System is Working”
Massachusetts, and the Eastern District of Michigan                    (Securities Reform Act Litigation Reporter, February 2007)
EDUCATION:
J.D., Vanderbilt University School of Law, 1987                      AWARDS AND ACCOLADES:
B.A. magna cum laude, University of Rochester, 1984                  Lawdragon
With more than three decades of legal experience, Gregg Levin        2019 Lawdragon 500 Plaintiff Financial Lawyers
represents domestic and foreign institutional investors and union
pension funds in corporate governance, directorial misconduct
and securities fraud matters. His investigative, research and
writing skills have supported Motley Rice as lead or co-lead
counsel in numerous securities and shareholder derivative
cases against Dell, Inc., UBS AG and Cintas Corporation. Gregg
manages complaint and brief writing for class action deal cases,
shareholder derivative suits and securities fraud class actions.
Prior to joining Motley Rice, Gregg was an associate with Grant
& Eisenhofer in Delaware, where he represented institutional
investors in securities fraud actions and shareholder derivative




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Joshua Littlejohn                                                         AWARDS AND ACCOLADES:
                                                                          Lawdragon
LICENSED IN: SC
                                                                          2019 Lawdragon 500 Plaintiff Financial Lawyers
ADMITTED TO PRACTICE BEFORE:
U.S. Court of Appeals for the Third and Fourth Circuits; U.S.             Super Lawyers®
District Court for the District of Colorado, District of South            2013–2017 South Carolina Super lawyers Rising Star list
Carolina                                                                  Securities litigation; Class action/mass torts; General litigation
EDUCATION:
J.D., Charleston School of Law, 2007                                      ASSOCIATIONS:
B.A., University of North Carolina at Asheville, 1999                     American Bar Association
With a broad base of experience in complex litigation—including           South Carolina Association for Justice
securities fraud, corporate governance, whistleblower cases
under Dodd-Frank and the False Claims Act, and catastrophic               Mimi Y. Liu
injury cases—Josh Littlejohn plays a key role on the Motley Rice
                                                                          LICENSED IN: DC, NY
securities litigation team, particularly in cases involving healthcare.
                                                                          ADMITTED TO PRACTICE BEFORE:
Josh represents public pension funds, unions and institutional            U.S. Supreme Court; U.S. Court of Appeals for the Sixth,
investors in both federal and state courts. He also represents            Eighth and Ninth Circuits; U.S. District Court for the District of
people with catastrophic injuries and corporate whistleblowers.           Columbia
Josh works directly with clients and has been involved in all             EDUCATION:
aspects of the litigation process, including case evaluation,             J.D. cum laude, Harvard Law School, 1999
fact and expert discovery, resolution and trial.                          B.Com. with honors, University of Alberta, 1996
Throughout his career Josh has been involved in numerous                  Mimi Liu protects public resources and interests through
complex securities matters including litigation against                   investigations and litigation filed for state attorneys general,
3M Corporation; MetLife Inc.; Alexion Pharmaceuticals;                    governments, and other public entities.
Wells Fargo & Company; 3D Systems Corporation; St. Jude                   Mimi plays a leading role in representing states in litigation
Medical, Inc.; Omnicare; Pharmacia Corporation and NPS                    against the manufacturers of opioids alleging deceptive
Pharmaceuticals. Currently, Josh is one of the lead lawyers               marketing and over-distribution of opioids.
in in the groundbreaking securities fraud litigation against
                                                                          Prior to joining Motley Rice, Mimi represented public clients
NASDAQ and the New York Stock Exchange, among other
                                                                          in consumer protection and civil enforcement matters at a
defendants, related to high frequency trading or “HFT.” This
                                                                          law firm in D.C. In litigation filed for the Mississippi Attorney
matter is currently in discovery in the U.S. District Court for the
                                                                          General, she investigated national credit bureaus accused of
Southern District of New York. Along with other Motley Rice
                                                                          violating state and federal laws by failing to maintain accurate
lawyers, Josh was South Carolina liaison counsel in a securities
                                                                          credit files, ultimately recovering more than $7 million* in relief
fraud class action that settled in 2020 filed by investors against
                                                                          and other consumer benefits.
SCANA Corporation over its failed nuclear reactor project. Josh
regularly reviews and analyzes potential securities fraud class           She litigated claims of deceptive collection practices regarding
action, shareholder derivative, and SEC whistleblower matters             consumer credit, auto loan and student loan debt, resulting in
on behalf of our clients and the firm.                                    $9 million in relief and statewide injunctive relief in Mississippi.
                                                                          Mimi previously represented the New Hampshire Attorney
In addition to securities matters, Josh is a leading member of the
                                                                          General in an investigation alleging deceptive marketing of
team representing former Greer Laboratories, Inc. corporate
                                                                          highly addictive opioid drugs, recovering millions of dollars in
insiders who allege that Greer violated the False Claims Act
                                                                          relief for New Hampshire.
by causing healthcare providers to seek reimbursement from
Medicare and Medicaid for unlicensed biologic drugs. This                 She also represents state attorneys general litigating for
matter is pending before the U.S. Court of Appeals for the                consumers alleging harm or economic loss due to deceptive
Fourth Circuit.                                                           marketing of defective Takata airbags, the largest auto-related
                                                                          recall in U.S. history. Mimi also represents a state attorney general
Aside from various securities and whistleblower matters, Josh
                                                                          litigating against a large auto lender for alleged unfair and
was recently part of the Motley Rice negotiating team that
                                                                          deceptive practices toward subprime consumers and, separately,
helped secure a resolution with a major U.S. auto manufacturer
                                                                          against a medical device manufacturer for unfair and deceptive
on behalf of Takata airbag victims. Early in his career at Motley
                                                                          practices in the sale and marketing of surgical mesh products.
Rice, Josh worked on discovery in mass tort litigation against
large drug manufacturers.                                                 In addition, Mimi advocated for constitutional civil rights as a
                                                                          senior lawyer for Planned Parenthood Federation of America
                                                                          from 2004 to 2012, arguing cases before numerous state and
                                                                          federal trial and appeals courts.




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During her studies at Harvard Law School, Mimi served as                  majority of the ruling and remanded the case to the Santa Clara
executive editor of the Human Rights Journal and co-authored              Superior Court to decide how much defendants should pay
the treatise Gender Asylum Law. Following law school, Mimi                to establish an abatement fund to clear toxic lead paint from
clerked for the Court of Appeals of Alberta and for the Honorable         homes in plaintiffs’ jurisdictions that were constructed prior to
Justice Claire L’Heureux-Dubé of the Supreme Court of Canada.             1951. The U.S. Supreme Court declined to review the decision
                                                                          in 2018, effectively exhausting defense appeals. The SCOTUS
Active in the legal community, Mimi serves on the board of
                                                                          decision ensured that an abatement fund will be established
directors for Public Justice, a national nonprofit legal advocacy
                                                                          to help protect the health and safety of thousands of California
organization that pursues high impact lawsuits to combat social
                                                                          children. The case is The People of California v. ConAgra
and economic injustice, protect the Earth’s sustainability, and
                                                                          Grocery Products Company et al.
challenge predatory corporate conduct and government abuses.
                                                                          In 2005, Bob helped successfully argue the precedent-setting
AWARDS AND ACCOLADES:                                                     case Thomas v. Mallett 285 Wis 2d 236 as part of the Motley
Lawdragon                                                                 Rice trial team applying risk contribution theory to the lead
2019–2020 Lawdragon 500 Plaintiff Financial Lawyers                       paint industry before the Wisconsin Supreme Court. With more
                                                                          than two decades of experience in asbestos litigation, Bob
ASSOCIATIONS:                                                             also represents victims of asbestos exposure suffering from
Public Justice, Board Member                                              mesothelioma and other asbestos-related diseases. He has
                                                                          personally represented hundreds of asbestos victims in Rhode
Robert J. McConnell                                                       Island and assisted on large consolidation trials in several
LICENSED IN: MA, RI                                                       states including Maryland, Mississippi and West Virginia.
ADMITTED TO PRACTICE BEFORE:                                              After beginning his career as a teacher, Bob earned a law degree
U.S. District Court for the District of Massachusetts, District of        and clerked for the Honorable Donald F. Shea of the Rhode
Rhode Island                                                              Island Supreme Court. He joined Motley Rice attorneys on the
EDUCATION:                                                                tobacco litigation team representing multiple state attorneys
J.D., Suffolk University School of Law, 1987                              general, which resulted in the historic Master Settlement
A.B., Brown University, 1979                                              Agreement between the states and the tobacco industry.
Bob McConnell’s practice concentrates on lead pigment
                                                                          Highly active in the Rhode Island community, Bob serves on the
litigation, childhood lead poisoning cases, asbestos and
                                                                          board of The Institute for the Study and Practice of Nonviolence,
other toxic environmental litigation. He represents victims
                                                                          an organization that seeks to promote nonviolence among young
seeking corporate accountability as a result of personal injury,
                                                                          people in Rhode Island’s inner cities. He also is on the board of
property damage and economic loss as a result of negligent
                                                                          the Pro Bono Collaborative at Roger Williams Law School.
environmental practices.
                                                                          Bob frequently speaks about lead paint litigation to local and
Bob was a member of the trial team in the landmark trial
                                                                          regional groups such as the Rhode Island Bar Association
on behalf of the state of Rhode Island against corporate
                                                                          and the Northeast Conference of Attorneys General. He is
defendants from the lead paint industry. He secured the largest
                                                                          recognized as an AV® rated attorney by Martindale-Hubbell®.
lead paint poisoning settlement in Rhode Island on behalf of
                                                                          The Roger Williams University School of Law also honored him
a child and continues to represent children injured by lead
                                                                          by naming him a Champion for Justice for 2019.
poisoning against property owners, governmental agencies
and lead pigment companies. He also played a leading role                 AWARDS AND ACCOLADES:
in a statewide lobbying effort to defeat legislation that would           Best Lawyers®
have denied lead-poisoned children and their families the right           2009–2021 Mass tort litigation/class actions – plaintiffs
to seek justice. Through testimony, analysis and grassroots
outreach, he helped the Rhode Island legislature pass a bill              Rhode Island Super Lawyers® lists
helping to prevent childhood lead poisoning without infringing            2008–2020 Plaintiff: Class action/mass torts; Environmental
on victims’ rights.                                                       litigation; Personal injury: general

In addition to his work in Rhode Island, Bob also played a key            Benchmark Plaintiff
role in historic lead litigation filed in California for ten cities and   2012–2014 Rhode Island “Litigation Star”: environmental and
counties, including San Francisco, Santa Clara, Los Angeles               toxic tort
and San Diego. In January 2014, the Court found that lead paint           The Legal 500 United States
companies Sherwin-Williams Company, NL Industries, Inc., and              2015 Mass tort and class action: plaintiff representation –
ConAgra Grocery Products Company created a public nuisance                toxic tort
by concealing the dangers of lead and placed families at risk
by promoting the use of toxic paint in homes. The California              ASSOCIATIONS:
Court of Appeals, 6th appellate District, later affirmed the              American Association for Justice
                                                                          American Bar Association



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Donald A. Migliori                                                      9/11 aviation security litigation. Additionally, he manages anti-
                                                                        terrorism litigation associated with the 9/11 terrorist attacks as a
LICENSED IN: MA, MN, NY, RI, SC
                                                                        lead attorney of the 9/11 Families United to Bankrupt Terrorism,
ADMITTED TO PRACTICE BEFORE:
                                                                        a groundbreaking case designed to bankrupt the financiers of
U.S. Court of Appeals for the First, Fourth, and Eleventh
                                                                        al Qaeda.
Circuits, U.S. District Court for the District of Rhode Island,
District of Massachusetts, and Northern, Southern and Eastern           Don contributed his experience in connection with the
Districts of New York                                                   commencement of and strategy for shareholder derivative
EDUCATION:                                                              litigation brought on behalf Chiquita Brands International,
M.A./J.D., Syracuse University, 1993                                    Inc., alleging the defendants breached their fiduciary duties
A.B., Brown University, 1988                                            by paying bribes to terrorist organizations in violation of U.S.
Building upon his experience in complex asbestos cases, the             and Columbian law. He also served as trial counsel for PACE
historic tobacco lawsuits and 9/11 litigation, Don Migliori is a        Industry Union-Management Pension Fund in a securities case
multifaceted litigator who can navigate both the courtroom              against Forest Laboratories, Inc., and was involved in the initial
and the negotiating table. He represents victims of defective           liability discovery and trial strategy in an ongoing securities
medical devices and drugs, occupational diseases, terrorism,            fraud class action involving Household International, Inc.
aviation disasters, antitrust, and securities and consumer fraud        Don began working with Motley Rice attorneys in 1997 on behalf
in mass torts and other cutting-edge litigation that spans the          of the State Attorneys General in the historic lawsuit against
country.                                                                Big Tobacco, resulting in the largest civil settlement in U.S.
Don serves in leadership roles for a number of multidistrict            history. He tried several noteworthy asbestos cases on behalf
litigations, including being a key member of Motley Rice’s              of mesothelioma victims, including the state of Indiana’s first
team that represents dozens of cities, towns, counties and              contractor liability verdict and first premises liability verdict
townships in the National Prescription Opiate MDL against               for wrongful exposure to asbestos. He continues to manage
opioid manufacturers and distributors. He also represents               asbestos cases and actively litigates mesothelioma lawsuits
states in similarly filed litigation. He played a significant role in   and individual tobacco cases in the courtroom.
negotiations on behalf of tens of thousands of women allegedly          Don is a frequent speaker at legal seminars across the
harmed by pelvic mesh/sling products and served as co-liaison           country and has appeared on numerous television and radio
counsel in the N.J. Bard pelvic mesh litigation in Atlantic County.     programs, as well as in print media to address legal issues
Hundreds of cases have been filed in federal and state courts           related to terrorist financing, aviation security, class action
against multiple defendants.                                            litigation, premises liability and defective medical devices. A
He is also co-lead counsel for In re Ethicon Physiomesh                 “Distinguished Practitioner in Residence” at Roger Williams
Flexible Composite Hernia Mesh Products Liability Litigation,           University School of Law for the 2010-2011 academic year, Don
a member of the Plaintiffs’ Steering Committee for In re Bard           taught mass torts as an adjunct professor for more than 10
IVC Filters Products Liability Litigation, as well as the Depuy®        years. Don is an AV® rated attorney by Martindale-Hubbell®.
Orthopaedics, Inc. ASR™ and Pinnacle® Hip Implant MDLs.
Don has litigated against both Ethicon, a Johnson & Johnson             AWARDS AND ACCOLADES:
subsidiary, and C.R. Bard previously in pelvic mesh litigation          Best Lawyers®
and also against C.R. Bard in the Composix® Kugel® hernia mesh          2020 “Lawyer of the Year” Charleston, SC
multidistrict litigation, In re Kugel Mesh Hernia Patch Products        Mass tort litigation/class actions- plaintiffs
Liability Litigation, the first MDL before the federal court of         2011–2021 Mass tort litigation/class actions- plaintiffs
Rhode Island. Don also serves as co-lead plaintiffs’ counsel and        Super Lawyers® lists
liaison counsel in the federal MDL, and as liaison counsel for          2018–2021 South Carolina Super Lawyers: Class action/
the Composix® Kugel® Mesh lawsuits consolidated in Rhode                mass torts; Personal Injury – products: plaintiff; Aviation and
Island state court on behalf of thousands of individuals alleging       aerospace
injury by the hernia repair patch.                                      2009–2017 Rhode Island Super Lawyers
Don played a central role in the extensive discovery, mediations        2012–2013 Top 10 Rhode Island Super Lawyers lists
and settlements of more than 50 cases of 9/11 aviation liability        The National Trial Lawyers
and damages against numerous defendants. He represented                 2010–present Top 100 Trial Lawyers™: Rhode Island
families of the victims of the September 11, 2001, attacks who
                                                                        Rhode Island Lawyers Weekly
opted out of the Victim Compensation Fund to seek greater
                                                                        2020 Leader in the Law
answers, accountability and recourse, and served as liaison
                                                                        2011 Lawyer of the Year
counsel for all wrongful death and personal injury cases in the




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Lawdragon                                                             Bill often acts as an arbitrator and mediator both privately and
2018–2021 Lawdragon 500                                               through the American Arbitration Association. He is a frequent
2019–2020 Lawdragon 500 Plaintiff Consumer Lawyers                    speaker on legal matters, including class actions. Named one
2019–2020 Lawdragon 500 Plaintiff Financial Lawyers                   of 11 lawyers “who made a difference” by The Connecticut
2010 Lawdragon 3,000                                                  Law Tribune, Bill is recognized as an AV® rated attorney by
Massachusetts Lawyers Weekly                                          Martindale-Hubbell®.
2011 Lawyers of the Year                                              Bill has served the Hartford community with past involvements
Benchmark Plaintiff                                                   including the Greater Hartford Legal Assistance Foundation,
2012–2014 Rhode Island “Litigation Star”: human rights and            Lawyers for Children America, and as President of the
product liability                                                     Connecticut Bar Foundation. For more than twenty years,
                                                                      Bill served as a Director and Chairman of Protein Sciences
Providence Business News                                              Corporation, a biopharmaceutical company in Meriden,
2005 Forty Under 40                                                   Connecticut.
ASSOCIATIONS:                                                         AWARDS AND ACCOLADES:
Law360 Product Liability Editorial Advisory Board, 2019, 2021         Best Lawyers®
American Association for Justice, Board of Governors; former          2013, 2015, 2017, 2019 Hartford, Conn. “Lawyer of the Year”:
Executive Committee member                                            Litigation–Banking and Finance
American Bar Association                                              2005–2021 Litigation–Banking and finance, mergers and
Rhode Island Association for Justice, former President                acquisitions, securities
The Fellows of the American Bar Foundation
                                                                      Lawdragon
                                                                      2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
William H. Narwold
                                                                      Super Lawyers®
LICENSED IN: CT, DC, NY, SC                                           2009–2020 Connecticut Super Lawyers and New England
ADMITTED TO PRACTICE BEFORE:                                          Super Lawyers® lists
U.S. Supreme Court, U.S. Court of Appeals for the First,              Securities litigation; Class action/mass torts
Second, Third, Fourth, Fifth, Sixth, Eighth, Ninth, Tenth,
Eleventh, D.C., and Federal Circuits, U.S. District Court for the     Connecticut Bar Foundation
District of Connecticut, Eastern District of Michigan, Eastern        2008 Legal Services Leadership Award
and Southern Districts of New York, District of South Carolina
EDUCATION:                                                            ASSOCIATIONS:
J.D. cum laude, University of Connecticut School of Law, 1979         American Bar Association
B.A., Colby College, 1974                                             Connecticut Bar Foundation, Past President
Bill Narwold has advocated for corporate accountability               Taxpayers Against Fraud
and fiduciary responsibility for nearly 40 years, representing        University of Connecticut Law School Foundation, past Board
consumers, governmental entities, unions and institutional            of Trustees member
investors. He litigates complex securities fraud, shareholder         For full Super Lawyers selection methodology visit: www.
rights and consumer fraud lawsuits, as well as matters involving      superlawyers.com/about/selection_process.html
unfair trade practices, antitrust violations and whistleblower/       For current year CT data visit: www.superlawyers.com/
qui tam claims.                                                       connecticut/selection_details.html
Bill leads Motley Rice’s securities and consumer fraud litigation
teams and False Claim Act practice. He is also active in the firm’s
appellate practice. His experience includes being involved in
more than 200 appeals before the U.S. Supreme Court, U.S.
Courts of Appeal and multiple state courts.
Prior to joining Motley Rice in 2004, Bill directed corporate,
securities, financial, and other complex litigation on behalf
of private and commercial clients for 25 years at Cummings
& Lockwood in Hartford, Connecticut, including 10 years as
managing partner. Prior to his work in private practice, he
served as a law clerk for the Honorable Warren W. Eginton of
the U.S. District Court, District of Connecticut from 1979-1981.




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William S. Norton                                                   MERGER AND ACQUISITION LITIGATION
                                                                    Bill has represented institutional shareholders in corporate
LICENSED IN: MA, NY, SC
                                                                    M&A litigation, including:
ADMITTED TO PRACTICE BEFORE:
U.S. Supreme Court; U.S. Court of Appeals for the First,            • In re Allion Healthcare, Inc. Shareholders Litigation ($4 million
Second, Third and Fourth Circuits; U.S. District Court for the        payment to shareholders*)
District of Colorado, Northern District of Illinois, District of    • In re RehabCare Group, Inc., Shareholders Litigation ($2.5
Massachusetts, Eastern and Southern Districts of New York,            million payment, modification of merger agreement, and
and District of South Carolina                                        additional disclosures to shareholders*)
EDUCATION:                                                          • In re Atheros Communications Shareholder Litigation
J.D., Boston University School of Law, 2004                           (preliminary injunction delaying shareholder vote and
B.A./B.S. magna cum laude, University of South Carolina, 2001         requiring additional disclosures to shareholders in $3.1 billion
Bill Norton litigates securities fraud, corporate governance,         merger*)
False Claims Act, SEC whistleblower and other complex class         • Maric Capital Master Fund, Ltd. v. PLATO Learning, Inc.
action, consumer, and commercial matters. Bill has represented        (preliminary injunction requiring additional disclosures to
institutional and individual investors in securities fraud and        shareholders in $143 million private-equity buyout*)
shareholders actions before federal, state, and appellate courts
                                                                    OTHER COMMERCIAL, CONSUMER FRAUD, AND
throughout the country. He has also represented whistleblowers
                                                                    WHISTLEBLOWER MATTERS
before the U.S. Securities and Exchange Commission through
                                                                    Bill has represented clients in a variety of commercial, consumer
the Dodd-Frank Whistleblower Program and qui tam relators in
                                                                    fraud, and whistleblower matters, including:
actions under the False Claims Act.
                                                                    • Satellite retailers in class action against EchoStar Corporation
SECURITIES FRAUD LITIGATION                                           ($83 million recovery*)
Bill represents institutional investors as a member of the lead     • Municipal bondholders in class action concerning alleged
counsel teams in litigation involving Alexion Pharmaceuticals,        Ponzi scheme ($7.8 million recovery*)
Inc., Intel Corporation, Qualcomm Inc., and Riot Blockchain, Inc.   • A qui tam whistleblower in appeal, resulting in reinstatement
His previous securities fraud matters include:                        of claim for employment retaliation*
• In re SCANA Corporation Securities Litigation ($192.5 million     • Consumers in class action against DirecTV regarding early
  recovery as Liaison Counsel*)                                       cancellation fees
• Bennett v. Sprint Nextel Corp. ($131 million recovery*)           • German bank in litigation concerning collateralized debt
                                                                      obligations
• City of Brockton Retirement System v. Avon Products, Inc. ($62
  million recovery*)                                                • Investors in actions concerning variable life insurance
                                                                      policies funneled to the Madoff Ponzi scheme
• Hill v. State Street Corporation ($60 million recovery*)
• City of Sterling Heights General Employees’ Retirement            Before joining Motley Rice, Bill practiced securities and
  System v. Hospira, Inc. ($60 million recovery*)                   commercial litigation in the New York office of an international
                                                                    law firm. In law school, Bill served as an Editor of the Boston
• In re Hewlett-Packard Company Securities Litigation ($57
  million recovery*)                                                University Law Review and was a G. Joseph Tauro Distinguished
                                                                    Scholar. He worked as a law clerk in the United States Attorney’s
• In re Medtronic, Inc. Securities Litigation ($43 million
  recovery*)                                                        Office for the District of Massachusetts, represented asylum
                                                                    seekers at Greater Boston Legal Services, and studied law at
• Hatamian v. Advanced Micro Devices, Inc. ($29.5 million
                                                                    the University of Oxford. Before law school, Bill worked for the
  recovery*)
                                                                    United States Attorney’s Office for the District of South Carolina
• Ross v. Career Education Corporation ($27.5 million               and volunteered with the Neighborhood Legal Assistance
  recovery*)
                                                                    Program of Charleston. He graduated Phi Beta Kappa from the
SHAREHOLDER DERIVATIVE LITIGATION                                   University of South Carolina Honors College. Bill is recognized
Bill has represented shareholders in derivative actions,            as an AV®-rated attorney by Martindale-Hubbell®.
including:
                                                                    AWARDS AND ACCOLADES:
• Manville Personal Injury Settlement Trust v. Gemunder ($16.7      Lawdragon
  million payment and significant corporate governance              2019 Lawdragon 500 Plaintiff Financial Lawyers
  reforms*)
• In re Walgreen Co. Derivative Litigation (corporate               Super Lawyers®
  governance reforms concerning compliance with Controlled          2013–2019 South Carolina Super Lawyers Rising Stars list
  Substances Act*)                                                  Securities litigation; Class action/mass torts; General litigation




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ASSOCIATIONS:                                                        by Martindale-Hubbell®. He serves on the Board of Directors
Federal Bar Association                                              for the Charleston chapter of the American Lung Association,
American Bar Association                                             as well as the Dee Norton Child Advocacy Center.
American Association for Justice
New York State Bar Association                                       AWARDS AND ACCOLADES:
South Carolina Bar Association                                       Lawdragon
Charleston County Bar Association                                    2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
                                                                     South Carolina Super Lawyers® Rising Stars list
Lance Oliver                                                         2013–2018 Securities litigation; Class action/mass torts
LICENSED IN: AL, DC, FL, SC                                          The National Trial Lawyers
ADMITTED TO PRACTICE BEFORE:                                         2016 Top 100 Trial Lawyers™ South Carolina:
U.S. Court of Appeals for the District of Columbia, Fifth and
the Eleventh Circuits; U.S. District Court for the District of       ASSOCIATIONS:
Columbia, and the Middle and Southern Districts of Florida           American Bar Association
EDUCATION:
J.D., Duke University School of Law, 2004                            Meghan S. B. Oliver
B.A., Samford University, 2001                                       LICENSED IN: DC, SC, VA
Lance Oliver is a trial lawyer who litigates class actions, mass     ADMITTED TO PRACTICE BEFORE:
torts, and other complex matters. He has experience with all         U.S. Court of Appeals for the Federal Circuit, U.S. District Court
phases of litigation from filing the complaint, trying the case,     for the District of South Carolina
and pursuing appeals. His practice focuses on securities and         EDUCATION:
consumer fraud class actions, tobacco litigation, and other          J.D., University of Virginia School of Law, 2004
defective products.                                                  B.A. with distinction, University of Virginia, 2000
Lance has recently acted as lead trial counsel in a number of        Meghan Oliver’s practice focuses on complex litigation and
Engle progeny cases in Florida, representing smokers and their       class actions, including work on securities fraud cases, general
families against tobacco manufacturers. He argued a successful       commercial litigation, and consumer fraud litigation.
appeal to the Fourth District Court of Appeals in Florida,           She is actively involved in various class actions, including several
securing a verdict for a smoker’s widow in a wrongful death suit     against health insurers for drug and equipment overcharges,
against tobacco giants Philip Morris and R.J. Reynolds in Philip     and one alleging that the Administrative Office of the U.S.
Morris USA Inc. et al. v. Marchese. He also served as counsel        Courts charges more for PACER services than is authorized by
in Berger v. Philip Morris USA Inc., which resulted in a verdict     statute (Nat’l Veterans Legal Services Program v. United States,
for a client who fell victim at a young age to the manufacturer’s    Case No. 16-745-ESH). She also represents large public pension
marketing campaigns targeting children.                              funds, unions, and institutional investors in securities fraud
Lance has also devoted a substantial amount of time to litigating    class actions, including In re Twitter, Inc. Securities Litigation,
securities fraud class actions, and has served as co-lead            No. 3:16-cv-05315-JST-SK and In re Qualcomm Inc. Securities
counsel for the class in many securities fraud cases including       Litigation, No. 17-CV-00121-JAH-WVG.
Alaska Electrical Pension Fund, et al. v. Pharmacia Corp., et al.,   Additionally, Meghan helps to lead litigation filed for a class
a securities fraud class action that resulted in a settlement for    consisting of more than a million tax return preparers alleging
plaintiffs. More recently, Lance selected the jury as co-trial       the IRS charged unauthorized user fees for the issuance and
counsel for the end-payor class in In re Solodyn (Minocycline        renewal of preparer tax identification numbers, (Steele v.
Hydrochloride) Antitrust Litigation, a pay-for-delay antitrust       United States, Case No. 1:14-cv-1523-RCL).
litigation.
                                                                     She has also worked on several antitrust matters in the past,
Prior to joining Motley Rice in 2007, Lance served as an associate   including In re North Sea Brent Crude Oil Futures Litigation, In
in the Washington, D.C., office of a national law firm, where he     re Libor-Based Financial Instruments Antitrust Litigation, and
worked on complex products liability litigation at both the trial    generic drug cases involving “reverse payment” agreements.
and appellate levels.
                                                                     Prior to joining Motley Rice, Meghan worked as a business
Lance is a member of the National Conference on Public               litigation and antitrust associate in Washington, D.C. There, she
Employee Retirement Systems (NCPERS) and the International           assisted in the trial of a multidistrict litigation antitrust case and
Foundation of Employee Benefit Plans (IFEBP). After graduating       assisted in multiple corporate internal investigations. She is a
from Duke Law School, he served as a law clerk to the Honorable      member of Phi Beta Kappa.
James Hughes Hancock of the U.S. District Court, Northern
District of Alabama. He is recognized as an AV® rated attorney       AWARDS AND ACCOLADES:
                                                                     Lawdragon
                                                                     2019–2020 Lawdragon 500 Plaintiff Financial Lawyers



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ASSOCIATIONS:                                                       Jonathan has worked on complex litigation against the lead
American Bar Association                                            paint industry on behalf of government entities in California,
                                                                    New York, Rhode Island and Wisconsin, as well as lead poisoning
Jonathan D. Orent                                                   cases for individual children and families against property
                                                                    owners. He also assists with discovery and trial preparation of
LICENSED IN: MA, RI, WI                                             the firm’s asbestos cases.
ADMITTED TO PRACTICE BEFORE:
U.S. District Court for the District of Massachusetts, District     Prior to joining Motley Rice in 2005, Jonathan served as a law
of Rhode Island, and the Eastern and Western Districts of           clerk with the Missouri State Public Defender Youth Advocacy
Wisconsin                                                           Unit and a legal intern for Senator Richard Durbin of Illinois.
EDUCATION:                                                          Recognized as an AV® rated attorney Martindale-Hubbell®,
J.D., Washington University School of Law, 2004                     he has made numerous presentations on a variety of legal
B.A., University of Rochester, 2001                                 matters involving medical device litigation and environmental
Jonathan Orent litigates for people alleging harm by defective      law. He serves on the Rhode Island Advisory Committee to the
medical devices and pharmaceutical drugs, including all             U.S. Commission on Civil Rights, a group whose mission is to
aspects of discovery and expert development. He represents          address key community issues and discrimination matters, such
women suffering from painful side effects associated with           as foreclosure scams and the disparate treatment of minority
pelvic mesh/sling products, hernia patients harmed by mesh          youth, through research and initiatives. Jonathan is President
repairs, as well as military service members suffering from         of AG Bell Rhode Island, as well as a member of the Rhode
hearing loss due to allegedly defective earplugs.                   Island Early Intervention Work Group, a group that reviews
                                                                    early intervention services provided to deaf or hard of hearing
Jonathan was appointed lead counsel of hernia mesh litigation       children between the ages of 0-3 in Rhode Island.
In re Atrium Medical Corp. C-QUR Mesh Products Liability
Litigation, MDL #2753. He serves as co-lead and co-liaison          AWARDS AND ACCOLADES:
counsel in the largest consolidated hernia mesh litigation          Rhode Island Super Lawyers® list
in the country, In re Davol/C.R. Bard Hernia Mesh Multi-Case        2018–2020 Environmental Litigation; Personal Injury – Product:
Management Coordination. Jonathan previously served as co-          Plaintiff
liaison counsel in the In re Bard Litigation in New Jersey state
                                                                    Rhode Island Super Lawyers® Rising Stars list
court and as state court liaison counsel in Massachusetts. He
                                                                    2014–2017 Business litigation; Class action/mass torts;
is a member of the litigation team that successfully tried the
                                                                    Appellate
Barba case to a $100 million verdict in Delaware (later reduced
by appeal to $10 million). Jonathan also led the successful         ASSOCIATIONS:
appeal to the Massachusetts Court of Appeals, which allowed         American Association for Justice
key evidence relating to Boston Scientific’s alleged knowledge      American Bar Association
of the potential harm caused by its products. Jonathan is co-       Rhode Island Association for Justice, Board of Governors
chair of the AAJ Hernia Mesh Litigation Group.
In addition to his leadership in hernia mesh litigation, Jonathan   Michael J. Pendell
is also a member of the Science & Experts Subcommittee for
multidistrict litigation filed for U.S. troops who served in Iraq   LICENSED IN: CT, NY
and Afghanistan between 2003 and 2015 and suffered hearing          ADMITTED TO PRACTICE BEFORE:
loss or tinnitus after using allegedly defective earplugs           U.S. District Court for the District of Connecticut, Southern
manufactured by 3M and its predecessor Aearo Technologies.          and Eastern Districts of New York
                                                                    EDUCATION:
Jonathan also represents communities and people facing              J.D., summa cum laude, Albany Law School, 2007
personal injury, property damage and economic loss as a result      B.A., cum laude, Emerson College, 2000
of negligence, environmental hazards or groundwater and             Michael Pendell focuses his practice on representing people
soil contamination. In 2008, he litigated against a large New       affected by corporate wrongdoing, including whistleblowers,
England utility company on behalf of more than 100 Tiverton,        and people harmed by tobacco and dangerous pelvic mesh
R.I., residents who claimed they suffered damages resulting         devices. He also represents pension fund trustees and other
from environmental contamination of their residential property.     institutional investors in securities, consumer fraud, and other
More recently, Jonathan played a role in the settlement of          complex class actions.
contamination litigation between members of the Tallevast,
Fla., community and a major aerospace defense contractor            Michael has been involved in the firm’s representation of
involving property damage and emotional distress claims             personal injury clients, including representing people allegedly
resulting from the alleged release of trichloroethylene             harmed by tobacco products and thousands alleging harm by
(TCE), perchloroethylene (PCE) and other chemicals into the         dangerous medical devices. He serves as trial counsel in the
groundwater.                                                        Engle-progeny litigation pending in Florida for smokers and




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families of deceased smokers against tobacco manufacturers.          ASSOCIATIONS:
In transvaginal mesh litigation, he represents women implanted       American Association for Justice
with Ethicon Gynecare Prolift transvaginal mesh devices and          Connecticut Bar Association
who claim serious injuries and complications from the devices.       New York State Bar Association
Michael also has experience representing institutional and           * Prior results do not guarantee a similar outcome. For
individual investors in claims involving common law fraud            full Super Lawyers selection methodology visit: www.
pursuant to state securities laws. He played a central role on       superlawyers.com/about/selection_process.html
the litigation team that obtained a seven-figure arbitration         For CT-specific methodology visit: www.superlawyers.com/
award in a case involving secondary liability for an investment      connecticut/selection_details.html
advisor’s conduct under the Uniform Securities Act. Michael
also represents clients in complex commercial cases regarding
claims of fraud, breach of contract, and tortuous interference,
                                                                     Michael G. Rousseau
as well as representing whistleblowers in multiple cases             LICENSED IN: CA, MA, RI, WI
involving the False Claims Act, including litigation filed against   EDUCATION:
Afognak Native Corp., alleging regulatory violations related to      J.D., Pepperdine University, 1999
the Small Business Administration.                                   B.S., Bentley College, 1996
                                                                     Michael Rousseau focuses his practice on representing people
Michael, along with other Motley Rice attorneys, represented
                                                                     harmed by defective medical devices, as well as workers and
a union pension fund as co-lead counsel in a securities fraud
                                                                     families impacted by mesothelioma and other asbestos-related
class action to recoup losses against a telecom provider
                                                                     lung diseases.
that allegedly provided false information regarding its
financial results, causing artificially inflated stock prices that   Most recently, Michael has played a key role in assisting
subsequently plummeted when the truth was made known. The            thousands of women harmed by defective transvaginal mesh,
settlement is pending court approval.                                including working on discovery and settlements. Previously, he
                                                                     spent five years heavily involved in Composix® Kugel® Mesh
In addition to his whistleblower and securities casework,
                                                                     litigation, including defendant liability, discovery and trials. He
Michael is also a part of the firm’s team that represents
                                                                     is also a member of the legal team that successfully advocated
dozens of governmental entities, including states, cities,
                                                                     for an extension of the risk contribution theory of liability in
towns, counties and townships in litigation against several
                                                                     Wisconsin in 2005, enabling lead-poisoned children and families
pharmaceutical drug manufacturers and distributors for
                                                                     to seek compensation from former manufacturers of lead paint.
the alleged deceptive marketing and distribution of highly
addictive opioid prescription drugs.                                 As a law student, Michael provided volunteer representation
                                                                     to autistic children to help them obtain special education
Prior to joining Motley Rice. Michael served as an associate with
                                                                     services and physical therapy pursuant to the Individuals with
a Connecticut-based law firm, where he first gained experience
                                                                     Disabilities Education Act (IDEA).
in both federal and state courts in such areas as commercial
and construction litigation, media and administrative law,           ASSOCIATIONS:
personal injury defense and labor and employment matters. He         American Bar Association
previously taught business law to BA and MBA candidates as an
adjunct professor at Albertus Magnus College.
Michael served as a legal intern for the Honorable Randolph F.
Treece of the U.S. District Court for the Northern District of New
York and as a law clerk for the Major Felony Unit of the Albany
County District Attorney’s Office. He served as the executive
editor for the New York State Bar Association Government Law
& Policy Journal and senior editor for the Albany Law Review,
which published his 2008 article entitled, “How Far is Too Far?
The Spending Clause, the Tenth Amendment, and the Education
State’s Battle Against Unfunded Mandates.”

AWARDS AND ACCOLADES:
Lawdragon
2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
Super Lawyers®
2013–2018 Connecticut Super Lawyers Rising Stars list
Securities litigation; Business litigation; Personal injury –
products: plaintiff




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Mary F. Schiavo                                                        the Federal Bureau of Investigation Academy. Her work earned
                                                                       her an appointment as the Assistant U.S. Secretary of Labor in
LICENSED IN: DC, FL, MD, MO, SC
                                                                       1989, where she led the Office of Labor Management Standards,
ADMITTED TO PRACTICE BEFORE:
                                                                       supervising union elections and investigations on election and
U.S. Supreme Court
                                                                       financial irregularities.
EDUCATION:
J.D., New York University School of Law, 1980 (Root-Tilden             A frequent on-air contributor or consultant for several networks,
Scholar)                                                               Mary has appeared on CNN, ABC, CBS, Fox News, NBC, BBC, the
M.A., The Ohio State University, 1977 (University Fellow)              History Channel and Discovery Channel. Named by Glamour
B.A. cum laude, Harvard University, 1976                               magazine as a 1997 Woman of the Year, 1987 Working Woman of
A CNN Analyst and former U.S. Department of Transportation             the Year and a Top Ten College Student in 1975, she has spoken
Inspector General, Mary Schiavo seeks accountability and               about aviation safety on 20/20, 60 Minutes, Good Morning
industry change from corporations, institutions and the                America, Larry King Live, Nancy Grace, Nightline, Oprah, The
government so that they may meet their obligation to protect           O’Reilly Factor, Today, and Your World with Neil Cavuto, among
the safety and security of the traveling public. With years of         others. Mary is the author of Flying Blind, Flying Safe, a New
experience in transportation litigation, Mary represents victims       York Times bestseller, and was featured in Time magazine for
and their families suffering from negligence of airline, automotive,   exposing the poor safety and security practices of the airlines
commercial trucking, motorcoach and rail companies.                    and the failures of the federal government to properly regulate
                                                                       the aviation industry. She contributed to Aviation Security
A leader of the firm’s aviation team, Mary has represented
                                                                       Management (Volume One, 2008) and Supply Chain Security
passengers and crew of most major U.S. air crashes, as well
                                                                       (Volumes One and Two, 2010).
as pilots and passengers on private or charter planes. She
represents passengers, pilots, flight attendants and select            Mary received her pilot’s license soon after her driver’s license,
owners and operators. Her experience with major, complex               and later completed private and commercial flight training
aviation litigation includes more than 50 cases on behalf of the       at The Ohio State University. She returned to The Ohio State
family members of the passengers and crew of all the planes            University as the McConnell Aviation Chair and professor from
hijacked on Sept. 11, 2001.                                            1998-2002 and as the Enarson Professor of Public Policy from
                                                                       1997-1998. She has also served as a practitioner in residence
Mary has held numerous government appointments under
                                                                       at the New York University School of Law, and is currently
three U.S. Presidents, including that of Inspector General of
                                                                       a member of the Board of Directors for the Lowcountry SC
the U.S. Department of Transportation from 1990 to 1996. Under
                                                                       chapter of the American Red Cross.
Mary’s direction, the agency investigated air safety, crimes
and disasters; secured more than 1,000 criminal convictions;           AWARDS AND ACCOLADES:
and exposed billions of dollars of fraud, waste and abuse of           Best Lawyers®
taxpayer money. She testified before Congress multiple times           2017 Charleston, S.C. “Lawyer of the Year”: Mass tort
on transportation safety, security, budgeting and infrastructure.      litigation/class actions – plaintiffs
In recognition of her work combating the use of bogus aircraft         2010–2021 Mass tort litigation/class actions – plaintiffs
parts worldwide, Mary was honored by Aviation Week with its
Aviation Laurel Award in 1992 and 1995 and was inducted into           National Law Journal
the Aviation Laurel Hall of Fame in 1997.                              2015 Outstanding Women Lawyers
As an Assistant U.S. Attorney early in her career, Mary litigated      Aviation Week
civil cases and prosecuted federal white-collar crimes, bank           1997 Inducted to the Aviation Laureates Hall of Fame
and securities fraud, mail and wire fraud, drug trafficking and        1992, 1995 Aviation Laurel Award in recognition of her work
counterfeiting. During her appointment, she also served on the         combating the use of bogus aircraft parts
U.S. Department of Justice’s Organized Crime and Racketeering          Benchmark Plaintiff
Strike Force, prosecuting high-profile criminal cases of bank          2014 Top 150 Women in Litigation list: South Carolina – mass
and securities fraud and related mail and wire fraud, including        tort, securities, aviation
a large investigation of a bank and securities fraud scheme that       2012–2014 South Carolina “Litigation Star”: mass tort,
resulted in the federal takeover of banks, savings and loans           securities, aviation
throughout the Midwest.                                                2012–2013 National “Litigation Star”: mass tort/product liability
In 1987, Mary was selected as a White House Fellow and
assigned to the U.S. Attorney General, where she worked as the         ASSOCIATIONS:
Special Assistant for Criminal Affairs. In this role, she reviewed     American Association for Justice
high security prosecutions, prepared Foreign Intelligence              American Bar Association, First Female Assembly Delegate,
Surveillance Act Requests, attended foreign legal summits with         House of Delegates 1986–1989
the Attorney General and worked on international prisoner and          International Society of Air Safety Investigators, affiliate member
evidence exchanges. During this time, she also taught trial            International Air and Transportation Safety Bar
technique at the U.S. Attorney General’s Advocacy Institute and        Association of Plaintiff Interstate Trucking Lawyers of America,
                                                                       Chair of Legislation


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Carmen S. Scott                                                       South Carolina Super Lawyers® list
                                                                      2015–2020 Personal injury plaintiff: products; Class action/
LICENSED IN: SC
                                                                      mass torts
EDUCATION:
J.D., University of South Carolina School of Law, 1999                Lawdragon
B.A., College of Charleston, 1996                                     2020 Lawdragon 500 Plaintiff Consumer Lawyers
With a focus on women’s products, Carmen Scott represents victims     South Carolina Super Lawyers® Rising Stars list
of harmful medical drugs and devices, medical negligence, and         2013–2014 Personal injury plaintiff: products; Class action/
corporate misconduct. She also advocates for human trafficking        mass torts
victims who seek to hold hotel franchises and other corporate
entities accountable for allegedly enabling trafficking for profit.   Charleston Regional Business Journal
                                                                      2013 Forty Under 40
Carmen helps lead Motley Rice’s mass tort pharmaceutical
litigation by managing complex personal injury and economic           ASSOCIATIONS:
recovery damages cases. She has been on the forefront of              American Association for Justice, Exchange Advisory
national litigation, including multidistrict litigation pending       Committee
in California for thousands of women who developed severe             American Bar Association
health complications allegedly caused by Bayer Corp.’s                South Carolina Association for Justice
contraceptive device Essure®. She previously litigated claims         South Carolina Women Lawyers Association
involving NuvaRing®, Yaz® and Yasmin® birth control drugs
and devices, and served on the Plaintiffs’ Steering Committee
in In re NuvaRing Products Liability Litigation. She also served
                                                                      Linda Singer
as co-lead counsel in In re Mirena Product Liability state court      LICENSED IN: DC, NY
consolidation in New Jersey, and as co-chair of the AAJ Mirena®       ADMITTED TO PRACTICE BEFORE:
IUD Litigation Group. She served on the Plaintiffs’ Steering          U.S. Supreme Court, U.S. Court of Appeals for the Ninth and
Committee for the multidistrict litigation In re Power Morcellator    D.C. Circuits, U.S. District Court for the District of Columbia
Products Liability Litigation and currently In re Johnson &           EDUCATION:
Johnson Talcum Powder Products Marketing, Sales Practices             J.D. magna cum laude, Harvard Law School, 1991
and Products Liability Litigation. Carmen also represents clients     B.A. magna cum laude, Harvard University, 1988
in a variety of drug product matters in state and federal courts,     Linda Singer represents governments, attorneys general and
including as a member of the PSC and Co-Chair of Leadership           other public entities in high-impact, high-stakes litigation and
Development Committee for In re: Zantac (Ranitidine) Products         investigations as head of the firm’s Public Client practice area.
Liability Litigation, pending in Florida.                             The former Attorney General of the District of Columbia, Linda’s
                                                                      knowledge and experience includes serving in the public, not-
 Prior to joining Motley Rice in 2005 and concentrating her efforts
                                                                      for-profit and private sectors.
on the medical practice area, Carmen represented numerous
clients in jury trials, working on products liability, personal       As AG, Linda gained invaluable insight into the duties of
injury and business cases for both plaintiffs and defendants.         attorneys general and how law firms with the right resources
                                                                      and experience can aid in supporting enforcement efforts.
Carmen is a frequent speaker on medical litigation and topics
                                                                      During her tenure in the District of Columbia, she developed and
involving women’s products, regularly lecturing at both legal
                                                                      expanded litigation aimed at protecting children, consumers,
seminars and public advocacy events on such issues as
                                                                      tenants and victims of domestic violence and gun violence
plaintiffs’ rights in medical negligence and dangerous drug
                                                                      while overseeing a staff of more than 350 lawyers in one of the
cases. She has been quoted in numerous national media outlets
                                                                      nation’s largest AG offices.
and publications, including The Associated Press, NBC News
New York, Marie Claire and MotherJones.                               In private practice, Linda has represented clients in numerous
                                                                      consumer protection and financial and health care fraud
A South Carolina native and active in the community, Carmen
                                                                      lawsuits that have resulted in significant settlements and
served as a College of Charleston alumni board member. She
                                                                      injunctive relief, including mortgage relief settlements for the
also proudly served on the Board of the South Carolina chapter
                                                                      states of Arizona and Nevada worth more than $1 billion.*
of Make-A-Wish for many years, fundraising and promoting the
organization’s mission, and continues to serve as a “wish-granter”    At the forefront of healthcare fraud litigation alleging deceptive
for families. She also formerly served as a board member for the      marketing practices and fraudulent distribution of highly
nonprofit organization Charleston County Friends of the Library.      addictive opioids, Linda serves as co-chair of the Manufacturer/
                                                                      Marketing Committee of the National Prescription Opiate MDL.
AWARDS AND ACCOLADES:                                                 She represents dozens of jurisdictions, including states, cities,
Best Lawyers®                                                         counties, and townships in suits against opioid manufacturers
2018–2021 Charleston, S.C. Personal injury litigation–plaintiffs;     and distributors. Linda continues to be lead outside counsel for
Product liability litigation–plaintiffs




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the City of Chicago and Santa Clara County Counsel, two of the          Elizabeth Smith
first jurisdictions to file in the current wave of opioid litigation.   LICENSED IN: DC, SC
The opioid epidemic has resulted in tens of thousands of                ADMITTED TO PRACTICE BEFORE:
deaths and imposed burdens on public entities’ resources and            U.S. Court of Appeals for the District of Columbia Circuit;
departments that must address the drug addiction, overdose,             U.S. District Court for the District of South Carolina, and the
and other related costs.                                                District of Columbia
She represents Hawaii and the U.S. Virgin Islands in litigation         EDUCATION:
alleging harm or economic loss due to deceptive marketing of            J.D. cum laude, University of South Carolina School of Law,
Takata airbags, the largest auto-related recall in U.S. history.        2000
Linda has also investigated major national credit bureaus               B.A., Furman University, 1995
accused of violating state and federal law by failing to maintain       Elizabeth represents clients injured by corporate wrongdoing,
accurate consumer credit files, and nursing homes accused               with an emphasis on anti-terrorism, human rights, tobacco,
of defrauding public payors and consumers by failing to                 and public client litigation. Her current practice includes
maintain enough staff to ensure the health and safety of elderly        representing government entities in litigation targeting the
residents. She has also represented the U.S. Virgin Islands in          alleged deceptive marketing and over-distribution of highly
enforcement litigation against an oil company that abruptly             addictive opioids, as well as people alleging harm by tobacco
shut down, alleging it failed to fulfill its obligation to operate a    products. She also represents the 9/11 Families United to
refinery in St. Croix as promised in exchange for significant tax       Bankrupt Terrorism multidistrict litigation aiming to bankrupt
breaks. The settlement in that case is valued at more than $750         financiers of al Qaeda and other terrorist groups,.
million in revenue and environmental cleanup.                           Elizabeth’s role in the 9/11-related litigation has included
Linda helped secure more than $60 million in relief for consumers       representing numerous families at hearings before the
whose subprime mortgages were securitized by major Wall                 September 11th Victim Compensation Fund with Special Master
Street banks, and repayment for students who alleged they               Kenneth Feinberg and litigating aviation liability cases. She also
were defrauded by a chain of for-profit colleges. She fought for        has experience with personal injury and consumer protection
workers allegedly misclassified as independent contractors by           cases, including vehicle defect cases, asbestos litigation,
a Fortune 100 company, a move that allegedly deprived workers           medical device cases, and lead paint poisoning lawsuits, and
of legal protections and helped the company avoid contributing          has managed client relations, research and discovery, and trial
to state unemployment and workers’ compensation programs.               preparation for various litigation teams.
Pro bono work has also been a major part of Linda’s practice.           As an undergraduate student, Elizabeth completed a Middle
She has represented individuals and public clients in cases             East and Africa Foreign Study Program, and traveled from
aimed at preventing gun violence, protecting consumers, and             Kenya to Israel. While in law school, she served on the editorial
safeguarding the rights of immigrants.                                  board of the ABA Real Property, Probate & Trust Journal. After
                                                                        graduation, Elizabeth was a law clerk for the Honorable Diane
Linda served from 1994 through 2006 as Executive Director of
                                                                        S. Goodstein, Circuit Court Judge of the First Judicial Circuit for
the Appleseed Foundation, a network of public interest law
                                                                        South Carolina. She is recognized as a BV® rated attorney by
centers in the U.S. and Mexico.
                                                                        Martindale-Hubbell®.
AWARDS AND ACCOLADES:
                                                                        AWARDS AND ACCOLADES:
Best Lawyers®
                                                                        Lawdragon
2019–2021 Mass tort litigation / class actions – plaintiffs
                                                                        2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
Washington D.C. Super Lawyers® list
2013–2021 State, local & municipal; Consumer law                        ASSOCIATIONS:
                                                                        American Association for Justice
Lawdragon
                                                                        Federal Bar Association
2020 Lawdragon 500 Plaintiff Consumer Lawyers
                                                                        South Carolina Association for Justice
2019–2020 Lawdragon 500 Plaintiff Financial Lawyers
The National Law Journal
2017 Litigation Trailblazers
2010 “Washington’s Most Influential Women Lawyers”




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W. Christopher Swett                                                 AWARDS AND ACCOLADES:
LICENSED IN: DC, MN, SC, WV                                          The National Trial Lawyers
ADMITTED TO PRACTICE BEFORE:                                         2013–present Top 100 Trial Lawyers™ – South Carolina
U.S. Court of Appeals for the Fourth Circuit; U.S. District Court    West Virginia Super Lawyers® Rising Stars list
for the Northern District of Ohio, District of South Carolina,       2015–2019 Personal injury – products: plaintiff; Personal injury
Southern District of West Virginia, and the Western District of      – general: plaintiff; Class action/mass torts
Wisconsin
EDUCATION:                                                           ASSOCIATIONS:
J.D. cum laude, University of South Carolina School of Law,          American Association for Justice
2009                                                                 South Carolina Association for Justice
B.A., B.S. summa cum laude, The Citadel, 2006                        West Virginia Association for Justice
A trial lawyer, Chris Swett goes up against alleged suppliers        South Carolina Bar Association
of asbestos-contaminated talc and manufacturers of cosmetic          Charleston County Bar Association
talcum powder products in litigation filed for consumers             Order of the Coif
suffering from mesothelioma and other asbestos-related               Order of the Wig and Robe
diseases.
On behalf of asbestos victims, Chris litigates against               Fred Thompson III
manufacturers, property owners and contractors who sold or           LICENSED IN: SC
installed defective asbestos-containing products and exposed         ADMITTED TO PRACTICE BEFORE:
workers and families to asbestos.                                    U.S. Supreme Court, U.S. Court of Appeals for the Fourth
Chris also litigates on behalf of workers who developed severe       Circuit, U.S. District Court for the District of South Carolina
lung diseases, or “Popcorn Workers’ Lung,” after inhaling            EDUCATION:
flavoring chemicals such as diacetyl and acetyl propionyl,           J.D. with distinction, Duke University School of Law, 1979
among other occupational diseases and hazards. He has                B.A. cum laude, Yale University, 1973
additional experience representing victims in cases involving        With decades of diverse experience in personal injury,
significant injuries caused by hazardous consumer products,          commercial and toxic tort law, Fred Thompson represents
fires, premises injuries and other incidents of negligence and       people harmed by negligence, product defects or misconduct.
misconduct.                                                          As a leader of the medical litigation team, Fred manages cases
                                                                     related to defective medical devices, harmful pharmaceutical
Prior to joining Motley Rice, Chris served as a law clerk to
                                                                     drugs, medical malpractice, and nursing home abuse.
the Honorable R. Bryan Harwell of the U.S. District Court for
the District of South Carolina. In this capacity, he conducted       Fred is Liaison Counsel for a multidistrict litigation, In re Aqueous
complex research, prepared proposed orders involving                 Film-Forming Foams Products Liability Litigation, MDL No. 2873,
numerous areas of the law, and assisted with various phases of       alleging severe health complications and environmental harms
both civil and criminal trials.                                      associated with the use of firefighting Aqueous Film-Forming
                                                                     Foams, which contain toxic PFAS chemicals. He has been
A recipient of the Citadel Scholar full academic scholarship and
                                                                     appointed to numerous other leadership positions, including:
the Citadel Honors Program Gold Seal, Chris was honored with
the University of South Carolina School of Law’s Cali Award for      • Co-lead coordinating counsel for the pelvic mesh lawsuits
environmental law. Additionally, he served as Senior Associate         consolidated in the U.S. District Court for the Southern
                                                                       District of West Virginia
Editor for the Southeastern Environmental Law Journal and is
the author of published pieces concerning environmental law          • Plaintiffs’ co-lead counsel for the Mirena® IUD multidistrict
such as Politics, Money, and Radioactive Waste: The Savannah           litigation in the U.S. District Court for the Southern District of
                                                                       New York
River Site Conundrum, 16.2 Se. Envtl. L.J. 391 (2008).
                                                                     • Plaintiffs’ co-lead counsel for the federal Digitek®
Growing up in rural South Carolina with blue-collar parents, Chris     consolidation
quickly learned the value of hard work and giving back to the        • Plaintiffs’ Steering Committee member for the Medtronic
community. He has volunteered as a Special Prosecutor for the          Sprint Fidelis® defibrillator lead
South Carolina Attorney General’s Office; proudly served as class
                                                                     • Plaintiffs’ Steering Committee member for the Avandia®
chairman for The Citadel Foundation, helping to raise money for        federal multidistrict litigation
need-based scholarship funding; and is a former member of the
                                                                     • Plaintiffs’ Steering Committee member for the Trasylol®
Charleston County Library Board of Trustees. Chris is recognized
                                                                       federal multidistrict litigation
as an AV®-rated attorney by Martindale-Hubbell®.
                                                                     • Chairman of the American Association for Justice’s Digitek®
                                                                       Litigation Group
                                                                     • Co-chairman of the AAJ Kugel® Mesh Litigation Group




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Fred is also active with the firm’s consumer fraud, commercial         proceedings. Among other representations at his former
and economic damage litigation. He has represented clients in          firm, David obtained dismissal of tort and contract claims
litigation involving bond issues and securities fraud in federal,      brought against an African nation under the Foreign Sovereign
state and bankruptcy forums as well as through alternative             Immunities Act, served as litigation counsel for a nationwide
dispute resolution. Additionally, Fred has practiced commercial        dental management organization, and represented a major
transaction work, including contracting, corporate, partnership        insurance company and its former CEO and CFO in a “stock
and limited liability company formation, and capital acquisitions.     drop” securities class action in the Southern District of New
                                                                       York. David also represented a Medicare provider in more
Recognized as an AV® rated attorney by Martindale-Hubbell®,
                                                                       than 6,000 recoupment appeals before the Office of Medicare
Fred frequently speaks on medical litigation topics at legal
                                                                       Hearings and Appeals, and counseled clients who were the
seminars throughout the country. He co-authored “Composix®
                                                                       subject of Federal Trade Commission investigations regarding
Kugel® Mesh: A Primer” for the Spring 2008 AAJ Section on
                                                                       their marketing practices.
Toxic, Environmental & Pharmaceutical Torts newsletter. Fred
serves his local community as a Board Member for the East              While in law school, David served as a law clerk in the Federal
Cooper Community Outreach organization.                                Trade Commission’s Division of Marketing Practices. He began
                                                                       his career at a D.C. law firm as a litigation associate, where
AWARDS AND ACCOLADES:                                                  he represented clients in marketing practices investigations
Best Lawyers®                                                          conducted by the FTC and dozens of state attorneys general,
2018–2021 Charleston, S.C. Mass tort litigation / class actions        and represented employees of a former Fortune 500 company
–plaintiffs                                                            in DOJ and SEC investigations.
Lawdragon
2020 Lawdragon 500 Plaintiff Consumer Lawyer
                                                                       ASSOCIATIONS:
                                                                       American Bar Association
ASSOCIATIONS:
American Association for Justice                                       David D. Burnett
                                                                       LICENSED IN: DC, NY
SENIOR COUNSEL                                                         ADMITTED TO PRACTICE BEFORE: U.S. Court of Appeals for
                                                                       the Second Circuit; U.S. District Courts for the Southern and
                                                                       Eastern Districts of New York
David I. Ackerman                                                      EDUCATION:
LICENSED IN: DC, NJ, NY                                                J.D., University of Virginia School of Law, 2007
ADMITTED TO PRACTICE BEFORE:                                           M.A., University of Texas at Austin, 2002
U.S. Supreme Court; U.S. Court of Appeals for the Second,              B.A. with high honors and distinction, University of Virginia,
Fourth, and D.C. Circuits; U.S. Court of Federal Claims; U.S.          1999
District Court for the District of Columbia, Northern District of      As a part of Motley Rice’s opioid litigation team, David Burnett
Florida, District of Maryland, District of New Jersey, Southern        applies more than a decade of experience in plaintiffs-side
District of New York and the Eastern District of Wisconsin             commercial litigation and finance to investigate complex
EDUCATION:                                                             economic issues in an effort to hold opioid companies
J.D. with honors, The George Washington University Law                 responsible for the current epidemic.
School, 2002
                                                                       David’s practice includes working on behalf of dozens of
B.A., Emory University, 1999
                                                                       clients— cities, counties, townships and other municipalities—
David Ackerman is a civil litigator with experience representing
                                                                       in the National Prescription Opiate MDL, and in separate
clients in complex national and international disputes at both trial
                                                                       investigations and litigation filed in state courts.
and appellate levels. He plays a leading role in litigation filed on
behalf of governments, state attorneys general, and other entities     In addition to opioids, David also represents individual and
in order to advance public health and consumer interests.              institutional investors in complex securities fraud litigation.
David’s practice includes pursuing litigation targeting the            Prior to joining Motley Rice, David served as a vice president
alleged deceptive marketing and over-distribution of opioids           of underwriting at Burford Capital, the world’s largest litigation
that led to the addiction crisis, which claims thousands of            finance firm, where he evaluated potential investments in
American lives each year.                                              dozens of lawsuits and recovered tens of millions of dollars
                                                                       in entitlements for investors, among other duties. He gained
David’s experience brings added understanding of
                                                                       experience in evaluating the cost-benefits of litigation and
considerations by defendants and companies involved in
                                                                       structuring financing terms commensurate with legal risks.
litigation. Prior to joining Motley Rice, he was a partner based
in the Washington, D.C. office of a global law firm where              Prior to Burford, David worked for 11 years as an associate
he represented clients in state and federal courts, private            and Of Counsel at Quinn Emanuel, where he represented
arbitrations, and Federal Trade Commission and administrative          institutional investors as plaintiffs in litigation and investigations
                                                                       arising from losses on mortgage-backed securities and CDOs


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following the 2007 financial crisis. He recovered hundreds            client’s favor, used his negotiation skills to resolve the case
of millions of dollars* in dozens of favorable settlements for        in mediation prior to a re-trial. In another passenger rights
plaintiffs in residential mortgage-backed securities litigation.      case alleging negligence, breach of contract and negligent
David also recently worked as a consultant on SEC compliance          misrepresentation, Sandie Mallard v. Airtran Airways, Inc., he
matters for a Virginia wealth-management firm.                        played a central role in achieving a confidential settlement. The
                                                                      U.S. District Court for the Southern District of Florida ruled in
While completing his law degree, David clerked for a plaintiffs’
                                                                      favor of his client in Chris Turner v. Ramo, LLC, a case involving
asbestos firm in Washington, D.C. and an international
                                                                      the crash of an international charter flight. This ruling was
corporate law firm in New York. During law school David was
                                                                      upheld by the U.S. Eleventh Circuit Court of Appeals in February
selected as a Hardy Cross Dillard Fellow, was an editor of the
                                                                      2012. Jim also represented numerous families of those who lost
Journal of Law and Politics, and was a member of the Journal of
                                                                      their lives in the 2009 Continental Airlines/Colgan Air Flight 3407
Social Policy and the Law. He published an article on billboard
                                                                      crash, which took the lives of all 49 passengers and crew, as
regulation in the Journal of Law and Politics, cited by the Ninth
                                                                      well as one person on the ground.
Circuit, and an article on nutrition policy in the Virginia Journal
of Social Policy and the Law.                                         Prior to joining Motley Rice, Jim worked for nearly a decade as
                                                                      a trial attorney representing clients injured or killed in vehicle
Outside of work, David is a member of the Appalachian
                                                                      collisions. His ability to present complex matters to a jury has
Mountain Club, the country’s oldest outdoor organization, and
                                                                      served him in previous transportation cases.
serves on its Board of Advisors. He is also a competitive cyclist,
avid hiker, and drives a racecar on track.                            Jim served as a navigator in the United States Air Force from
                                                                      1991 to 2001. He was one of only five people in the entire Air
James R. Brauchle                                                     Force simultaneously qualified as a C-141 Special Operations
                                                                      navigator, flight instructor and examiner, and was often
LICENSED IN: SC                                                       selected to fly high visibility missions, both in the United States
EDUCATION:                                                            and abroad. Additionally, he was hand-selected to brief and
J.D., Rutgers University School of Law, 2001                          demonstrate special operations capabilities to the Air Mobility
B.S., Lemoyne College, 1990                                           Command’s Director of Operations and represented the 437th
A former U.S. Air Force navigator, Jim Brauchle brings years          Air Wing at RODEO 1996, the United States Air Force’s airlift
of flying experience, leadership skills and knowledge of the          flying competition.
aviation industry to his litigation work. Jim represents victims
of aviation disasters and passenger rights violations in cases        Jim is recognized as an AV® rated attorney by Martindale-
against the airline industry. With more than a decade of              Hubbell®.
courtroom experience that includes both bench and jury trials,
Jim has handled civil, domestic, and criminal defense cases
                                                                      ASSOCIATIONS:
                                                                      American Association for Justice
from pre-trial practice through trial, post-trial motions and
                                                                      South Carolina Association for Justice
appeals. He not only works closely with clients and co-counsel
                                                                      International Society of Air Safety Investigators, affiliate member
but also with pilots, engineers and experts in such areas as
                                                                      Law360 Transportation Editorial Advisory Board, 2020
wreckage inspection and flight reconstruction.
Jim had the honor of supporting the firm’s work in Bavis v.
United Airlines Corporation et al., the last aviation security
                                                                      John C. Duane
case to be resolved in the nearly decade-long consolidated            LICENSED IN: SC
litigation, In re September 11 Litigation, involving 56 of the 96     ADMITTED TO PRACTICE BEFORE:
families who opted out of the Victim Compensation Fund in an          U.S. Court of Appeals for the Fourth Circuit, U.S. District Court
effort to force accountability and generate answers related           for the District of South Carolina
to the 9/11 terrorist attacks. He is an integral member of the        EDUCATION:
aviation team representing the families of the five Italian           J.D., University of South Carolina School of Law, 1998
tourists who lost their lives when a helicopter tour and small        B.A., College of Charleston, 1994
private plane collided in mid-air over the Hudson River on Aug.       Former federal prosecutor John Duane applies his experience
8, 2009. Litigating multiple crash cases involving small private      prosecuting criminal matters to his work representing clients
planes, he also represents the family of a pilot who was one of       harmed by defective medical devices, implants and drugs,
six people killed when a Cessna Citation 550 aircraft on a life-      as well as a variety of cases related to negligence, defective
saving transplant mission crashed into Lake Michigan shortly          products and vehicle incidents.
after takeoff. He also represents the families of passengers          John works with co-counsel to represent clients in national
who were killed in the July 7, 2013 DeHavilland DHC-3 Otter           litigation who have been injured after receiving allegedly
charter plane crash in Soldotna, Alaska.                              defective hip replacement devices, including DePuy®
An advocate for the rights of the traveling public, Jim took          ASR™, DePuy® Pinnacle®, Biomet M2a-Magnum™, Stryker®
passenger rights case, Amanda Tuxworth v. Delta Air Lines,            Rejuvenate, Wright Medical Conserve® and Zimmer Durom®.
Inc., to trial and, after a hung jury that was nine to one in his


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He was actively involved in the In re Medtronic, Inc. Sprint         and reviewed documentation for proper bank and accounting
Fidelis Leads Products Liability Litigation, a federal MDL           statements. Jan currently utilizes this background to provide
involving people who suffered from injuries allegedly caused         legal research for complex securities fraud and shareholder
by heart defibrillator lead wires. He was also an integral part of   derivative cases with the Motley Rice securities litigation team.
the litigation involving the drugs Advair®/Serevent®, Trasylol®,     Jan served on the Ethics Committee of the South Carolina Bar
Zicam® and Fen Phen®.                                                from 2010–2013 and has also served a two-year term as the
As an Assistant U.S. Attorney for the District of South Carolina,    Continuing Legal Education Seminar Committee Chair for the
John prosecuted cases in a variety of areas, including financial     South Carolina Bar. She has also served on several educational
crimes, wire and mail fraud, corporate fraud and violent             and ethics committees with the Nassau County Bar Association
crimes. In this role, he also served as the lead trial attorney      of New York, serving as a dean and board member developing
on several jury trials and trained new prosecutors in caseload       programming when Mandatory Continuing Legal Education
management, procedures and trial technique.                          was instituted in New York. Jan taught courses on legal ethics,
                                                                     legal research and real estate as an adjunct professor at Long
Previuosly, John served as a law clerk to Senior United States
                                                                     Island University. She sat on the executive council of the
District Judge C. Weston Houck, assisting with all phases of civil
                                                                     New York State Conference of Bar Leaders and served as a
and criminal trials, including pre-trial and post-trial motions,
                                                                     delegate to New York State Chief Judge Judith Kaye’s Institute
evidentiary rulings and research in class actions, transportation
                                                                     of Professionalism in the Law.
and design defect cases, shareholder derivative actions and
whistleblower actions.
                                                                     ASSOCIATIONS:
Active in his community, John volunteers as a children’s soccer      American Association for Justice
coach and contributes his time to various youth programs at          New York State Bar Association
his church.                                                          South Carolina Bar Association
                                                                     Charleston County Bar Association
AWARDS AND ACCOLADES:                                                Nassau County Bar Association
2004 Assistant U.S. Attorney of the Year, Charleston Division
                                                                     Robert T. Haefele
ASSOCIATIONS:
American Association for Justice                                     LICENSED IN: DC, NJ, NY, PA, SC
American Bar Association                                             ADMITTED TO PRACTICE BEFORE:
South Carolina Association for Justice                               U.S. Court of Appeals for the Second, Third, Fourth and
South Carolina Bar Association                                       Eleventh Circuits, U.S. District Court for the District of
Charleston County Bar Association                                    Columbia, District of New Jersey and Southern District of New
                                                                     York
                                                                     EDUCATION:
Jeanette M. Gilbert                                                  J.D., Rutgers University School of Law – Camden, 1989
LICENSED IN: NY, SC                                                  B.A., Rutgers College, 1986
ADMITTED TO PRACTICE BEFORE:                                         Robert Haefele has spent 30 years practicing in complex civil
U.S. District Court for the Eastern and Southern Districts of        litigation, including asbestos, tobacco, mesh, and other mass
New York                                                             tort and product liability litigation. His area of primary emphasis
EDUCATION:                                                           involves anti-terrorism and human rights, analyzing and
J.D., Pace University School of Law, 1984                            litigating complex, domestic and international matters to meet
B.A., Hofstra University, 1979                                       clients’ goals of justice and accountability while simultaneously
Jan Gilbert has spent her legal career assisting those who           achieving positive social change.
cannot speak for themselves due to age or illness. Since             Robert’s current focus is on aiding the more than 6,600 family
joining Motley Rice in 2006, she continues that advocacy             members and survivors of the 9/11 terrorist attacks Motley Rice
through asbestos bankruptcy litigation and management of             represents. He is co-liaison counsel and an active member
claims processing. Jan is one of the attorneys responsible for       of the Plaintiffs’ Executive Committee for Personal Injury and
analyzing complex bankruptcy documents and advising clients          Death Claims in In re Terrorist Attacks on September 11, 2001,
and co-counsel lawyers on the claims facilities and asbestos         U.S.D.C., S.D.N.Y., MDL 1570, lawsuits filed by Motley Rice’s
personal injury trusts established by the bankruptcy courts for      clients and others seeking to expose and bankrupt the alleged
the benefit of asbestos victims.                                     financiers and other supporters of al Qaeda terrorist activity.
Prior to her work at Motley Rice, Jan directed the estate            Robert also played a central role in In re September 11th
department at a New-York based law firm, where she was               Litigation, Case No. 21-MC-97-AKH (S.D.N.Y.), involving more
responsible for the finance management and administration of         than 50 personal injury and wrongful death clients against the
multi-million dollar estates and trusts. She provided investment     aviation and aviation security industries for their alleged failure
and tax analysis to ensure compliance with federal regulations       to detect and prevent the 9/11 terrorist attacks. For both the



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9/11 multidistrict terrorist financing litigation and 9/11 mass           Scott B. Hall
consolidations of the aviation security liability cases, Robert           LICENSED IN: MO, OH, WV
has appeared before the court for multiple hearings and oral              ADMITTED TO PRACTICE BEFORE:
arguments, directed and engaged in complex formal discovery,              U.S. Supreme Court; U.S. Court of Appeals for the Eighth,
and managed informal investigative efforts involving, among               Ninth and Tenth Circuits; U.S. District Courts for the District of
other things, aviation security, designation of foreign terrorist         Colorado, District of Kansas, and Western District of Missouri
individuals and entities, and elaborate webs of financial                 EDUCATION:
transactions.                                                             J.D., University of Texas at Austin, 1998
In addition to traditional litigation efforts, Robert has provided        L.L.M. with Distinction, University of Nottingham, 1998
substantial pro bono and other support to the survivors and               B.S.J., University of Kansas, 1993
families of those killed in the 9/11 attacks. From 2001-2004, he          An advocate for people harmed by toxic exposure, chemical-
provided pro bono representation for more than 30 individuals,            related cancers and other occupational diseases and smoking-
preparing and presenting their claims to the September 11th               related illnesses, Scott Hall has spent more than 15 years
Victim Compensation Fund. Working with Motley Rice clients,               working to hold accountable corporations that put profits
legislators and leading experts in various industries, Robert also        before people.
works to encourage legislative changes to help meet clients’              Today, he continues to represent people suffering from work-
goals of justice, accountability and positive social change. He           related illnesses such as lung diseases in cases against the
has represented victims of other terrorist attacks and human              companies that allegedly harmed them.
rights violations in litigation including Oran Almog v. Arab Bank,
a landmark lawsuit filed by victims of terrorist bombings in Israel       Scott advocates for workers and consumers harmed by inhaling
against Arab Bank for its alleged role in financing Hamas and             flavoring chemicals such as diacetyl and acetyl propionyl,
other Israeli terrorist organizations, and Krishanti v. Rajaratnum        which have been associated with severe lung diseases often
et al., 09-cv-5395 (D. N.J.), litigation against alleged financiers       collectively referred to as “Popcorn Workers’ Lung,” even
of the Tamil Tigers terrorist organization in Sri Lanka. He was           though many workers, not just those in microwave popcorn
also part of the litigation filed for non-U.S. citizens, Jesner v.        manufacturing, have been affected.
Arab Bank. The litigation was heard by the U.S. Supreme Court             In the early 2000s, Scott successfully represented workers
under the Alien Tort Statute regarding violations of customary            who had developed serious lung diseases after exposure to
international law by foreign corporations.                                airborne flavoring chemicals in some of the first cases of their
Representing Motley Rice clients in an array of other complex             kind.* Since then, he has tried more than a dozen lawsuits
litigation matters, Robert worked on World Holdings LLC, v. The           against the flavoring industry that resulted in plaintiffs’ verdicts.
Federal Republic of Germany, a suit filed to collect unpaid pre-          Additionally, Scott participated in the resolution of more than
WWII German bonds. He has collaborated with members of the                100 cases for people who alleged wrongful death or injuries as
firm’s securities team, litigating such cases as In re MBNA Corp.         a result of exposure to dangerous chemical flavorings.*
Sec. Litig., No. 05-272 (D. Del.), and with the toxic exposure            His early work in toxic exposure included taking cases to trial
team to litigate cases brought by individuals and businesses              as well as settling tobacco cases. His work led to multi-million
suffering as a result of the BP oil spill in In re Oil Spill by the Oil   dollar verdicts in tobacco-related personal injury and wrongful
Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010.         death cases.* He was also contracted by the Canadian
Prior to joining Motley Rice in 2003, Robert developed a strong co-       government to represent the Provinces of Newfoundland and
counsel relationship with Motley Rice attorneys through complex           Labrador in a cost-recovery action against the tobacco industry.
litigation involving corporate wrongdoing, including the State of         Scott has also taken cases to trial and settled environmental
New Jersey’s tobacco lawsuit and other tobacco, asbestos and              contamination cases, including cases involving air pollution
occupational disease and injury cases. Practicing product liability,      and groundwater pollution by industrial chemicals.
toxic and mass tort, and occupational injury law, he represented          In 1997, Scott wrote one of the first peer-reviewed articles on
individuals and union members injured by defective products or            the regulation of genetically modified organisms (GMO) and
toxic substances and authored “The Hidden Truth About Asbestos            their impact on the environment. The article, titled “The Genie in
Disease” in the New Jersey Law Journal (December 2002). He                the Bottle: The International Regulation of Genetically Modified
clerked with Judge Neil F. Deighan of the Appellate Division of the       Organisms,” was published in the Journal of International
Superior Court of New Jersey in 1990.                                     Wildlife Law & Policy.

ASSOCIATIONS:                                                             *Prior results do not guarantee future results. Every case is
American Association for Justice                                          different and must be judged on its own merits. The choice of a
American Bar Association                                                  lawyer is an important decision and should not be based solely
New Jersey State Bar Association, Past Chairman – Product                 upon advertisements.
Liability and Toxic Tort Section
Public Justice Foundation




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AWARDS AND ACCOLADES:                                                author and former faculty member at the Practising Law
Missouri Super Lawyers® Rising Star list                             Institute’s Securities Litigation & Enforcement Institute (both in
2009 Personal injury – products: plaintiff; Environmental            the United States and United Kingdom) and has also lectured
litigation                                                           at the Fordham University School of Law’s Eugene P. and Delia
Selection criteria: www.superlawyers.com/about/selection_            S. Murphy Conference on Corporate Law – Corporations,
process.html                                                         Investors and the Securities Markets.
                                                                     While completing her law degree from Hofstra University School
ASSOCIATIONS:
                                                                     of Law, Rebecca was a member of the Hofstra Law Review.
American Bar Association
Missouri Bar Association                                             She is an active supporter of several community organizations,
Kansas City Metropolitan Bar Association                             including Friends of Firefighters and Komen Race for a Cure.

                                                                     PUBLISHED WORKS:
Rebecca M. Katz                                                      Rebecca M. Katz & James M. Weir, Plaintiffs’ Perspective:
LICENSED IN: NY                                                      The SEC’s Final Rules for Whistleblowers Offer a Balanced
ADMITTED TO PRACTICE BEFORE:                                         Approach to an Important New Program, Securities Litigation
U.S. Court of Appeals for the Second Circuit; U.S. District          Report (July/Aug. 2011)
Courts for the Southern, Eastern, and Western Districts of New
                                                                     Rebecca M. Katz & David B. Harrison, The Dodd-Frank Act:
York, and the District of Colorado
                                                                     New Life for Whistleblowers and the SEC; Securities Litigation
EDUCATION:
                                                                     Report (Sept. 2010)
J.D., Hofstra University School of Law, 1990
B.S., Hofstra University, 1987                                       AWARDS AND ACCOLADES:
As a lead attorney on Motley Rice’s whistleblower litigation         Best Lawyers®
team, Rebecca Katz represents and protects individual                2017–2021 Mass tort litigation / class actions – plaintiffs
whistleblowers who expose corporate misconduct. Her clients
come from all levels of job responsibility in a wide range of        Super Lawyers
industries and she helps them to investigate and report fraud        2008–2010, 2013–2020 New York Metro Super Lawyers –
to governmental enforcement agencies including the SEC,              Securities
DOJ, IRS and CTFC. She has represented senior executives,            Hofstra University, Maurice A. Deane School of Law
mid-level managers and staff of multinational banking and            2019 Outstanding Woman in Law honoree
financial services and public companies, including financial
advisors, clinical researchers, quantitative analysts, engineers,    Benchmark Plaintiff
commodities and securities traders.                                  2014 Top 150 Women in Litigation list: New York – securities
                                                                     2013–2014 New York “Litigation Star” securities
Rebecca has been at the forefront of this field since the SEC
Whistleblower Program was established under the Dodd-Frank           ASSOCIATIONS:
Act in 2010 and is recognized in the field of whistleblower          New York City Bar Association, Securities Litigation Committee
representation. She has represented numerous clients in
navigating the intricacies of the SEC whistleblower process
from filing the initial complaint through the final award process.
                                                                     Michael J. Quirk
                                                                     LICENSED IN: NY, PA
For nearly a decade prior to entering private practice, Rebecca
                                                                     ADMITTED TO PRACTICE BEFORE:
served as senior counsel for the SEC’s Enforcement Division. In
                                                                     U.S. Supreme Court; U.S. Courts of Appeals for the First, Third,
addition to her whistleblower work, Rebecca has more than 20
                                                                     Fourth, Ninth, and Eleventh Circuits; U.S. District Courts for
years of experience litigating complex securities fraud cases,
                                                                     the District of Columbia, Eastern District of Pennsylvania, and
and was a partner and held senior leadership roles at two large
                                                                     Northern District of New York
New York plaintiffs’ litigation firms.
                                                                     EDUCATION:
Using her experience as a former SEC attorney and in private         J.D. cum laude, University of Michigan Law School, 1999
practice, Rebecca provides critical, objective legal counsel         M.A. Rutgers University, 1996
to those who need knowledge and support to ensure their              B.A. The College of New Jersey, 1992
confidentiality and protection in undertaking the complex and        Michael Quirk practices in the areas of consumer rights, class
ever-changing whistleblower laws.                                    action, mass tort, and appellate litigation.
Rebecca is a frequent speaker at legal conferences nationwide        He currently represents people and families in Flint, Mich.,
and provides insight on numerous issues involving the SEC            who were impacted by toxic lead in the city’s contaminated
whistleblower program and securities litigation for national         water crisis in In re Flint Water Cases: Carthan v. Snyder;
and local media outlets, including The Wall Street Journal, The      women injured by defective transvaginal mesh devices in In re
New York Times, and Law360, among others. She is a published         Pelvic Mesh Litigation; payday loan borrowers in Pennsylvania
                                                                     allegedly paying unjustifiably high interest charges to lenders


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seeking to evade liability through misuse of Indian tribal            • New Jersey Mass Torts & Class Action Treatise (New Jersey
immunity in Williams et al. v. MacFarlane Grp, Inc. et al.; and         Institute for Continuing Legal Education 2015) (peer-review
student loan borrowers who faced collection actions on a                editor)
defunct for-profit trade school’s institutional loans alleged to be   • National Association of Consumer Advocates, Standards
fraudulent in Gonzalez et al. v. New Century Financial Services,        and Guidelines for Litigating and Settling Consumer Class
Inc. as assignee of Med-Com Career Training, Inc. d/b/a Drake           Actions, 299 F.R.D. 160 (3d ed. 2014) (drafting committee
College of Business; among other cases.                                 member); 255 F.R.D. 215 (2d ed. 2006) (committee member
                                                                        and co-drafter)
Prior to joining Motley Rice, he was a partner in two Philadelphia
law firms, where he was lead appellate counsel for prevailing         ASSOCIATIONS:
plaintiffs in cases involving expert admissibility on causation of    American Association for Justice
a rare and fatal lymphoma by prescription drugs, liability and        National Association of Consumer Advocates, Board of
qualified immunity in a police-on-police shooting, retaliatory        Directors Co-Chair (Board Member since 2015); Issues
employment discrimination under Title VII, women’s breast             Committee
cancer caused by hormone replacement therapy (HRT) drugs,
and enforceability of mandatory arbitration clauses barring           AWARDS AND ACCOLADES:
class actions in payday lending and other consumer contracts.         Public Justice
He also was lead or co-lead trial court counsel for plaintiffs        2003 Access to Justice Award
in cases against Wells Fargo, Bank of America, and JPMorgan
Chase among others allegedly involving predatory Option               Lisa M. Saltzburg
Adjustable Rate Mortgage (Option ARM) loans that drained the
                                                                      LICENSED IN: SC, CO
equity from borrowers’ homes, against rent-to-own companies
                                                                      ADMITTED TO PRACTICE BEFORE:
charging allegedly unlawful interest or add-on fees to low-
                                                                      U.S. Court of Appeals for the Fourth, Fifth and Eleventh Circuits
income consumers, and against credit card issuers for allegedly
                                                                      U.S. District Court for the District of South Carolina
unlawful charges.
                                                                      EDUCATION:
Michael also has represented public interest, consumer rights         J.D., Stanford Law School, 2006
and public health organizations as amici curiae in support of         B.A. with high distinction, University of California, Berkeley,
consumers and other plaintiffs.                                       2003
Previously, he was a staff attorney and Equal Justice Works           Lisa Saltzburg represents individuals, government entities and
Fellow with Public Justice, P.C., a national public interest law      institutional clients in complex securities and consumer fraud
firm, and was Supreme Court Assistance Project Fellow with the        actions, public client litigation, and a variety of other consumer
Public Citizen Litigation Group, both in Washington, D.C.             and commercial matters. Lisa is an integral part of Motley
                                                                      Rice’s team of attorneys that represents dozens of cities,
A frequent public speaker, Michael has contributed to                 towns, counties and townships in the National Prescription
discussions of class actions and other legal matters. Michael         Opiate MDL against opioid manufacturers and distributors for
serves as co-chair of the Board of Directors of the National          alleged deceptive marketing, fraudulent distribution and other
Association of Consumer Advocates, a nationwide, non-profit           business practices that contributed to the opioid crisis.
association of more than 1,500 private and public sector and
legal services lawyers, law professors, and law students whose        She is part of the BP Oil Spill litigation team, and helped people
primary focus is representation and protection of consumers.          and businesses in Gulf Coast communities file claims through
                                                                      the new claims programs established by the two settlements
Public Justice, a national public interest law firm, awarded          reached with BP. Lisa also serves on the trial team for the Florida
Michael its Access to Justice Award in 2003 for his work as co-       Engle tobacco litigation.
counsel in helping win unanimous U.S. Supreme Court decision
in Sprietsma v. Mercury Marine, defeating federal preemption          Prior to joining Motley Rice, Lisa was an associate attorney
and preserving access to justice for a wrongful death claimant.       for a nonprofit advocacy organization, where she worked
                                                                      through law and policy to protect the environmental interests
PUBLISHED WORKS:                                                      of the Southeast. She drafted briefs and other filings in
• Consumer Class Actions, Ninth and Tenth Editions (National          South Carolina’s federal and state courts and worked with
  Consumer Law Center 2016, 2020) (co-author)                         administrative agencies to prepare for hearings and mediation
• Consumer Arbitration Agreements: Enforceability and                 sessions. Lisa also served for two years as a judicial clerk for
  Other Topics, First through Seventh Editions and annual             the Honorable Karen J. Williams of the U.S. Court of Appeals for
  supplements thereto (National Consumer Law Center and               the Fourth Circuit, where she developed valuable legal research
  Public Justice Foundation 2001-2015) (co-author)                    and writing skills and gained experience involving a wide range
                                                                      of issues arising in civil and criminal cases.




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Lisa held multiple positions in environmental organizations         ASSOCIATES AND COUNSEL
during law school, handling a broad array of constitutional,
jurisdictional and environmental issues. She also served as         Sara D. Aguiñiga
an editor of the Stanford Law Review and as an executive
                                                                    LICENSED IN: DC
editor of the Stanford Environmental Law Journal. A member of
                                                                    ADMITTED TO PRACTICE BEFORE: Superior Court of the
numerous organizations and societies, including the Stanford
                                                                    District of Columbia, U.S. Court of Appeals for the District of
Environmental Law Society, Lisa attended the National Institute
                                                                    Columbia
for Trial Advocacy’s week-long Trial Advocacy College at the
                                                                    EDUCATION:
University of Virginia.
                                                                    J.D. American University Washington College of Law, 2013
                                                                    B.A. cum laude, University of Maryland, Baltimore County, 2006
AWARDS AND ACCOLADES:
                                                                    Sara Aguiñiga protects public funds and interests, including
South Carolina Super Lawyers® Rising Stars list
                                                                    health and consumer rights, through representation of public
2016 Securities litigation, Class action/mass torts, Personal
                                                                    entities.
injury–products: plaintiff
                                                                    Sara is a member of the firm’s litigation team representing
                                                                    dozens of governmental entities, including states, cities, towns,
Jennie Scudder-Levin
                                                                    counties and townships targeting the alleged misrepresentation
LICENSED IN: CA, SC                                                 and over-distribution of highly addictive prescription drugs by
EDUCATION:                                                          opioid manufacturers and distributors, a suspected cause of
J.D., Vanderbilt University School of Law, 1989                     the opioid epidemic. She also litigates complex cases involving
A.B. cum laude, Duke University, 1986                               alleged health care fraud, in addition to representing the
Jennie Scudder-Levin primarily represents clients harmed            Cherokee Nation in litigation filed against the U.S. Department
by environmental contaminants and is involved in the firm’s         of Health and Human Services and other federal agencies
medical device and opioid epidemic litigation.                      related to the False Claims Act. She is also pursuing litigation
Jennie has years of litigation experience and previously            against an auto-loan company alleged to have engaged in
represented clients in bankruptcy matters, along with               unfair lending practices, and a pro bono immigration case
institutional investors in securities and consumer fraud            involving an unaccompanied minor.
litigation prior to joining Motley Rice.                            Prior to joining Motley Rice, Sara served as a bilingual witness
Her current casework includes advocating for thousands of           specialist at a Washington, D.C. law firm, where she maintained
women who have suffered severe adverse effects allegedly            compliance enforcement for confidential cases involving
caused by the permanent contraceptive device, Essure®. She          nursing homes, interviewed and prepared potential witnesses
served on the team litigating on behalf of 10 California cities     for trial in Spanish and English, and represented pro bono
and counties regarding harmful exposure to lead paint and           clients in state courts.
continues that advocacy now on behalf of persons injured by         While pursuing her law degree, Sara helped represent asylum-
white lead carbonate products in Wisconsin.                         seekers and advocated for labor rights for migrant workers
Jennie is active in her church and with the firm’s charitable and   as a student attorney for the Washington, D.C. Immigration
community projects.                                                 Justice Clinic. She clerked for a Maryland law firm, completing
                                                                    research on immigration law, deportation, asylum and human
                                                                    trafficking, and writing briefs submitted to immigration court
                                                                    and U.S. Citizenship and Immigration Services. She also clerked
                                                                    for the Maryland Office of the Public Defender, interviewing
                                                                    and preparing jailed clients for direct and cross-examinations.
                                                                    Sara was an avid figure skater and previously competed on the
                                                                    Mexican National Figure Skating Team.




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Andrew P. Arnold                                                      Prior to joining Motley Rice, Brendan practiced at a sizeable
LICENSED IN: NY, SC                                                   D.C. law firm where he focused on investigations and lawsuits
EDUCATION:                                                            involving consumer protection, false claims litigation, and
J.D., with honors, University of North Carolina School of Law,        fraudulent and deceptive trade practices for attorneys general
2013                                                                  and other public sector clients. Among other matters, he was
B.A., with highest honors, University of North Carolina at            part of a team that represented attorneys general in litigation
Chapel Hill, 2002                                                     against several nursing home chains for allegedly using
Andrew Arnold represents institutional investors and individuals      deceptive marketing to increase their profits while failing to
in complex securities, corporate governance and shareholder           provide basic care to their elderly residents.
litigation.                                                           While pursuing his law degree, Brendan clerked for a law firm in
He concentrates his practice on investigating and developing          California, completing research for complex litigation involving
securities fraud class actions, shareholder derivative lawsuits,      securities fraud and false claims. He also interned for the
merger and acquisition litigation, and consumer fraud. He             University of San Diego Civil Clinic, in addition to assisting with
joined Motley Rice co-founder Joe Rice in negotiations in the         pro bono domestic violence and humanitarian cases at Casa
Volkswagen Diesel Emissions Fraud class action for consumers          Cornelia Law Center in San Diego.
whose vehicles were allegedly designed to bypass regulations.
The $15 billion settlement for 2.0-liter vehicles is the largest      Christina M. Behm
consumer auto-related consumer class action in U.S. history,          LICENSED IN: RI
and among the fastest reached of its kind.                            ADMITTED TO PRACTICE BEFORE: U.S. District Court for the
Prior to joining Motley Rice, Andrew practiced commercial             District of Rhode Island
litigation and investor-state dispute settlement in the               EDUCATION:
Washington, D.C. office of a large international law firm. He was     J.D., Roger Williams University School of Law, 2018
recognized on the 2014 Capital Pro Bono High Honor Roll for           B.A., Rhode Island College, 2015
serving 100 pro bono hours in the D.C. area. While attending          A.A., Community College of Rhode Island, 2012
the University of North Carolina School of Law, Andrew was            Christina Behm litigates in state and federal courts for people
a member of the North Carolina Law Review and served as               who experienced life-altering complications allegedly caused
a judicial intern for the North Carolina Court of Appeals and         by defective medical devices.
as a research assistant for Professor Thomas Lee Hazen, a             Christina is a part of Motley Rice’s team of attorneys who
prominent securities regulation scholar.                              represent hernia mesh patients in multidistrict litigation In re
Andrew also has an extensive background in software                   Atrium Medical Corp. C-QUR Mesh Products Liability Litigation
development, primarily in the healthcare industry, where he           and In re Davol/C.R. Bard Hernia Mesh Multi-Case Management
designed and developed software to ensure compliance with             Coordination. She also contributes to litigation filed for dozens
government regulations.                                               of governmental entities, including states, cities, towns,
                                                                      counties and townships against opioid manufacturers and
AWARDS AND ACCOLADES:                                                 distributors alleged to have played a role in the opioid crisis.
Best Lawyers: Ones to Watch®
                                                                      Christina began her career with Motley Rice as a law clerk in
2021 Litigation – Securities
                                                                      2017, providing support to the medical device litigation team
                                                                      and various other trial teams through legal research, writing,
Brendan C. Austin                                                     and assistance with discovery.
LICENSED IN: CA, DC                                                   Prior to joining Motley Rice, Christina completed a number of
ADMITTED TO PRACTICE BEFORE:                                          internships and externships while undergoing her legal studies.
U.S. Court of Appeals for the District of Columbia Circuit            Her experience includes a judicial externship for Judge Daniel
EDUCATION:                                                            A. Procaccini of the Rhode Island Superior Court, and acquiring
J.D., University of San Diego School of Law, 2014                     research and writing experience through her internships
B.A. magna cum laude, Biola University, 2008                          with Rhode Island’s Department of Attorney General. In law
Brendan Austin works to combat consumer fraud and protects            school, Christina was a member of the Honor Board, Student
public resources and interests through litigation filed for clients   Ambassador, and President of the Student Animal Legal
in the public sector.                                                 Defense Fund.
Currently, Brendan is part of a team litigating cases against the
Takata Corporation and multiple automakers for allegedly using        ASSOCIATIONS:
deceptive practices to put dangerous airbags into millions of         American Association for Justice
vehicles in the U.S.                                                  Rhode Island Association for Justice
                                                                      Rhode Island Bar Association, Superior Court Bench Bar
                                                                      Committee; Animal Law Committee




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Laura K. Behre                                                           David A. Benner
Associate General Counsel                                                LICENSED IN: DC, NY
LICENSED IN: SC                                                          ADMITTED TO PRACTICE BEFORE: U.S. Court of Appeals for the
EDUCATION:                                                               Second, District of Columbia and Federal Circuits, U.S. District
J.D., University of South Carolina School of Law, 1996                   Court for the Southern and Eastern Districts of New York
M.A., University of Virginia, 1993                                       EDUCATION:
B.A., Agnes Scott College, 1992                                          J.D., University of Chicago Law School, 2005
As Associate General Counsel at Motley Rice, Laura Khare manages         B.A., Haverford College, 2001
the firm’s legal matters, including employment issues, ethics,           David Benner advocates for public clients and is an integral
marketing, commercial contracts and legal defense. She advises           part of a team that has represented city, state and territorial
the firm’s nearly 65 attorneys on ethical matters, as well as develops   governments in proceedings relating to public health and
appropriate compliance and risk management measures for the              consumer protection.
firm. In addition, Laura represents a diverse client base, including     David represents dozens of governmental entities,
victims of sexual abuse and environmental contamination.                 including states, cities, towns, counties and townships in
Laura joined Motley Rice in 2004 after several years as a civil rights   multiple bellwether lawsuits and other litigation alleging
attorney for the U.S. Equal Employment Opportunity Commission            misrepresentations of the safety and efficacy of addictive
in Washington, D.C. She began her tenure as a political appointee        opioids.
for President William J. Clinton. In addition, Laura served as Deputy    Prior to joining Motley Rice, David practiced in New York and
Director of Research at the State Affairs Company, a consulting          Washington, D.C., on both the plaintiff and defense side, gaining
firm in Arlington, Virginia, and as a legal fellow for the U.S. House    substantive experience in consumer protection litigation;
of Representatives Judiciary Committee. She began her career as          false claims act litigation; and cases involving intellectual
a staff attorney at the South Carolina Court of Appeals.                 property, securities, and antitrust law. In his public client work,
Laura has served on the Board of Directors for the Dee Norton            David helped the Attorney General of New Hampshire obtain
Lowcountry Children’s Center, the Board of Directors for the             financial and injunctive relief from the maker of a fentanyl-
Next Child Fund and the Charleston County Board of Zoning                based opioid for alleged unfair marketing practices; and he
Appeals. In her spare time, she enjoys participating on local            helped the Attorney General of Mississippi obtain a settlement
and national political campaigns, including as a volunteer for           over allegedly false statements made by a credit rating agency
multiple national Democratic conventions, most recently in               about its independence and objectivity ahead of the financial
2012 as a member of the convention’s script writing team.                crisis of 2008.
                                                                         Other public service includes voter protection and mobilization
AWARDS AND ACCOLADES:                                                    efforts as Deputy Voter Protection Director for Organizing
Charleston Regional Business Journal                                     for America – Iowa in 2012, in connection with that year’s
2008 Forty Under 40                                                      presidential election.

ASSOCIATIONS:
American Association for Justice                                         Ebony Williams Bobbitt
Association of Professional Responsibility Lawyers                       LICENSED IN: SC
South Carolina Association for Justice                                   EDUCATION:
South Carolina Women Lawyers’ Association                                J.D. magna cum laude, North Carolina Central University
                                                                         School of Law 2020
                                                                         B.S., North Carolina Agricultural and Technical State University,
                                                                         2012
                                                                         Ebony Williams Bobbitt represents institutional investors and
                                                                         individuals in complex securities and consumer protection
                                                                         class actions that aspire to hold corporations accountable for
                                                                         alleged misconduct.
                                                                         Ebony’s casework includes litigating for U.S. tax return
                                                                         preparers who allege they were charged unlawful fees by the
                                                                         IRS to obtain their Preparer Tax Identification Numbers (PTIN)
                                                                         in Adam Steele, et al. v. United States of America, Case No.
                                                                         1:14-cv-01523-RCL. She also represents a class of patients
                                                                         who allege Cigna Health and Life Insurance Co. fraudulently
                                                                         inflated copayments and coinsurance by overcharging for
                                                                         medical services and products, Neufeld v. Cigna Health and
                                                                         Life Insurance Company et al., Case No. 3:17-cv-01693.



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Ebony has a background in criminal justice and worked for            litigation teams in class action suits filed against Medtronic,
several years as a legal assistant for the New Hanover District      Inc, State Street Corp., Sprint Nextel Corp., and Advanced
Attorney’s Office and as a deputy clerk for the New Hanover          Micro Devices.
County Board of Commissioners prior to pursuing her law
                                                                     Prior to joining Motley Rice, Elizabeth served as a judicial law
degree. She gained additional legal experience while interning
                                                                     clerk for the Honorable Deadra L. Jefferson, Ninth Judicial
with the North Carolina Department of Justice during the
                                                                     Circuit. While in law school, Elizabeth was a member of the
summer of 2018 and is a former Motley Rice law clerk.
                                                                     Federal Courts Law Review, contributed more than 100 hours
                                                                     of pro bono service, and served as a judicial extern for the
E. Paige Boggs                                                       Honorable Thomas L. Hughston, Ninth Judicial Circuit.
LICENSED IN: DC, IL                                                  Active in her community, Elizabeth previously served on the
ADMITTED TO PRACTICE BEFORE: U.S. District Court for the             South Carolina Bar Diversity Committee, and has served
Northern and Southern Districts of Indiana, and the Northern         as an Election Commissioner for Beaufort and Summerville
District of Illinois                                                 municipalities, Beaufort County Council Library Board Trustee,
EDUCATION:                                                           and international missionary with Project Medishare and One
J.D., Indiana University Robert H. McKinney School of Law, 2009      World Health.
B.A., Tulane University, 2005
Paige Boggs represents public entities in complex litigation         ASSOCIATIONS:
involving consumer fraud, subprime auto lending and other            American Bar Association
matters.                                                             South Carolina Bar Association
                                                                     Charleston Bar Association
Her casework includes representing the Mississippi Attorney
General in litigation seeking to hold automotive financing
company Santander Consumer USA Holdings Inc., accountable            Grace P. Chandler
for allegedly fraudulent lending practices.                          LICENSED IN: SC
Prior to joining Motley Rice, Paige served as an Assistant           EDUCATION:
Attorney General and Supervising Attorney for the Illinois           J.D. cum laude, University of South Carolina School of Law,
Attorney General’s Office. While there, she led a coalition of       2019
State Attorneys General in combatting health fraud, and co-          B.A., Clemson University, 2015
led multiple executive committees for multistate investigations      Grace Chandler advocates for people who have suffered
and settlements involving public Fortune 500 companies. She          severe, life-altering health complications caused by dangerous
also assisted in investigations regarding mortgage servicing         and defective medical devices.
abuses and helped draft the National Mortgage Settlement in          Grace’s casework includes representing hernia patients alleging
2012.                                                                harm by mesh repairs involving Atrium Medical Corp.’s C-QUR
Previously, Paige served as a law clerk for the Consumer             mesh, Ethicon’s Physiomesh Flexible Composite hernia mesh,
Litigation Section of the Indiana Attorney General’s Office,         and C.R. Bard’s mesh products made of Marlex polypropylene.
where she received the Attorney General’s Award for Excellence       She also represents service members and contract workers
in Public Service.                                                   who served in Iraq and Afghanistan between 2003 and 2015 and
                                                                     later developed hearing loss or tinnitus allegedly caused by
                                                                     faulty earplugs manufactured by 3M and its predecessor Aearo
Elizabeth A. Camputaro                                               Technologies.
LICENSED IN: SC
                                                                     Grace completed a number of legal clerkships for medical
ADMITTED TO PRACTICE BEFORE:
                                                                     malpractice and insurance defense firms in South Carolina
U.S. Court of Appeals for the Federal and Fourth Circuits; U.S.
                                                                     prior to joining Motley Rice. As a law student, Grace served as
District Court for the District of South Carolina
                                                                     Managing Editor of the South Carolina Law Review, and was
EDUCATION:
                                                                     awarded both the Order of the Coif and the Order of the Wig
J.D. magna cum laude, Charleston School of Law, 2008
                                                                     and Robe in addition to being a CALI Award recipient. She is a
B.A., Columbia College, 2004
                                                                     former nationally ranked tennis player.
Elizabeth Camputaro is part of the team representing county
and municipal governments in litigation involving opioid             ASSOCIATIONS:
manufacturers and distributors for their alleged deceptive           South Carolina Association for Justice
marketing and fraudulent distribution of highly addictive opioids.   Charleston Bar Association
In addition, Elizabeth has several years of experience
representing institutional investors in complex securities
fraud and shareholder derivative matters, including serving on




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Moniqúe Alycia Christenson                                          and asylum-seekers in citizenship and immigration hearings
                                                                    before the United States Customs and Immigration Services.
LICENSED IN: SC
                                                                    She also gained experience as a law clerk for a North Carolina
ADMITTED TO PRACTICE BEFORE: U.S. District Court for the
                                                                    firm where she prepared documentation for social security
Southern District of West Virginia
                                                                    disability insurance hearings before the Employment Security
EDUCATION:
                                                                    Commission.
J.D., Charleston School of Law, 2018
B.A., Hawai’i Pacific University, 2013                              Active in student organizations, Meredith was a Moot Court
Moniqúe Alycia Christenson primarily represents government          Board Member, a semi-finalist in the Intramural Moot Court
entities in complex litigation designed to protect public health,   Competition and recipient of the Best Team Brief award. She
safety, and other interests.                                        served as a member of the Elon Law Review, President of
                                                                    the Women’s Law Association, and Founding Executive Vice
Moniqúe is part of the team representing dozens of
                                                                    President of the Family Law Society. In 2011, Meredith was
governmental entities, including states, counties, cities, towns,
                                                                    the recipient of the National Association of Women Lawyers
and townships in litigation targeting the alleged deceptive
                                                                    Outstanding Law Student Award.
marketing and over-distribution of highly addictive opioid
drugs, a contended cause of the nationwide opioid crisis.
                                                                    AWARDS AND ACCOLADES:
While in law school, Moniqúe worked for Motley Rice as a            Best Lawyers: Ones to Watch®
legal secretary, paralegal, and law clerk supporting multiple       2021 Product Liability Litigation – Plaintiffs
litigations across a range of practice areas including consumer
protection cases involving Volkswagen and Fiat Chrysler             ASSOCIATIONS:
emissions fraud, toxic exposure cases involving burn pits and       American Association for Justice
lead paint, as well personal injury cases involving faulty Takata   American Bar Association
airbags and medical devices such as transvaginal and hernia         South Carolina Association for Justice
meshes. Prior to joining Motley Rice, Moniqúe gained legal          South Carolina Women Lawyers Association
experience as a paralegal for a law firm in California where
she developed a respect for and fulfilment through the law
by providing her local community with estate planning, trust
                                                                    Michelle C. Clerkin
administration, and probate services.                               LICENSED IN: NJ, NY
                                                                    ADMITTED TO PRACTICE BEFORE:
ASSOCIATIONS:                                                       U.S. District Court for the Southern and Eastern Districts of
South Carolina Bar Association                                      New York, and the District of New Jersey
American Bar Association                                            EDUCATION:
                                                                    J.D., Benjamin N. Cardozo School of Law, 2010
Meredith Kay Clark                                                  B.A., University of Michigan, 2006
                                                                    Michelle Clerkin represents businesses, consumers, and others
LICENSED IN: DC, LA, NY, OH, SC                                     in complex antitrust litigation. She actively works to protect the
ADMITTED TO PRACTICE BEFORE:                                        rights of those harmed by violations of the federal and state
U.S. District Courts for the Eastern and Middle Districts of        antitrust laws, including price-fixing and monopolization.
Louisiana, Northern District of Ohio, District of South Carolina,
Western District of Wisconsin, and Southern District of Texas       Currently, Michelle is a member of litigation teams representing
EDUCATION:                                                          clients in diverse antitrust class actions in federal courts
J.D., Elon University School of Law, 2011                           around the country, spanning the pharmaceutical, financial
B.A., Elon University, 2008                                         and consumer product industries. She is a member of the
Meredith Clark litigates for people suffering from mesothelioma     Plaintiffs’ Steering Committee in the class action In re Juul
and other asbestos-related diseases resulting from exposure in      Labs, Inc. Antitrust Litigation., in the Northern District of
the workplace and secondhand exposure at home.                      California, for direct purchaser plaintiffs who were allegedly
                                                                    impacted by anticompetitive conduct by JUUL and global
Meredith brings a solid understanding of the legal and factual      cigarette manufacturer Altria. She also represents clients as a
issues critical to asbestos cases. She has coordinated the          member of the Plaintiffs’ Steering Committee in In re Chicago
drafting and filing of hundreds of motions and responses            Board Options Exchange Volatility Index Manipulation Antitrust
related to the maritime docket (MARDOC) in In re Asbestos           Litigation, pending in the Northern District of Illinois.
Products Liability Litigation (MDL 875), and has assisted on
numerous other matters involving toxic exposure.                    Michelle frequently moderates and speaks on panels concerning
                                                                    antitrust law including the following panels sponsored by the
While attending the Elon University School of Law, Meredith         Antitrust Law Section of the New York State Bar Association:
volunteered as a student attorney with the Elon Humanitarian
Immigration Law Clinic, where she represented refugees              • Antitrust Plus Factors, (February 27, 2019)
                                                                    • Becoming an Antitrust Attorney, (February 20, 2019)




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• Why Antitrust?, (June 20, 2018)                                    Jessica C. Colombo
• Antitrust in High-Speed: Colluding Through Algorithms and          LICENSED IN: CT, NY
  Other Technologies, (January 8, 2018)                              ADMITTED TO PRACTICE BEFORE:
• Becoming an Antitrust Lawyer, (March 10, 2016)                     U.S. Court of Appeals for the Second Circuit, U.S. District
Prior to joining Motley Rice, Michelle represented clients           Court for the District of Connecticut
in complex antitrust, consumer protection, securities and            EDUCATION:
commercial litigation matters, including a number of class           J.D. with high honors, University of Connecticut School of Law,
actions, at other New York litigation firms.                         2017
                                                                     B.A. cum laude, State University of New York at New Paltz, 2014
While completing her legal studies, Michelle interned for the        Jessica Colombo works to deter misconduct and fraud by
Federal Trade Commission’s Northeast Regional Office and the         representing individuals and institutional investors in complex
U.S. Court of International Trade.                                   securities and consumer protection class actions. In addition,
                                                                     Jessica’s practice includes representing whistleblowers in
AWARDS AND ACCOLADES:
                                                                     cases involving the False Claims Act, and she contributes to the
New York Metro Super Lawyers® Rising Stars list
                                                                     firm’s appellate practice. She is also a part of the firm’s team
2015–2020 Antitrust
                                                                     that represents dozens of governmental entities, including
ASSOCIATIONS:                                                        states, cities, towns, counties and townships in litigation against
American Bar Association, Section of Antitrust Law                   several pharmaceutical drug manufacturers and distributors
New York State Bar Association, Antitrust Law Section,               for the alleged deceptive marketing and distribution of highly
Executive Committee Member                                           addictive prescription opioids.
                                                                     Prior to joining Motley Rice, Jessica served as a law clerk to
Dennis A. Costigan                                                   the Honorable Bethany J. Alvord of the Connecticut Appellate
                                                                     Court. She gained additional experience in complex consumer
LICENSED IN: MA, RI                                                  fraud and product liability litigation while serving as a Motley
EDUCATION:                                                           Rice law clerk in 2016. She also interned with the U.S. Attorney’s
J.D., Roger Williams University School of Law, 2013                  Office for the District of Connecticut.
B.A. cum laude, University of Rhode Island, 2009
Dennis Costigan litigates for patients suffering from the painful,   While completing her legal studies, Jessica served as Executive
life-altering injuries associated with allegedly faulty medical      Editor of the Connecticut Law Review, a member of the Public
devices and works to hold accountable those responsible for          Interest Law Group, and a volunteer with the International
inadequate product testing, research and warning.                    Refugee Assistance Project. She also represented criminal
                                                                     defendants in the University of Connecticut School of Law
While in law school, Dennis served as a legal intern with the        Criminal Trial Clinic. She received multiple CALI awards
Rhode Island Department of Health and Human Services                 in Lawyering Process, Torts, Estate Plan/Tax Practice, and
performing detailed discovery and research into departmental         Trademark Law.
legislation, including Medicare bankruptcy claims research. He
also acquired research and writing experience as an intern at a      Jessica previously worked as a toll collector for the New York
Rhode Island law firm and as a law clerk for Motley Rice.            State Thruway Authority, where she was a member of the
                                                                     International Brotherhood of Teamsters, Local 72.
Dennis draws from a history of involvement in federal, state and
local election campaigns, and was acknowledged with a CALI           ASSOCIATIONS:
Excellence for the Future award in Judicial Behavior and Social      American Bar Association
Change during law school.                                            Connecticut Bar Association
AWARDS AND ACCOLADES:
Best Lawyers: Ones to Watch®
2021 Product Liability Litigation – Plaintiffs




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Sara O. Couch                                                         Natalie Deyneka
LICENSED IN: FL, SC                                                   LICENSED IN: SC, WV
ADMITTED TO PRACTICE BEFORE: U.S. District Court for the              ADMITTED TO PRACTICE BEFORE:
Middle District of Florida, District of South Carolina                U.S. District Court for the Southern District of West Virginia
EDUCATION:                                                            EDUCATION:
J.D., University of North Carolina School of Law, 2013                J.D. with honors, University of North Carolina School of Law,
A.B., Duke University, 2009                                           Chapel Hill, 2015
Sara Couch contributes to litigation across several of the firm’s     B.A., University of North Carolina, Chapel Hill, 2010
practice areas, including defective medical devices, toxic            Natalie Deyneka works to hold industries and corporations
exposure, consumer protection, tobacco, and the opioid crisis.        accountable through the civil justice system in support of
                                                                      public clients, while also advocating for health and safety
Having been a member of a number of trial teams with the firm,
                                                                      improvements in the workplace for workers and families
Sara has helped achieve multiple plaintiff verdicts for tobacco
                                                                      suffering from asbestos-related diseases.
victims, in addition to contributing to a multi-million verdict for
victims of toxic lead paint exposure.*                                Natalie is a part of Motley Rice’s team that represents dozens of
                                                                      governmental entities, including states, counties, cities, towns,
Sara is also part of the opioid litigation team representing
                                                                      and townships in litigation targeting the alleged deceptive
dozens of governmental entities, including states, cities,
                                                                      marketing and over-distribution of highly addictive opioid
towns, counties and townships in litigation targeting the
                                                                      drugs, a contended cause of the nationwide opioid crisis.
alleged misrepresentation and fraudulent distribution of
harmful and addictive prescription opioids by manufacturers           She also has experience representing workers and their families
and distributors. She has additional experience representing          in a number of asbestos-related cases, assisting in drafting
women who’ve suffered devastating effects allegedly caused            motions and responses and conducting extensive research.
by defective medical products including Essure® permanent             Before joining Motley Rice, Natalie interned with the Human
birth control and transvaginal mesh.                                  Rights First Refugee Protection Program in New York and
Prior to joining Motley Rice, Sara served as a law clerk with the     served as a regular volunteer at the Durham Crisis Response
North Carolina Department of Justice, where she researched            Center, focusing on assisting victims of domestic violence and
and drafted briefs and memoranda regarding the False Claims           sexual assault.
Act and Stark Law for the North Carolina Medicaid Civil               While at the University of North Carolina School of Law,
Enforcement Division. She also investigated allegations of            Natalie served as president of the school’s Immigration Law
healthcare fraud and presented findings to the division.              Association and served on the Carolina Student Legal Services’
During law school Sara was a certified student practitioner           Board of Directors. She also volunteered as co-chair and
with the University of North Carolina Civil Litigation Clinic. As a   logistics coordinator with the UNC Law student organization
student practitioner, Sara represented clients in administrative      “The Conference on Race, Class, Gender and Ethnicity,” where
hearings, obtaining successful outcomes and needed relief. She        she helped organize a large-scale public conference to address
also represented several inmates in an action against the North       social justice issues. She also served as a research assistant to
Carolina prison system, conducting depositions and assisting          UNC Law Professors Maxine Eichner and Deborah Weissman.
in obtaining a preliminary injunction against the prison.             Natalie is fluent in her native Russian and speaks advanced French.
Sara also volunteered with Legal Aid of North Carolina, assisting
advocates for Children’s Services with a school-to-prison             AWARDS AND ACCOLADES:
pipeline project by researching education policy issues, North        Best Lawyers: Ones to Watch®
Carolina case law and education data to be used in education          2021 Product Liability Litigation – Plaintiffs
litigation. Sara completed a total of 50 hours of pro bono service
while a student at UNC School of Law.                                 ASSOCIATIONS:
                                                                      Charleston County Bar Association
Active in her community, Sara currently serves on the Board of
Directors for East Cooper Habitat For Humanity, as well as Slow
Food Charleston. Sara also is part of the Roper St. Francis Xavier
Society, which supports Roper Rehabilitation Hospital. An avid
rower, Sara was a varsity member of the NCAA Division-I Duke
University’s rowing team and is a classically trained pianist.




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Elizabeth Cooke Elsner                                                Ann E. Rice Ervin
Counsel                                                               LICENSED IN: SC
LICENSED IN: NC, SC                                                   ADMITTED TO PRACTICE BEFORE:
ADMITTED TO PRACTICE BEFORE:                                          U.S. District Court for the District of South Carolina
U.S. District Court for the Middle, Eastern and Western               EDUCATION:
Districts of North Carolina and District of South Carolina            M.A., New York University, 2012
EDUCATION:                                                            J.D., University of South Carolina School of Law, 2009
J.D. cum laude, University of South Carolina School of Law,           B.A., University of South Carolina, 2006
1999                                                                  Ann E. Rice Ervin represents victims faced with unexpected
B.A., University of North Carolina at Chapel Hill, 1995               health complications caused by harmful pharmaceutical drugs
Liza Elsner’s practice ranges from helping clients injured by acts    and defective medical devices. Through the pursuit of complex
of corporate negligence to seeking improvements in worker             medical mass tort litigation, Ann works to hold accountable
and environmental health and safety. She was heavily involved         those responsible for corporate wrongdoing and inadequate
in the firm’s consultation work for South African human rights        product warning, research and testing.
lawyer Richard Spoor in bringing historic litigation: seeking         Ann’s advocacy for the vulnerable includes representing
justice for tens of thousands of gold mine workers suffering          children who developed defects in utero after their mothers
from silicosis. Few class actions have been brought in South          took Zofran® to treat pregnancy-related nausea and vomiting.
Africa, and the litigation was the first of its kind filed for sick   She also represents patients who were diagnosed with
workers in the country’s history. A settlement was reached            melanoma after taking Viagra®, Cialis or other PDE5 Inhibitors to
for injured miners and their dependents in May 2018, which if         treat erectile dysfunction and pulmonary arterial hypertension,
approved by the Court will provide meaningful compensation            a type of blood pressure condition.
to thousands of gold mineworkers with silicosis.
                                                                      In addition, Ann has played an instrumental role in the firm’s
Liza was also part of the team representing individual                handling of pharmaceutical litigation regarding medical drugs
smokers and families of deceased smokers against tobacco              Zoloft®, Lipitor® and Actos® as well as dialysis products
manufacturers in the Engle-progeny litigation pending in              GranuFlo® Powder and NaturaLyte® Liquid acid concentrates.
Florida.
                                                                      Ann joined Motley Rice as an associate after first serving for
Liza redirected her career to plaintiffs’ law after working           two years as a law clerk for a New York plaintiffs’ law firm
several years with large defense firms. At Motley Rice, she           while simultaneously earning a Master of Arts degree in
has represented welders harmed as a result of corporate               Bioethics from New York University. As a law clerk, she gained
malfeasance and conducted client relations and trial                  experience conducting legal research and analysis for complex
preparation for welding rod cases. In 2008, Liza was a member         environmental litigation involving landfills, toxic spills, vapor
of the trial team that obtained the first welding fume plaintiff      intrusion and water contamination. The combination of her
verdict in Mississippi state court since 2003.                        legal skills and knowledge of the bioethics field, specifically as
Liza has advocated for domestic violence victims’ rights by           it relates to the world of medicine, is an asset in litigation on
participating in training programs and pro bono litigation. She       behalf of medical clients.
served as articles editor for the South Carolina Law Review           While earning her bioethics degree, Ann interned with the Ethics
while a law student at the University of South Carolina School        Committee and Ethics Consultation Service at the Medical
of Law and is a member of the Order of the Wig and Robe.              University of South Carolina, which she joined in 2012 as a
                                                                      Community Representative to help facilitate discussions among
AWARDS AND ACCOLADES:                                                 patients, families and hospital staff in an effort to resolve ethical
Public Justice Foundation                                             conflicts. She continues to be involved with the Committee as a
2016 Trial Lawyers of the Year                                        complement to her work in the legal field. In 2011 and 2012, Ann
                                                                      worked as a research assistant on an experimental philosophy
                                                                      study determining the role of bioethics in clinicians’ moral
                                                                      reasoning, specifically examining clinicians at three Charleston
                                                                      hospitals. This project was ultimately chosen to be part of Yale
                                                                      University’s Experiment Month contest.
                                                                      During law school, Ann worked as an intern for Washington
                                                                      Governor Christine O. Gregoire. She also served as a summer
                                                                      special project research assistant with Duke University School
                                                                      of Law and focused her research on exploring whether the law
                                                                      imposes barriers or obligations to medical providers who wish
                                                                      to treat illegal immigrants for ethical reasons.




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Ann currently serves as a faculty member at the Medical              and insurance claims. She served as a judicial intern to the
University of South Carolina as part of the distinguished Clinical   Honorable Linda Ann Wells of Florida’s Third District Court
and Translational Research Ethics Fellowship program, where          of Appeals, and worked as a compliance intern for a South
she regularly speaks. She also has spoken regarding women’s          Carolina health care provider network where she researched
leadership in litigation, including being a part of the Women’s      and monitored compliance with HIPAA and other federal
Panel at Mass Torts Made Perfect. She has volunteered for            healthcare regulations.
organizations that include the Palmetto Health Richland
                                                                     Rebecca is fluent in Spanish and French.
Memorial Hospital, Relay-for-Life, Meals on Wheels, The Angel
Tree and Project Clean Carolina. She also actively supports the      ASSOCIATIONS:
Dee Norton Child Advocacy Center and the Medical University          Charleston County Bar Association
of South Carolina Children’s Hospital. An equestrian since 1988      Hispanic National Bar Association
and national level competitor in the hunters/jumpers division
since 1994, she has been ranked nationally in her division for
the past 20 years.                                                   Max N. Gruetzmacher
                                                                     LICENSED IN: SC
AWARDS AND ACCOLADES:                                                ADMITTED TO PRACTICE BEFORE:
Law360                                                               U.S. District Court for the District of South Carolina, and the
2020 Rising Stars list Product liability                             Northern District of Illinois
South Carolina Super Lawyers® Rising Stars list                      EDUCATION:
2019 Personal injury–products: plaintiffs                            J.D., Marquette University Law School, 2008
                                                                     B.A., University of Wisconsin-Madison, 2004
ASSOCIATIONS:                                                        Max Gruetzmacher focuses his practice on securities and
American Bar Association                                             consumer fraud, representing large public pension funds,
American Association for Justice                                     unions and other institutional investors in securities and
South Carolina Association for Justice                               consumer fraud class actions and shareholder derivative suits.
Charleston County Bar Association                                    Max has represented numerous clients in a variety of complex
South Carolina Bar Association                                       civil litigation matters. He has substantial experience managing
                                                                     litigation discovery efforts and shaping e-discovery strategy,
Rebecca A. Fonseca                                                   including drafting and negotiating sophisticated e-discovery
LICENSED IN: SC                                                      protocols. Max is proficient in the use of predictive coding and
ADMITTED TO PRACTICE BEFORE:                                         other advanced analytic technologies and workflows.
U.S. District Court for the District of South Carolina               Previously, he served as a legal intern during law school for the
EDUCATION:                                                           Wisconsin State Public Defender, Appellate Division, where he
J.D., Emory University School of Law, 2016                           aided in appellate criminal defense and handled legal research
B.H.S. magna cum laude, University of Florida, 2013                  and appellate brief writing projects.
Rebecca Fonseca represents communities impacted by
groundwater contamination and other toxic exposures                  ASSOCIATIONS:
allegedly caused by the wrongful disposal of PFAS chemicals.         South Carolina Bar Association
                                                                     Charleston County Bar Association
Rebecca is involved in multidistrict litigation alleging severe
health complications and environmental harms associated with
the use of firefighting Aqueous Film-Forming Foams (AFFF),
which contain PFAS. She also litigates on behalf of Michigan
communities against the 3M Company and Wolverine World
Wide, Inc, for allegedly causing irreparable damage to the
environment and human health through the manufacture and
wrongful disposal of PFAS-containing products.
In addition to her toxic exposure casework, Rebecca is also
involved in litigation regarding the alleged deceptive marketing
and distribution of opioids.
While completing her legal studies, Rebecca served as a
managing editor for the Emory Bankruptcy Developments
Journal and interned for law firms in Atlanta and Miami where
she conducted research related to medical malpractice




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John (Rett) E. Guerry III                                                Jennifer G. Guy
LICENSED IN: SC                                                          LICENSED IN: AZ, GA, SC
ADMITTED TO PRACTICE BEFORE:                                             EDUCATION:
U.S. District Court for the District of South Carolina                   J.D., The George Washington University School of Law, 1995
EDUCATION:                                                               B.A., University of Colorado, Boulder, 1991
J.D., University of South Carolina School of Law, 1993                   Jennifer Guy’s casework crosses many of the firm’s practice
B.A., College of Charleston, 1990                                        areas, including representing people and businesses impacted
Charleston native Rett Guerry represents railroad and other              by environmental negligence, government entities seeking
industrial workers in personal injury, products liability and            to advance public health interests, and patients who suffered
Federal Employers Liability Act (FELA) litigation. He currently          complications caused by defective medical drugs and devices.
manages the firm’s FELA cases, representing workers in                   Jennifer is part of a team that represents dozens of governmental
occupational injury lawsuits, including cases of exposure to             entities, including states, cities, towns, counties and townships
asbestos, silica and chemical solvents. He is on the forefront of        in litigation against several pharmaceutical drug manufacturers
second injury FELA litigation, addressing the development of a           and distributors for the alleged deceptive marketing of highly
second injury or disease in former FELA plaintiffs.                      addictive opioids. She also represents people and businesses
Rett litigates asbestos occupational exposure cases on behalf            affected by the BP Deepwater Horizon oil spill in the Gulf of
of individuals suffering from mesothelioma and other asbestos-           Mexico.
related diseases. As Plaintiffs’ Liaison Counsel for the Fulton          As a former small business owner, Jennifer understands the
County State Court Asbestos Consolidation in Georgia, Rett               complexities and personal investment involved in small business
remains involved with the Fulton County asbestos docket,                 litigation. Before joining Motley Rice, she spent almost a decade
filing new cases, and working through the consolidation                  as a consultant for a multi-service small business management
to trial. With more than 12 years of experience in asbestos              company, working with a variety of businesses ranging from
litigation, his role as a trial lawyer and negotiator emphasizes         nonprofits to national software companies. She worked in
the product identification aspect of occupational disease law            product liability law and later as a financial consultant for a global
and demonstrates an in-depth knowledge of the medical and                wealth management provider. She also audited and monitored
scientific aspects of occupational disease.                              all business activities for compliance with National Association
Familiar with the life of an industrial worker, Rett served as a         of Securities Dealers (NASD) and Securities and Exchange
United States Coast Guard licensed tugboat captain prior to              Commission (SEC) requirements for a privately held bank.
his law career, earning a commendation from the Department               While attending law school, Jennifer was a member of the
of the Navy for Meritorious Service to the Charleston Naval              George Washington International Law Review and served as a
Shipyard during Hurricane Hugo. He is a published writer on              law clerk for William T. Newman, Jr., Chief Judge of Virginia’s
maritime law and the author of Maritime Wrongful Death: A                17th Circuit. She currently volunteers her time as a mentor with
Primer, a piece published in The University of South Carolina            the Cherie Blair Foundation, a non-profit seeking to empower
School of Law’s South Carolina Journal of International Law and          women through entrepreneurship and financial independence.
Business that explores the potential legal options available to
those injured in a maritime setting with specific reference to the       ASSOCIATIONS:
High Seas Act, Jones Act, Longshoreman and Harbor Workers’               Georgia State Bar Association
Compensation Act and General Maritime Law.                               American Association for Justice
Recognized as an AV® rated attorney in Martindale-Hubbell®,              South Carolina Bar Association
Rett is active in the local Charleston community as a member of
the Hibernian Society and St. Paul’s Lutheran Church. He served
as a member of the Board of Directors for the Cougar Club at
the College of Charleston from 2000 to 2006.

AWARDS AND ACCOLADES:
The Legal 500 United States, Litigation edition
2017 Mass tort and class action: plaintiff representation – toxic tort

ASSOCIATIONS:
American Association for Justice
American Bar Association
Charleston County Bar Association
South Carolina Association for Justice
• Although it endorses this lawyer, The Legal 500 United States
  is not a Motley Rice client.



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Sarah T. Hansel                                                     ASSOCIATIONS:
                                                                    American Association for Justice 2018 AAJ Leadership
LICENSED IN: NJ, NY, PA
                                                                    Academy
ADMITTED TO PRACTICE BEFORE: U.S. District Court for the
                                                                    Public Justice Foundation Case Development Committee
Eastern District of Pennsylvania and the District of New Jersey
EDUCATION:                                                          *Motley Rice LLC, a South Carolina Limited Liability Company,
J.D. magna cum laude, New York Law School, 2013                     is engaged in the New Jersey practice of law through Motley
B.F.A., New York University, 2008                                   Rice New Jersey LLC. Esther Berezofsky attorney responsible
Sarah Hansel represents clients in complex environmental,           for New Jersey practice.
consumer, pharmaceutical and medical device litigation. Much
of her practice centers on litigating cases in state and federal    Lee M. Heath
trial and appellate courts for individuals and communities
impacted by toxic environmental exposures.                          LICENSED IN: SC
                                                                    ADMITTED TO PRACTICE BEFORE: U.S. District Court for the
Sarah is actively involved in the firm’s representation of          District of South Carolina
thousands of individuals in Flint, Mich., who were significantly    EDUCATION:
harmed after their drinking water was contaminated with lead        J.D., University of South Carolina School of Law, 2005
and other harmful substances. She has also taken a lead role        M.S., Medical University of South Carolina, 1997
in the firm’s representation of several communities in Kent         B.S., College of Charleston, 1995
County, Mich., following the contamination of their drinking        Lee Heath represents victims who have suffered catastrophic
water with per-and poly-fluoroalkyl substances. Clients have        injuries caused by vehicle defects, commercial and industrial
described her as thoughtful, kind, and hardworking.                 equipment, work site injuries, vehicle accidents, medical
Prior to joining Motley Rice, Sarah worked as an associate for      malpractice as well as victims affected by corporate misconduct
a New Jersey law firm where she represented plaintiffs across       and consumer fraud.
the country in a variety of complex matters, with an emphasis       Her casework includes furthering litigation for people allegedly
on environmental litigation and claims against pharmaceutical       harmed by defective airbags manufactured by Takata and
and medical device manufacturers. At the onset of her legal         others. She represents people who have been harmed by
career, Sarah clerked for the Honorable Joel H. Slomsky, U.S.       shrapnel from exploding airbags, as well as those injured when
District Judge for the Eastern District of Pennsylvania. She also   an airbag failed to deploy. She is also involved in cases where
worked for an international law firm where she represented          the airbag deployed in a manner that caused unexpected
Fortune 500 companies in labor, employment, commercial and          injuries, including leg injuries from knee airbags in Toyota and
data breach litigation.                                             Lexus vehicles. Additionally, she represents consumers in a
A frequent public speaker, Sarah has contributed to legal           class action for owners of Volkswagen and Audi vehicles who
conferences and seminars across the country on matters              allege they were victims of odometer fraud, and illegally sold
related to employment law and toxic exposure. Active in her         pre-production vehicles that the manufacturers claimed were
community, Sarah serves as the President of the Philadelphia        certified pre-owned. She also represents Volkswagen and Audi
Young Democrats, the first woman elected to this position. She      owners who experienced engine damage allegedly caused by
is also an appointed Election Board Official in Philadelphia.       timing chain tensioner defects.
For her contributions to the city, in 2021 she was selected as      Prior to joining Motley Rice, Lee worked on cases related
a recipient of the Rising Star Award by City Councilmember          to construction defects at a South Carolina firm. She also
Katherine Gilmore Richardson. In 2018, she was selected as a        contributed to complex environmental litigation, including
Philadelphia New Leaders Council Fellow.                            serving as a law clerk for the Department of Health and
                                                                    Environmental Control.
SELECTED PUBLICATIONS:
• Mark S. Goldstein and Sarah T. Hansel, ‘Predictable               She worked for several years as a project manager over multi-
  Scheduling’ – The Next Big Legislative Trend?, LAW360 (Dec.       million dollar accounts for a South Carolina-based chemistry and
  1, 2015).                                                         radiochemistry testing laboratory before pursuing a career in law.
• Joel S. Barras and Sarah T. Hansel, ‘Tis the Season: Spruce
  Up Your Electronic-Use Policies in Time for Cyber Monday,         ASSOCIATIONS:
  FORBES (Nov. 24, 2014).                                           American Association for Justice
• Sara A. Begley, Julia Y. Trankiem and Sarah T. Hansel,            South Carolina Association for Justice
  Employers Using Personality Tests To Vet Applicants Need          Attorneys Information Exchange Group
  Cautious ‘Personalities’ of Their Own, FORBES (Oct. 30, 2014).
• Joel S. Barras and Sarah T. Hansel, The Fight Against Ebola:
  How Employers Can Join the Front Lines, FORBES (Oct. 17,
  2014).




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Kristen M. Hermiz                                                    Ashley J. Hornstein
LICENSED IN: MA, RI, SC                                              LICENSED IN: RI
ADMITTED TO PRACTICE BEFORE:                                         ADMITTED TO PRACTICE BEFORE:
U.S. District Court for the Northern District of Ohio, District of   U.S. District Court for the District of Rhode Island
Rhode Island, District of South Carolina                             EDUCATION:
EDUCATION:                                                           J.D., Roger Williams University School of Law, 2012
J.D., magna cum laude, Roger Williams University School of           B.A., University of Kansas, 2008
Law, 2010                                                            Ashley Hornstein represents people and families suffering from
B.A., magna cum laude, University of Connecticut, 2007               mesothelioma and other asbestos-related diseases caused
Kristen Hermiz represents clients in complex multidistrict           by occupational, environmental and household asbestos
litigation in state and federal court. She also represents cities    exposure, as well as victims of lead poisoning and other toxic
and counties, state attorneys general, and other entities in         environmental exposures.
order to advance public health. Kristen also advocates for
                                                                     Ashley began working with Motley Rice as a law clerk in 2010,
patients injured by dangerous and defective medical products.
                                                                     supporting various trial teams in their efforts to hold major
Kristen currently represents multiple governmental entities          corporations accountable. She contributed legal research
in litigation against manufacturers and distributors of highly       and case preparation for litigation against C.R. Bard claiming
addictive opioid drugs. She also represents hernia patients in       defective medical devices, and Georgia-Pacific for claims of
state and federal court who allege mesh repairs harmed them.         asbestos-related diseases caused by asbestos exposure.
Kristen’s other clients include people who developed                 In 2013, Ashley joined the firm as an attorney focusing on
mesothelioma and other asbestos-related diseases caused by           illnesses and injuries caused by toxic exposure.
occupational, environmental or household asbestos exposure.
On behalf of asbestos victims and their families, she has sued       AWARDS AND ACCOLADES:
manufacturers, property owners and contractors who sold or           Best Lawyers: Ones to Watch®
installed defective or hazardous asbestos-containing products.       2021 Product Liability Litigation – Plaintiffs
Prior to joining Motley Rice, Kristen was an associate for the       ASSOCIATIONS:
Providence City Solicitor’s Office, arguing motions in various       American Association for Justice
civil actions for the city of Providence and handling housing,       Rhode Island Association for Justice
zoning, employment and civil rights litigation.                      Rhode Island Bar Association
A Roger Williams Scholarship recipient and CALI Award winner,        Rhode Island Women’s Bar Association
Kristen served as a member of The Roger Williams University
Law Review and was a legal intern for the Honorable Daniel A.        Shalom D. Jacks
Procaccini of the Rhode Island Superior Court. Also a judicial
                                                                     LICENSED IN: SC
extern for the Honorable Jacob Hagopian of the U.S. District Court
                                                                     EDUCATION:
for the District of Rhode Island, Kristen drafted judicial reports
                                                                     J.D., University of South Carolina School of Law, 2015
and made recommendations for pro se prisoner petitions. While
                                                                     B.B.A., Brenau University, 2007
in law school, Kristin was a law clerk for the Office of the Vice
                                                                     Shalom Jacks seeks justice for workers and families who are battling
President & General Counsel at Brown University and a research
                                                                     debilitating occupational illnesses, including mesothelioma and
assistant to law professor Edward Eberle and retired Rhode
                                                                     other asbestos-related diseases, as well as severe workplace
Island Superior Court Justice Stephen Fortunato. For retired
                                                                     injuries caused by corporate negligence and malfeasance.
Justice Fortunato, she researched statutory and case law for a
constitutional law manuscript involving race, poverty, gender         Specifically, Shalom advocates for victims of asbestos-related
discrimination and civil rights reform efforts.                      diseases by helping clients navigate requirements in complex
                                                                     bankruptcy claim audits.
ASSOCIATIONS:
                                                                     Prior to joining Motley Rice, Shalom gained legal experience as an
Rhode Island Bar Association
                                                                     extern for the 11th Circuit Public Defender’s Office in Lexington,
South Carolina Bar Association
                                                                     S.C., where she performed legal research and discovery for a
AWARDS AND ACCOLADES:                                                variety of criminal proceedings. She served as an intern for U.S.
The National Trial Lawyers                                           District Judge Richard Gergel, for the District of South Carolina.
2020 Top 100 Civil Plaintiff Trial Lawyers™: South Carolina          Shalom also gained experience in matrimonial law as an intern
                                                                     with a law firm in Summerville, S.C.
                                                                     While pursuing her legal studies, Shalom advocated for victims
                                                                     of domestic violence as a member of Voices Against Violence, an
                                                                     American Bar Association Young Lawyers Division program.




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In addition to her work with Motley Rice, Shalom investigates      for Women and Families in the Financial Literacy Education
claims of dishonest conduct as a member of the Lawyer’s Fund       Program, where she served as a certified counselor with The
for Client Protection of the South Carolina Bar and helps obtain   Benefit Bank.
compensation for victims. She also serves as an advocate for
                                                                   While pursuing her studies at the University of North Carolina
neglected and abused children as a Guardian Ad Litem.
                                                                   School of Law, Annie served as a published staff member on
                                                                   the First Amendment Law Review and as vice president of the
ASSOCIATIONS:
                                                                   Carolina Public Interest Law Organization. She also contributed
American Bar Association
                                                                   more than 100 hours in the Pro Bono Program there, through
South Carolina Bar Association, Lawyer’s Fund for Client
                                                                   which she prepared tax returns for low-income citizens
Protection
                                                                   and researched and provided social work policy and legal
Charleston County Bar Association
                                                                   perspective related to minors’ rights after sexual assault for a
                                                                   guidebook from the NC Coalition Against Sexual Assault.
Annie E. Kouba
                                                                   Annie serves on the board of the Green Heart Project, a
LICENSED IN: SC                                                    volunteer-assisted service-learning organization connecting
ADMITTED TO PRACTICE BEFORE:                                       children living in food deserts with school gardens, healthy
U.S. District Court for the District of South Carolina             produce, and mentors.
EDUCATION:
J.D., University of North Carolina School of Law, 2016             AWARDS AND ACCOLADES:
M.S.W., University of North Carolina School of Social Work,        South Carolina Bar Leadership Academy
2016                                                               Class of 2019
B.A., magna cum laude, Lenoir-Rhyne University, 2012
Annie Kouba represents institutional investors in securities       ASSOCIATIONS:
fraud and shareholder litigation as well as public clients and     American Association for Justice, Political Action Committee
government entities. Annie also advocates for survivors of         Task Force
childhood sexual abuse who wish to seek justice through the        South Carolina Association for Justice
civil court system.
She is a part of Motley Rice’s team of attorneys that represents   W. Taylor Lacy
dozens of cities, towns, counties and townships in the National    LICENSED IN: SC
Prescription Opiate MDL against opioid manufacturers,              ADMITTED TO PRACTICE BEFORE:
distributors and pharmacies for alleged deceptive marketing,       U.S. Court of Appeals for the Second Circuit, U.S. District
fraudulent distribution and other business practices that          Court for the Western District of Arkansas and the District of
contributed to the opioid crisis. Additionally, she represents     South Carolina
several municipalities in litigation against multiple large        EDUCATION:
telecommunications companies for alleged under-billing and         J.D., University of South Carolina School of Law, 2006
under-remittance of 911 fees those municipalities depend upon      B.A., University of Virginia, 2003
to fund their emergency systems.                                   Taylor Lacy focuses his practice on catastrophic injury
As an advocate for survivors of childhood sexual abuse, Annie      and products liability litigation against diverse corporate
represents abused former Boy Scouts in their Boy Scouts of         defendants.
America bankruptcy claims. She also litigates under newly          Taylor litigates for victims harmed by defective consumer
enacted “window” laws that extend the number of years              products, hazardous substances, fires and premises liability
available for childhood sexual abuse survivors to file claims by   incidents, catastrophic motorcycle, automotive and trucking
opening a statute of limitations for a finite period of time.      collisions, as well as occupational accidents involving
Prior to joining Motley Rice, Annie interned with the North        industrial equipment and chemical exposure. His practice also
Carolina Department of Justice in the Health and Human             includes representing people who developed non-Hodgkin’s
Services Division where she drafted criminal briefs for the        Lymphoma and allege the glyphosate in Monsanto’s weed killer
N.C. Court of Appeals and N.C. Supreme Court, and assisted         Roundup® caused their cancer. Taylor previously served on the
the president of the American Association of Public Welfare        team that secured a jury verdict against SAR Automation, L.P.,
Attorneys. She also interned with the EMILY’s List Political       for $8.8 million for the wrongful death of a Boeing worker who
Opportunity Program and has worked as a voir dire consultant.      fell at work and left behind a widow and two small children. He
                                                                   also has significant experience helping victims recover losses
Annie concentrated in Community, Management, and Policy            incurred from environmental disasters such as the Deepwater
Practice at the University of North Carolina’s School of           Horizon oil spill.
Social Work Master’s program where she specialized in the
intersection of public policy and the law. Through a practicum     Taylor is a member of the American Public Health Association
with the program, Annie interned with the Compass Center           and presented at their 2019 annual convention in Philadelphia.
                                                                   In 2020, he became a member of the South Carolina Bar



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Association’s Practice and Procedure Committee. As a member         and Entertainment Law Journal, as the President of Phi Alpha
of that committee, he focuses on improving the operation of the     Delta, the Vice President of Communications of ABLE (Action
judicial system as well as studies and makes recommendations        for a Better Living Environment), and on the Policy Council for
regarding the rules and law pertaining to practice and              the Black Law Student Association.
procedure.                                                          Active in her community, Tope serves as the President of the
As a law student, Taylor served as student research editor of the   Green Heart Project board, a volunteer-assisted service-
A.B.A. Real Property, Trust & Probate Journal, received multiple    learning organization that integrates school farms as outdoor
CALI awards and was inducted into the Order of the Wig and          classrooms and connects students to fresh locally-grown
Robe. He studied comparative law and history at University          produce. As a Charleston Legal Access board member, she
College, Oxford and the University of Virginia, and transnational   works to expand access to legal services and rights, and
dispute resolution at Gray’s Inn in London. Taylor was a research   in 2021, she was appointed to the South Carolina Access to
assistant and student editor for Carolina Distinguished Professor   Justice Commission by Chief Justice Donald W. Beatty of the
of Law David G. Owen, assisting with the final preparations of      South Carolina Supreme Court. This commission was created
Professor Owen’s Products Liability Law treatise.                   by the court in recognition of the need to expand access to
                                                                    civil legal representation for people of low income and modest
ASSOCIATIONS:                                                       means. Tope previously served on the Board for the Charleston
American Association for Justice                                    Habitat for Humanity as well as the board of Charleston HALOS,
American Bar Association                                            supporting and advocating for abused and neglected children
South Carolina Bar Association, Practice and Procedure              and kinship caregivers.
Committee 2020–2021
Charleston County Bar Association                                   AWARDS AND ACCOLADES:
South Carolina Association for Justice                              Best Lawyers: Ones to Watch®
                                                                    2021 Mass Tort Litigation / Class Actions - Plaintiffs; Personal
Temitope O. Leyimu                                                  Injury Litigation - Plaintiffs; Product Liability Litigation –
                                                                    Plaintiffs
LICENSED IN: DC, SC
ADMITTED TO PRACTICE BEFORE:                                        South Carolina Super Lawyers® Rising Stars list
D.C. Court of Appeals; U.S. District Court for the District of      2017–2021 Personal injury–general: plaintiff
South Carolina                                                      South Carolina Bar Leadership Academy
EDUCATION:                                                          Class of 2018
J.D., University of Virginia School of Law, 2013
B.A. with honors, University of Central Florida, 2009               ASSOCIATIONS:
Tope Leyimu focuses her practice on helping people                  American Association for Justice
catastrophically hurt or killed as a result of corporate            American Bar Association
wrongdoing, occupational hazards and environmental                  South Carolina Bar Association
negligence. Tope also represents government entities in             South Carolina Association for Justice, Chair – Women’s
complex litigation designed to protect public health and safety.    Caucus
                                                                    South Carolina Supreme Court Access to Justice Commission
She is a part of the firm’s team representing dozens of
                                                                    Charleston County Bar Association
governmental entities, including states, counties, cities, towns,
and townships in litigation targeting the alleged deceptive
marketing and over-distribution of highly addictive opioid          Alexis N. Lilly
drugs, a contended cause of the nationwide opioid crisis. She       LICENSED IN: SC
also has experience representing workers and their families in      EDUCATION:
a number of occupational disease cases.                             J.D. cum laude, American University Washington College of
While a law student at the University of Virginia School of         Law, 2020
Law, Tope interned with the Legal Aid Justice Center of             B.A. magna cum laude, The Ohio State University, 2017
Charlottesville, Virginia, providing legal representation for       Alexis Lilly protects public entities, institutional investors and
low-income individuals and families in the areas of housing         individuals through complex litigation targeting corporate
and employment law, and worked as a law clerk at a firm in          negligence and misconduct.
Jacksonville, Florida, on wrongful death and personal injury        Alexis is a part of the firm’s team that represents dozens of
cases. She also volunteered with the Virginia Innocence             governmental entities, including states, counties, cities, towns,
Project Student Group, a student legal research group, helping      and townships in litigation targeting the alleged deceptive
investigate and screen cases involving prisoners convicted of       marketing and over-distribution of highly addictive opioid
serious crimes who had cognizable claims of actual innocence.       drugs, a contended cause of the nationwide opioid crisis.
While at UVA, she served on the board of the Virginia Sports




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A former Motley Rice law clerk, Alexis was the Technical Editor        Charlotte E. Loper
of the American University Business Law Review, Vol. 9, and
                                                                       LICENSED IN: SC
served as a student attorney for American University Washington
                                                                       EDUCATION:
College of Law’s Civil Advocacy Clinic in Washington, D.C.,
                                                                       J.D. cum laude, Wake Forest School of Law, 2019
while completing her legal studies. She also assisted faculty
                                                                       B.A. magna cum laude, University of South Carolina, 2016
as a Dean’s Fellow for the school’s Legal Rhetoric Department,
                                                                       Charlotte Loper represents individuals and businesses in class
served as a judicial intern for U.S. District Judge Rudolph
                                                                       actions and complex litigation involving consumer protection,
Contreras of the U.S. District Court for D.C., and gained valuable
                                                                       general commercial issues, and securities fraud.
experience as a law clerk for the U.S. Attorney’s Office, District
of Arizona.                                                            Her casework includes litigating on behalf of a class of more
                                                                       than a million tax return preparers who allege the IRS charged
Miles Loadholt                                                         unauthorized user fees for the issuance and renewal of preparer
                                                                       tax identification numbers (Steele v. United States, Case No.
Of Counsel                                                             1:14-cv-1523-RCL). She also represents patients who allege
LICENSED IN: SC                                                        their insurance provider engaged in a fraudulent scheme to
EDUCATION:                                                             overcharge for needed medical services and products while
J.D., cum laude, University of South Carolina School of Law,           knowingly pocketing the difference.
1968                                                                   Charlotte previously worked as an intern for South Carolina’s
B.S., University of South Carolina, 1965                               14th Circuit Solicitor’s Office, assisting with trials and motions in
Miles Loadholt has practiced law for over four decades in the          General Sessions and Magistrate Court. While completing her
areas of occupational disease, worker safety and business              legal studies, she worked as a research assistant for Wake Forest
litigation. He has worked with Motley Rice attorneys on                law professor Kami Chavis on topics including the intersection
occupational injury and asbestos litigation since the early            of technology and law, and racial bias in jury selection.
1970s, representing victims of asbestos, radiation and beryllium
exposure. He has also represented workers suffering from               Charlotte served as the Executive Articles Editor for the Wake
hearing loss caused by exposure to loud machinery on the               Forest Journal of Business and Intellectual Property Law and
job and managed hundreds of workers’ compensation cases.               was a member of Moot Court, in addition to being a CALI
Additionally, Miles has practiced business litigation including        Award recipient, and winner of the Dean Reynolds Award of
contract disputes and business torts.                                  Excellence, among other honors and recognitions.
A longtime advocate of higher education, Miles was elected             ASSOCIATIONS:
chairman of the University of South Carolina Board of Trustees         American Bar Association
in January 2009. With more than 12 years of service on the Board,      South Carolina Bar Association
Miles is planning for the institution’s future capital campaign        Charleston County Bar Association
and building endowments. His involvement with the University
of South Carolina and higher education programs includes
his appointment to the South Carolina Commission on Higher             P. Graham Maiden
Education by Governor Jim Hodges, serving as a member of the           LICENSED IN: SC, MT, OH
Western Carolina Higher Education Commission and more than             EDUCATION:
20 years on the Executive Committee of the Gamecock Club.              J.D., Charleston School of Law, 2011
For his contributions to education in South Carolina, Miles            B.S., College of Charleston, 2007
received the Order of the Palmetto in 2002, the highest civilian       Graham Maiden represents victims and family members who
honor in the state. His portrait can be found in the law library of    have suffered due to negligence, dangerous products, and
the University of South Carolina’s School of Law as recognition        corporate misconduct in domestic and international cases. His
for his generosity and service.                                        practice is wide-ranging and includes product liability, anti-
                                                                       terrorism, occupational disease, sexual assault, catastrophic
Miles earned a Bachelor of Science and Juris Doctor from the           injury and medical drugs and devices.
University of South Carolina. As a law student, he was on the
editorial board of the South Carolina Law Review and was a             Graham is part of the litigation and trial team representing
member of Phi Delta Phi and the Society of Wig and Robe.               individual smokers and families of deceased smokers against
                                                                       tobacco manufacturers in the Engle-progeny litigation
Miles is recognized as an AV® rated attorney by Martindale-Hubbell®.   pending in Florida. In addition, he represents workers and
                                                                       families suffering from mesothelioma and other asbestos-
ASSOCIATIONS:                                                          related diseases as a result of occupational, environmental
American Association for Justice
                                                                       or household exposure to asbestos, as well as workers who
American Bar Association
                                                                       suffer from “popcorn lung” and other ailments caused by
Barnwell County Bar Association
                                                                       toxic flavoring chemicals. Graham has also assisted the team
South Carolina Association for Justice




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consulting with South African human rights lawyer Richard             Michaela Shea McInnis
Spoor in his efforts to seek justice for exploited gold mine          LICENSED IN: MA, NY, RI
workers suffering from silicosis.                                     EDUCATION:
Graham has also worked on behalf of victims of sexual                 L.L.M., Boston University School of Law, 1985
assault and battery at private boarding schools and against           J.D., Suffolk University Law School, 1980
individual offenders. In addition to working on a wide variety of     B.A., Providence College, 1977
catastrophic personal injury cases, Graham has contributed to         Michaela McInnis represents individuals, states, cities and other
cases filed on behalf of clients injured by Takata airbags.           municipalities in environmental litigation involving harmful
                                                                      exposure to lead paint and other sources of environmental
Graham previously supported the firm’s work in Linde v. Arab
                                                                      contamination.
Bank, historic litigation filed by victims of terrorist bombings in
Israel against Arab Bank for its alleged role in financing Hamas      Michaela began working with Motley Rice more than a decade
and other Israeli terrorist organizations. The case marked the        ago, and, for the past several years, has represented clients
first time that a financial institution was brought to trial under    injured by medical devices in multidistrict litigation and state
the Anti-Terrorism Act. He assisted with the parallel suit for non-   court actions. She has worked on all aspects of the litigation
U.S. citizens, Jesner v. Arab Bank, which was heard by the U.S.       including bankruptcy issues arising in the litigation and
Supreme Court under the Alien Tort Statute regarding violations       settlement of mass tort cases.
of customary international law by foreign corporations.               Michaela was a member of the trial team in the State of
Graham joined Motley Rice as an associate after first serving as      Rhode Island’s landmark lead paint suit against the lead
a summer law clerk for the firm, during which time he supported       pigment industry, conducting discovery and overseeing the
litigation on behalf of people and businesses seeking to hold         case management order. Her practice also includes toxic tort
BP and other corporate defendants accountable for the BP oil          work, including cases of personal injury, property damage
spill.                                                                and economic loss as a result of water or land contamination.
                                                                      Michaela also represented more than 100 residents of Tiverton,
While in law school, Graham held an internship with the Beverly
                                                                      R.I., against a major utility company for environmental
Hills Sports Council, a California-based Major League Baseball
                                                                      contamination of residential property.
player agency, where he handled research and writing projects,
as well as salary arbitration preparation. Graham also brings         Michaela began her legal career as an attorney with the
valuable business experience to Motley Rice, having previously        appellate staff of the Rhode Island Supreme Court, later
worked for a large real estate and development company                transitioning to a diverse tax practice in New York. Her legal
assisting with the development and management of hotels and           work extended outside of the office as a volunteer for the
restaurants across the country.                                       IRS Volunteer Income Tax Assistance and Tax Counseling for
                                                                      the Elderly programs in Rhode Island. Additionally, Michaela
A former collegiate athlete at the College of Charleston,
                                                                      volunteered for several years with the Ethics Committee of
Graham played baseball and proudly represented his school as
                                                                      the Visiting Nurse Association of Newport County, where she
a member of the All-Southern Conference Team in 2007.
                                                                      offered case reviews and guidance to the staff of the VNA
AWARDS AND ACCOLADES:                                                 regarding ethical issues.
Best Lawyers: Ones to Watch®                                          A former adjunct professor at the University of Rhode Island,
2021 Product Liability Litigation – Plaintiffs                        Michaela has taught both undergraduate and graduate level
                                                                      courses on the American legal system and constitutional
ASSOCIATIONS:                                                         law. She is a former law clerk for the Honorable Joseph R.
American Association for Justice                                      Weisberger of the Rhode Island Supreme Court.
South Carolina Association for Justice
South Carolina Bar Association                                        ASSOCIATIONS:
Charleston Bar Association                                            American Association for Justice
                                                                      Rhode Island Association for Justice




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Kate E. Menard                                                         Chelsea L. Monroe
LICENSED IN: MA, NY, RI                                                LICENSED IN: SC
ADMITTED TO PRACTICE BEFORE:                                           ADMITTED TO PRACTICE BEFORE:
U.S. District Court for the District of Rhode Island                   U.S. District Court for the District of South Carolina
EDUCATION:                                                             EDUCATION:
J.D. magna cum laude, Roger Williams University School of              J.D., Wake Forest University School of Law, 2016
Law, 2011                                                              B.A. cum laude, University of South Carolina, 2011
B.A. magna cum laude, Quinnipiac University, 2008                      Chelsea Monroe represents victims of defective medical devices,
Katie Menard is committed to helping people harmed by                  as well as families and communities harmed by toxic exposure.
allegedly defective medical devices, including women suffering
                                                                       Specifically, Chelsea’s casework includes furthering litigation for
from painful and serious injuries caused transvaginal mesh and
                                                                       thousands of women who suffered severe, life-altering effects
pelvic mesh devices.
                                                                       after receiving permanent birth control device Essure®. She also
Katie initially joined Motley Rice as a law clerk in 2013, providing   contributes to complex litigation filed against manufacturers of
support to the medical device litigation team, including               lead paint pigment who are alleged to have caused health and
preparing motions, evaluating client records, and preparing for        developmental problems in countless children.
trials and settlements.
                                                                       Prior to joining Motley Rice, Chelsea gained valuable litigation
As a law student at Roger Williams University School of Law,           experience in the areas of medical malpractice, products liability,
Katie was a research assistant to Professor Kathleen Miller, a         and premises liability through her work as an attorney for general
judicial extern for the Honorable Chief Justice Paul A. Suttell        practice and business defense firms in South Carolina.
and an intern in the Special Prosecutions Division of the
                                                                       A former Motley Rice law clerk, Chelsea also completed a
Westchester County District Attorney’s Office in New York.
                                                                       number of legal clerkships and internships while completing her
After graduation, she worked for the Rhode Island Supreme
                                                                       law degree, including assisting with criminal cases for Forsyth
Court Law Clerk Department, where she served as the sole law
                                                                       County’s District Attorney’s Office and advocating for children
clerk to the Honorable Stephen P. Nugent of the Rhode Island
                                                                       in Forsyth County Family Court. Additionally, Chelsea was a law
Superior Court. She was also a research assistant to Chief
                                                                       clerk for Greenville Health System, the largest health system
Justice Frank J. Williams (Ret.).
                                                                       in South Carolina, where she participated in a multidisciplinary
A magna cum laude graduate and scholarship recipient,                  team due diligence effort for an acquisition of a hospital system.
Katie was recognized with the CALI Excellence award as the
highest scoring student in Legal Methods I, Advanced Criminal          ASSOCIATIONS:
Procedure and Private International Law. Additionally, she             American Association for Justice
served as a member of the Roger Williams University Law Review         American Bar Association
and published two papers, “The Impact of Pretrial Publicity on         South Carolina Bar Association
an Indigent Capital Defendant’s Due Process Right to a Jury            Charleston County Bar Association
Consultant” and a survey of Rhode Island Law concerning City
of East Providence v. Int’l Ass’n of Firefighters Local.               Christopher F. Moriarty
AWARDS AND ACCOLADES:                                                  LICENSED IN: SC
Best Lawyers: Ones to Watch®                                           ADMITTED TO PRACTICE BEFORE:
2021 Product Liability Litigation – Plaintiffs                         U.S. Court of Appeals for the First, Second, Third, Fourth,
                                                                       Fifth, and Tenth Circuits; U.S. District Court for the District of
ASSOCIATIONS:                                                          Colorado, the Northern District of Illinois, the Eastern District
Rhode Island Bar Association                                           of Michigan, and the District of South Carolina
                                                                       EDUCATION:
                                                                       J.D., Duke University School of Law, 2011
                                                                       M.A., Trinity College, University of Cambridge, 2007
                                                                       B.A., Trinity College, University of Cambridge, 2003
                                                                       Christopher Moriarty litigates securities fraud, corporate
                                                                       governance, and other complex class action litigation in the
                                                                       U.S. and counsels institutional investors on opportunities to
                                                                       seek recovery in securities-related actions in both the U.S.
                                                                       and internationally. His practice encompasses every aspect of
                                                                       litigation, from case-starting to settlement.




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Notable securities fraud class actions include:                      John David O’Neill
• In re Barrick Gold Securities Litigation, No. 13-cv-03851          LICENSED IN: SC
  (S.D.N.Y.) ($140 million recovery*) (sole lead counsel);           ADMITTED TO PRACTICE BEFORE:
• City of Brockton Retirement System v. Avon Products, Inc., 11      U.S. District Court for the District of South Carolina
  Civ. 4655 (PGG) (S.D.N.Y.) ($62 million recovery*) (sole lead      EDUCATION:
  counsel);                                                          J.D., University of South Carolina School of Law, 2013
• Hill v. State Street Corp., No. 09-cv-12136-GAO (D. Mass.) ($60    B.S., Clemson University, 2008
  million recovery*) (co-lead counsel);                              John David O’Neill focuses his litigation efforts on catastrophic
• In re Hewlett-Packard Co. Securities Litigation, No. 11-cv-1404    injury, products liability, automotive defect, and wrongful
  (RNBx) (C.D. Cal.) ($57 million recovery*) (co-lead counsel);      death cases. With a background in engineering, John brings a
• KBC Asset Mgmt. v. 3D Sys. Corp., No. 15-cv-02393-MGL              technical approach to case review and analysis.
  (D.S.C.) ($50 million recovery*) (co-lead counsel);                In particular, John is heavily involved in vehicle defect cases
• Första AP-Fonden and Danske Invest Management A/S v. St.           alleging injuries caused by defective Takata airbags.
  Jude Medical, Inc., No. Civil No. 12-3070 (JNE/HB) (D. Minn.)
  ($39.25 million recovery*) (co-lead counsel);                      John has consulted as an engineer on projects involving
                                                                     manufacturing, transportation, institutional, municipal and
• Ross v. Career Education Corp., No. 12-cv-00276 (N.D. Ill.)
  ($27.5 million recovery*) (co-lead counsel);                       residential construction. Prior to attending law school, he was
                                                                     a lead manufacturing engineer with an international aerospace
• KBC Asset Mgmt. NV v. Aegerion Pharms., Inc., No. 14-cv-
                                                                     corporation where he was responsible for planning repairs
  10105-MLW (D. Mass.) ($22.25 million recovery*) (co-lead
  counsel).                                                          for damaged parts and other components that did not meet
                                                                     specifications.
Christopher represents investors in shareholder derivative
litigation, including in In re Walgreen Co. Derivative Litigation,   John was also a member of the engineering team that performed
No. 13-cv-05471 (N.D. Ill.) (securing corporate governance           quality inspections of structural installations on behalf of the
reforms to ensure compliance with the Controlled Substances          S.C. DOT on the Arthur Ravenel Jr. Bridge in Charleston, S.C.,
Act*); antitrust class actions, including In re Libor-Based          one of the longest cable-stayed bridges in North America.
Financial Instruments Antitrust Litigation, No. 11-md-02262-NRB      John was formerly a South Carolina property attorney, having
(S.D.N.Y.) (pending); and whistleblowers in proceedings before       worked on construction defect claims, negotiated commercial
the U.S. Securities and Exchange Commission. His practice            property deals in Charleston, and provided representation in
extends to securities-related litigation in several foreign          Circuit Court and Municipal Court on criminal and civil matters.
jurisdictions, including England, France, and the Netherlands.
                                                                     AWARDS AND ACCOLADES:
While in law school, Christopher was a member of the Moot            Best Lawyers: Ones to Watch®
Court Board, served as an Executive Editor of the Duke Journal       2021 Product Liability Litigation – Plaintiffs
of Constitutional Law and Public Policy, and taught a course
on constitutional law to LL.M. students. Christopher has also        ASSOCIATIONS:
drafted amicus curiae briefs in numerous constitutional law          South Carolina Bar Association
cases before the U.S. Supreme Court (which has cited his work)       American Society of Civil Engineers
and the federal courts of appeal.
Christopher was called to the Bar in England and Wales by the        Jacob Onile-Ere
Honourable Society of the Middle Temple.
                                                                     LICENSED IN: NY
AWARDS AND ACCOLADES:                                                ADMITTED TO PRACTICE BEFORE:
South Carolina Super Lawyers® Rising Stars list                      U.S. District Court for the Southern and Eastern Districts of
2016–2021 Securities litigation                                      New York
                                                                     EDUCATION:
ASSOCIATIONS:                                                        J.D., Benjamin N. Cardozo School of Law, 2017
South Carolina Association for Justice                               L.L.B., The University of Lagos, 2012
American Bar Association                                             Jacob Onile-Ere litigates alleged violations of federal and state
South Carolina Bar Association                                       antitrust and consumer protection laws in order to protect
Charleston County Bar Association                                    businesses and consumers from price-fixing, pay-for-delay
                                                                     schemes, monopolization and other misconduct that hinders
                                                                     market competition.
                                                                     Jacob is a member of the litigation team representing plaintiffs
                                                                     in civil class action In re Juul Labs, Inc. Antitrust Litigation, filed in
                                                                     the Northern District of California for direct purchaser plaintiffs
                                                                     alleging anticompetitive conduct by JUUL and global cigarette



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manufacturer Altria impacted them. He also represents clients         Honorable Judy McMahon of Charleston County Family Court
in several complex cases, including class actions alleging            in July 2012, and the Honorable Robert S. Armstrong of Beaufort
price-fixing of interchange fees by Visa, MasterCard and their        County Family Court in May 2011.
member banks, alleged anti-competitive conduct by coffee
and beverage company Keurig Green Mountain, Inc., as well             ASSOCIATIONS:
as various alleged anti-competitive pay-for-delay schemes             Charleston County Bar Association
involving generic drugs.
Prior to joining Motley Rice and admission to the New York Bar,       Cindi A. Solomon
Jacob gained experience in immigration law while completing a         LICENSED IN: SC
fellowship program at Brooklyn Defender Services’ Immigration         ADMITTED TO PRACTICE BEFORE: U.S. Supreme Court
Practice Unit. He also served in New York City’s housing court        EDUCATION:
as a judicial intern for Judge Cheryl Gonzales while completing       J.D., University of South Carolina School of Law, 1996
his legal studies at the Benjamin N. Cardozo School of Law.           B.A., Vanderbilt University, 1988
Additionally, while in law school Jacob assisted clients in           Cindi Solomon represents dozens of governmental entities,
immigration defense and advocacy at Cardozo’s Immigration             including states, cities, counties and other municipalities as
Justice Clinic, advocated for the indigent through the school’s       part of Motley Rice’s opioid litigation team.
Unemployment Action Center and served as a legal intern at
the National Center for Law and Economic Justice. He also             Cindi contributes to the firm’s intensive involvement in the
served as a research assistant for the Dean of Cardozo, Melanie       National Prescription Opiate MDL, as well as similar cases filed
Leslie, and as a Staff Editor of the Cardozo Journal for Conflict     in state court against manufacturers, distributors and other
Resolution.                                                           entities believed to have played a role in causing the opioid
                                                                      crisis. She has additional experience in pharmaceutical drug,
ASSOCIATIONS:                                                         defective medical device, and product liability cases, including
American Bar Association                                              working with Motley Rice attorneys in the 1990s on historic Big
New York State Bar Association, Antitrust Law Section                 Tobacco litigation, which resulted in the largest civil settlement
                                                                      in U.S. history.
Andrew W. Patterson                                                   In addition to her legal career, Cindi has worked for several years
                                                                      to promote eye health in the Charleston, S.C., area, including
LICENSED IN: SC
                                                                      co-founding and serving as Volunteer Executive Director
EDUCATION:
                                                                      of Operation Sight, a non-profit that provides free cataract
J.D., Charleston School of Law, 2013
                                                                      surgery and other services to those in need. She also served
B.A. cum laude, Hampden-Sydney College, 2008
                                                                      as a member of the Board of Directors for the Association for
Andrew Patterson assists people suffering from mesothelioma
                                                                      the Blind and Visually Impaired – Charleston from 2011 to 2016.
and other life-threatening lung diseases caused by asbestos
exposure.                                                             Currently, Cindi serves on the Boards of the Kiawah Island Club
                                                                      and Spoleto Festival USA, in addition to being a member of
Andrew works with clients, claimants and co-counsel to
                                                                      Trident United Way’s Community Impact Committee. Numerous
submit bankruptcy trust claims to the numerous trust facilities
                                                                      other community positions she’s held include:
established for the victims of asbestos-related diseases.
                                                                      • Member of the Board of Directors for Trident United Way,
Prior to joining Motley Rice, Andrew conducted research and             2004-2010, and 2014-2015
drafted reports related to mineral rights in the Fijian Islands and
                                                                      • President of Trident United Way’s Women’s Leadership
supported other domestic legislative projects for a law firm in
                                                                        Council, 2014-2015.
Camden, S.C.
                                                                      • President of MUSC’s Women’s Club, 2009-2010
While pursuing his legal studies at Charleston School of Law,
Andrew was the recipient of CALI awards for Professional              ASSOCIATIONS:
Responsibility and Trial Advocacy, and served as a William            South Carolina Women Lawyers
Ackerman Summer Fellow and Extern through Charleston Pro
Bono Legal Services, completing more than 100 hours of pro
bono work. He also assisted with monthly legal information
sessions offered to Charleston residents by the Florence
Crittenton Programs of South Carolina, a nonprofit benefitting
at-risk low-income families. Andrew gained valuable learning
experience through the Judicial Observation and Experience
Program, which afforded him the opportunity to work with the




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Laura K. Stemkowski                                               Jacob R. Stout
LICENSED IN: SC                                                   LICENSED IN: PA, WV
EDUCATION:                                                        ADMITTED TO PRACTICE BEFORE:
J.D. with honors, University of North Carolina School of Law,     U.S. District Court for the Northern and Southern Districts of
2016                                                              West Virginia; Supreme Court of Appeals of West Virginia
B.A., University of North Carolina at Chapel Hill, 2013           EDUCATION:
Laura Stemkowski advocates for victims harmed by medical          J.D., West Virginia University College of Law, 2014
drugs and devices and corporate misconduct, with a focus on       B.A., Pennsylvania State University, 2011
women’s health.                                                   Jake Stout utilizes the civil justice system to hold negligent
Laura’s advocacy includes supporting women who were               corporations accountable for preventable injuries and diseases
diagnosed with ovarian cancer after using Johnson & Johnson       suffered by workers and their families. Having experience in all
Baby Powder and other talc-based powders for feminine             three vantages of the civil litigation process, plaintiffs, defense,
hygiene. She also represents people who developed breast          and the court, Jake has a broad understanding of the challenges
implant-associated anaplastic large cell lymphoma (BIA-ALCL),     faced by workers in their fight for justice. His perspective is
a rare form of non-Hodgkin’s lymphoma, after receiving textured   an asset for clients, as he strives to improve safety practices
breast implants manufactured by Allergan, as well as patients     and corporate governance for the benefit of current and future
harmed by allegedly defective hernia mesh. Additionally, Laura    workers.
represents patients who suffered complications allegedly          Prior to joining Motley Rice, Jake advocated for plaintiffs’
caused by Zantac® and other allegedly dangerous medical           causes as an associate for multiple personal injury firms in West
drugs.                                                            Virginia. He has gained valuable experience in matters related
In addition to her medical casework, Laura represents former      to automobile collisions, insurance bad faith, toxic exposure,
Boy Scouts who suffered abuse in claims filed in the Boy          products liability, FELA, asbestos, medical malpractice, property
Scouts of America bankruptcy proceedings. She also litigates      owner rights, premises liability, and other personal injury
cases filed under newly enacted “window” laws that seek to        litigation in state and federal courts. Jake’s legal experience
hold abusers and abuse enablers accountable in civil court.       also includes serving as a judicial clerk for the Honorable Phillip
Many states have and continue to pass such laws, extending        D. Gaujot, of the Circuit Court of Monongalia County, W. Va.
the number of years available for survivors to file a childhood   While completing his legal studies, Jake volunteered as a
sexual abuse claim by opening a statute of limitations for a      clinician for the WVU Land Use and Sustainable Development
finite period of time.                                            Law Clinic, and was selected to teach supplementary classes
Prior to joining Motley Rice, Laura was a legal intern at the     to first-year law students through the WVU College of Law
Department of Justice Environmental Division in Raleigh, N.C.,    Academic Excellence Program. He also completed a number
where she wrote appellate arguments, summary judgment             of clerkships with West Virginia firms, assisting in casework
motions and other legal documents related to environmental,       pertaining to products liability, personal injury, environmental
criminal and federal issues.                                      and energy law, corporate defense, and criminal defense.

While studying at UNC School of Law, Laura held positions         Jake has been active in local politics, having served as a
with the Environmental Appellate Advocacy Team and the            deputy campaign manager and campaign treasurer for
Holderness Moot Court. She served as Vice President of the        candidates in lieutenant governor, state representative, and
UNC School of Law Environmental Law Project, Public Relations     county commissioner races in Pennsylvania in 2010 and 2011,
Chair for the UNC School of Law Pro Bono Board, and Junior        as well as serving as a legislative intern for a Pennsylvania
Attorney Coordinator for the school’s Cancer Pro Bono Project.    state representative. He currently serves as one of three
She also served as a student practitioner with the Civil Legal    commissioners on the Monongalia County, W. Va., Deputy
Clinic, where she worked on claims spanning areas including       Sheriff’s Civil Service Commission.
Title VII EEOC, Title IX, and domestic violence.
                                                                  AWARDS AND ACCOLADES:
Laura also completed more than 100 hours of pro bono work         Best Lawyers: Ones to Watch®
with the University of North Carolina School of Law’s Innocence   2021 Personal Injury Litigation – Plaintiffs
Project and Legal Aid Divorce Clinic, as well as the Southern
                                                                  West Virginia Super Lawyers® Rising Stars list
Environmental Law Center and Lawyer on the Line program.
                                                                  2020–2021 Personal injury – products: plaintiff; Class action/
In the community, Laura is involved in Be a Mentor, a non-        mass torts: plaintiff
profit organization committed to empowering youth through
mentorship.                                                       ASSOCIATIONS:
                                                                  American Association for Justice
                                                                  West Virginia Association for Justice
                                                                  Monongalia County Bar Association
                                                                  Ohio County Bar Association



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Mitchell B. Thornton                                                    Stock Exchange that was recently revived upon appeal to the
                                                                        U.S. Court of Appeals for the Second Circuit. She is also involved
LICENSED IN: KY, SC
                                                                        in the securities class action against Twitter Inc. Previously,
EDUCATION:
                                                                        Meredith was a member of the teams representing investors
J.D., Charleston School of Law, 2009
                                                                        in securities fraud class actions filed against Advanced Micro
B.S. magna cum laude, University of South Carolina, 2005
                                                                        Devices, Barrick Gold and SAC Capital, among others.
Mitchell Thornton’s casework intersects with multiple Motley Rice
practice areas.                                                         Meredith also has experience litigating medical malpractice
                                                                        and negligence suits in state court.
Mitchell represents people and businesses suffering economic
losses resulting from the BP Deepwater Horizon oil spill in the Gulf    Prior to joining Motley Rice, Meredith gained trial and settlement
of Mexico, and he is involved in product liability cases with a focus   experience as an associate at a Dallas, Texas, law firm working
on allegedly defective medical devices and pharmaceuticals.             in business and construction litigation. While attending the
                                                                        University of Texas School of Law, she clerked for an Austin
He began his experience with Motley Rice in 2004 as an intern,
                                                                        firm, represented victims in court as a student attorney in the
compiling factual causation foreseeability data for the firm’s
                                                                        UT Law Domestic Violence Clinic and was a Staff Editor of the
landmark 9/11 litigation. During law school, he joined the
firm as a law clerk, broadening his experience through cases            Review of Litigation journal. During her undergraduate and
                                                                        law school career, Meredith studied abroad in Paris, France,
involving product liability, misappropriation of human remains,
                                                                        Geneva, Switzerland and Puebla, Mexico.
pharmaceutical injuries, insurance recovery, premise damages,
consumer protection, and other incidents of negligence.
                                                                        AWARDS AND ACCOLADES:
Mitchell has performed extensive legal research in a                    Best Lawyers: Ones to Watch®
comprehensive range of litigation. He has been involved in a            2021 Litigation – Securities
variety of cases related to negligence, corporate misconduct and
defective products, including cases involving Advair®/Serevent®,        ASSOCIATIONS:
Avandia®, Digitek®, Paxil®, NuvaRing®, and Zicam®, as well as           Charleston County Bar Association
those representing women alleging harm by pelvic mesh products.
At the Charleston School of Law, Mitchell received the CALI Award       Hannah S. Werner
for Products Liability and aided local residents in the school’s        LICENSED IN: SC
Volunteer Income Tax Assistance program. The USC Moore School           EDUCATION:
of Business recognized Mitchell as an “Emerging Leader,” where          J.D., Vanderbilt University Law School, 2017
he served as Vice President of the Gamma Iota Sigma Insurance           B.A. with honors, University of North Carolina at Chapel Hill,
Fraternity.                                                             2014
                                                                        Hannah Werner advocates for patients suffering from health
ASSOCIATIONS:
                                                                        complications caused by allegedly defective and dangerous
American Association for Justice
                                                                        medical drugs and devices, such as Essure®, a permanent birth
South Carolina Association for Justice
                                                                        control device. Her practice also includes representing clients
Charleston County Bar Association
                                                                        who have suffered from lead poisoning.
South Carolina Bar Association Young Lawyers Division
                                                                        Hannah gained experience as a law clerk at Motley Rice, as
                                                                        well as at a prominent defense firm where she gained valuable
Meredith B. Weatherby
                                                                        insight into the legal industry prior to joining Motley Rice’s
LICENSED IN: SC, TX                                                     medical team. She also served as a summer associate and intern
ADMITTED TO PRACTICE BEFORE:                                            for a Tennessee hospital and legal clinic where she provided
U.S. District Court for the Northern, Southern, Eastern and             research in healthcare law, drafted contracts and policies, and
Western Districts of Texas                                              assisted with mediations involving patients. In addition, Hannah
EDUCATION:                                                              worked to assist veterans with legal disputes as an intern for a
J.D., University of Texas School of Law, 2011                           VA Medical Legal Partnership Clinic in Nashville, Tenn.
B.A., with distinction, University of North Carolina, Chapel Hill,
                                                                        A member of the Women Law Students’ Association, Hannah
2008
                                                                        was actively involved on campus, including serving as Vice
Meredith Weatherby develops and litigates securities fraud
                                                                        President of the Health Law Society. She also was the 2012–
class actions and shareholder derivative suits on behalf of
                                                                        2013 Director of Public Relations for the UNC Association of
institutional investors.
                                                                        Student Governments, serving students from all 17 UNC system
Meredith represents unions, public pensions and institutional           campuses, and a 2012 Congressional intern in South Carolina.
investors in federal courts throughout the country. Her casework
includes representing clients in a number of cases related to           ASSOCIATIONS:
high frequency trading (HFT), including the groundbreaking              American Bar Association
securities fraud litigation against NASDAQ and the New York             South Carolina Bar Association



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Erin Casey Williams                                                   Courtney completed a number of legal internships and
LICENSED IN: SC                                                       clerkships prior to joining Motley Rice, including a clerkship
ADMITTED TO PRACTICE BEFORE:                                          in Virginia where she observed hearings and trials, performed
United States Court of Appeals for the Second Circuit; U.S.           legal research and drafted memoranda for civil and criminal
District Court for the Eastern District of Michigan, and District     cases for the 18th Judicial Circuit of Alexandria Circuit Court.
of South Carolina                                                     Courtney also served for a time as an intern for the South
EDUCATION:                                                            Carolina Appleseed Legal Justice Center where she translated
J.D., University of Illinois College of Law, 2014                     documents to Spanish and assisted with fundraising efforts to
B.S. with honors, University of Illinois at Urbana-Champaign,         promote legal and social services for Hispanic immigrants.
2011                                                                  Courtney worked as a student attorney for the Immigrant Rights
Erin Casey Williams protects the interests of institutional           Clinic while pursuing her juris doctor, in addition to being a Lead
investors and consumers through complex securities litigation.        Article Editor for the German Law Journal, and Vice President of
Erin is a member of Motley Rice’s litigation teams representing       the Pro Bono Club. As a research assistant, she contributed to
investors in securities fraud class action cases. She supports        research on international crimes and the International Court of
the firm’s efforts in matters involving Qualcomm Incorporated         Justice, as well as research on human rights law in Africa. She
and Investment Technology Group, Inc.                                 also traveled to law schools throughout Ukraine in partnership
                                                                      with USAID to assist with a presentation on anti-corruption in
Erin assisted in the development of deposition strategies and         schools. Courtney also studied abroad in Denmark, Spain and
completed discovery with the Motley Rice securities team              Costa Rica during her undergraduate career.
before joining the firm in 2017. Her previous experience includes
litigating claims involving medical malpractice, wrongful death,      Courtney serves her community as a board member for
personal injury and complex family law matters at a Charleston,       Charleston Habitat for Humanity.
S.C., law firm. She also researched and drafted memoranda
                                                                      ASSOCIATIONS:
regarding construction defects, insurance defense, and tort
                                                                      South Carolina Association for Justice
liability for a national litigation support agency.
                                                                      Charleston Bar Association
While pursuing her law degree, Erin interned for the Federal
Defender Program in Chicago in addition to working as a               Roger M. “Hank” Young, Jr.
judicial extern for the Honorable Michael T. Mason of the U.S.
District Court for the Northern District of Illinois. She served as   LICENSED IN: SC
an associate editor of the University of Illinois Law Review and      EDUCATION:
the Community Service Chair of the Women’s Law Society.               J.D. summa cum laude, Charleston School of Law, 2016
                                                                      B.A. magna cum laude, University of South Carolina Honors
ASSOCIATIONS:                                                         College, 2011
American Bar Association                                              Hank Young represents victims harmed by medical drugs,
South Carolina Bar Association                                        medical negligence, and corporate misconduct.
South Carolina Association for Justice                                As an advocate for some of the most vulnerable in our society,
South Carolina Women Lawyers Association                              Hank seeks justice for children and for mothers following their
Charleston County Bar Association                                     use of the anti-nausea medication Zofran during pregnancy,
                                                                      which may cause life-threatening birth defects, as well as for
Courtney R. Wolf                                                      elderly clients who suffer abuse and neglect at nursing homes
                                                                      and assisted living facilities. Hank also represents clients
LICENSED IN: ND, SC, UT, VT                                           diagnosed with melanoma after taking Revatio® or Viagra®,
ADMITTED TO PRACTICE BEFORE: U.S. District Court for the              and is reviewing claims of kidney failure and ketoacidosis after
District of South Carolina                                            taking Invokana® and other SGLT2 inhibitors.
EDUCATION:
J.D., Washington and Lee University School of Law, 2019               A Charleston native, Hank graduated from the Charleston School
B.S. magna cum laude, University of South Carolina, 2016              of Law, where he served as Editor in Chief of the Charleston Law
Courtney Wolf advocates for victims of terrorism and human            Review and competed in numerous moot court competitions,
rights violations, as well as for consumers affected by corporate     including the 2015 National Tax Moot Court Competition, in
misconduct and negligence.                                            which he was awarded Best Individual Advocate. He also was
                                                                      recognized with the CALI Award as the highest scoring student
Courtney contributes to litigation filed for dozens of                in Legal Writing I & II, Products Liability, Constitutional Law,
governmental entities, including states, cities, towns, counties      Constitutional History, and Professional Responsibility.
and townships against opioid manufacturers and distributors
alleged to have played a role in the opioid crisis. She also          A Motley Rice law clerk for two summers before joining the
represents 9/11 families and survivors in claims filed through        firm, Hank has clerked at both corporate defense and plaintiffs’
the September 11th Victim Compensation Fund.                          firms. Additionally, Hank volunteered at the Veteran’s Legal



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Clinic in Charleston during law school, providing low-income        AWARDS AND ACCOLADES:
veterans with basic legal services, including finding housing,      Best Lawyers: Ones to Watch®
drafting wills, and resolving family law issues.                    2021 Mass Tort Litigation / Class Actions - Plaintiffs; Personal
                                                                    Injury Litigation - Plaintiffs; Product Liability Litigation -
ASSOCIATIONS:                                                       Plaintiffs
South Carolina Association for Justice
Charleston County Bar Association                                   ASSOCIATIONS:
                                                                    Charleston Bar Association
                                                                    South Carolina Bar Association
STAFF ATTORNEYS                                                     Maryland State Bar Association
                                                                    District of Columbia Bar Association
Jade A. Haileselassie
LICENSED IN: DC, MD, SC                                             Andrew D. Harris
ADMITTED TO PRACTICE BEFORE: U.S. Tax Court, U.S. District          LICENSED IN: SC
Court for the District of Maryland                                  EDUCATION:
EDUCATION:                                                          J.D., Charleston School of Law, 2014
J.D., University of Baltimore School of Law, 2010                   B.A., University of North Carolina, Chapel Hill, 2011
M.S., University of Baltimore, 2010                                 Andrew Harris works directly with injured workers and their
B.A., College of Charleston, 2004                                   families regarding asbestos, work-related injuries, and toxic
Jade Haileselassie’s diverse practice includes representing         exposure, including guiding clients through complicated
global terror victims and their families, motorists and             bankruptcy trust claims for victims of asbestos-related diseases.
passengers impacted by vehicle defects and fraud, and public
entities in litigation that works to enhance public health and      Andrew practiced at a North Carolina firm where he assisted
safety.                                                             with corporate transactions between Fortune 500 companies
                                                                    prior to joining Motley Rice.
Jade is a part of Motley Rice’s team of attorneys representing
dozens of cities, towns, counties and townships in the National     He gained early experience through a number of legal clerkships
Prescription Opiate MDL targeting opioid manufacturers,             at firms in the Charleston, S.C., area, assisting with malpractice
distributors and pharmacies accused of causing the opioid           defense cases, property transactions, and various mass tort
crisis. She also represents terror victims in litigation against    multidistrict litigations, and donated his time during law school
alleged financiers of the Tamil Tigers terrorist organization       helping others through the Charleston Pro Bono Legal Services.
in Sri Lanka, 9/11 victims and survivors in litigation against
                                                                    ASSOCIATIONS:
material sponsors of terrorism for their role in the terrorist
                                                                    Charleston County Bar Association
attacks, and victims with claims filed with the U.S. Victims of
State Sponsored Terrorism Fund.
When she first came to Motley Rice, Jade litigated vehicle
                                                                    Robert C. “Trey” Henderson III
emissions fraud claims against Fiat-Chrysler Automobiles            LICENSED IN: NC, SC
and Volkswagen and represented drivers allegedly injured by         EDUCATION:
exploding Takata airbags.                                           J.D., Wake Forest University School of Law, 2014
                                                                    B.A. magna cum laude, University of South Florida, 2010
Prior to joining Motley Rice, Jade founded Jade Blum Law in
                                                                    Trey Henderson works closely with injured workers and families
Baltimore representing clients in criminal, business, personal
                                                                    to file bankruptcy trust claims seeking justice for victims of
injury, bankruptcy and consumer case and provided pro bono
                                                                    asbestos-related diseases.
services for Baltimore’s underserved communities. She also
was an associate and settlement officer for a Maryland firm         He also helps file claims through the U. S. Victims of State
where she focused on real estate, title law and estate planning.    Sponsored Terrorism Fund on behalf of foreign terror victims. He
                                                                    has additional experience contributing to securities litigation
Jade interned for the Honorable Judge John C. Themelis,
                                                                    that ultimately recovered $140 million for shareholders who
Baltimore City Circuit Court, while completing her legal studies
                                                                    allege they suffered losses due to corporate misconduct.
and was a research assistant for multiple University of Baltimore
professors and the University Conflict Management Service.          Prior to joining Motley Rice, Trey completed a number of
                                                                    internships and legal clerkships in North Carolina while
On a community level while in Baltimore, Jade assisted
                                                                    completing his legal studies, where he drafted necessary
Baltimore’s Iron Crow Theater in obtaining non-profit status and
                                                                    documents for real estate transactions, provided guidance to
served on its Board of Directors. She volunteered with the city’s
                                                                    local businesses to resolve contract disputes, and provided
Homeless Persons Representation Project, actively supported
                                                                    litigation support for a Fortune 500 bank. He also served as
the Community Law Center, and traveled to disaster areas to
                                                                    Articles Editor for the Journal of Business and Intellectual
volunteer with the Red Cross.
                                                                    Property while pursuing his law degree.



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C. Ross Heyl                                                          Rebecca has been working with Motley Rice since 2015, where
                                                                      she leverages advanced processing and review technologies
LICENSED IN: SC
                                                                      to increase efficiencies in cases with complex e-discovery.
ADMITTED TO PRACTICE BEFORE: U.S. District Court for the
                                                                      Rebecca was a member of the team that represented
District of South Carolina
                                                                      institutional investors as lead counsel in In re Barrick Gold
EDUCATION:
                                                                      Securities Litigation, which reached a $140 million settlement
J.D., University of South Carolina School of Law, 2019
                                                                      for shareholders.* She has also contributed to discovery in
B.S., Virginia Commonwealth University, 2014
                                                                      securities fraud litigation against St. Jude Medical, Inc. and
B.A., Virginia Commonwealth University, 2011
                                                                      Conn’s Inc.
Ross Heyl works to bankrupt financiers of global terror, and
hold accountable human rights violators and their enablers. He        Rebecca worked as a legal assistant and paralegal in Charleston
also litigates for consumers who bear the harm and financial          while pursuing a law degree. She has also completed numerous
burden of corporate misconduct.                                       pro bono hours with programs including Volunteer Income
                                                                      Tax Assistance as well as Adult Guardianship Assistance and
Ross represents 9/11 survivors and the families of deceased
                                                                      Monitoring.
victims in groundbreaking litigation targeting the Kingdom of
Saudi Arabia and others who are accused of helping al Qaeda           ASSOCIATIONS:
carry out the terrorist attacks. He also helps terror victims apply   South Carolina Women Lawyers Association
for compensation through the U.S. Victims of State Sponsored          South Carolina Bar Association
Terrorism Fund, and advocates for American torture victims            Charleston County Bar Association
through litigation filed under the Torture Victim Protection Act.
In addition to his antiterrorism and human rights casework, Ross
litigates against Blackbaud and other businesses that allegedly       Nathaniel L. McMurry
failed to protect the private information of consumers, leaving       LICENSED IN: SC, TN
them susceptible to identity theft and other cybercrimes. He also     EDUCATION:
represents consumers who allege physical injuries and financial       J.D., Charleston School of Law, 2012
losses related to vehicle defects, including in litigation filed      B.S., Washington and Lee University, 2006
against Fiat Chrysler Automobiles regarding explosive Takata          Nathaniel McMurry champions causes affecting workers
airbags, and against Volkswagen regarding allegedly defective         and their families, such as corporate negligence leading to
timing chain tensioners that may damage vehicle engines.              occupational diseases, and severe workplace injuries.
Ross completed a legal clerkship at the Charleston County             In particular, Nate helps asbestos victims, families and co-
Public Defender’s Office, and assisted with personal injury,          counsel file bankruptcy trust claims for numerous trust facilities
wrongful death and medical malpractice cases at a plaintiffs’         established for the victims of asbestos-related diseases. He
law firm in Columbia, S.C., while completing his legal studies        also represents patients who’ve suffered life-altering injuries
prior to joining Motley Rice. He served as Research Editor of         and complications caused by defective medical drugs and
the South Carolina Law Review and was a CALI Award recipient.         devices.
ASSOCIATIONS:                                                         Prior to joining Motley Rice, Nate served as an associate
South Carolina Bar Association                                        attorney for multiple Tennessee law firms where he represented
Charleston County Bar Association                                     clients in estate planning, audits, and tax disputes heard by the
                                                                      U.S. Tax Court, IRS, and Tennessee Department of Revenue.
                                                                      While completing his legal studies, Nate gained additional
Rebecca E. Jacobs                                                     experience as an extern for the legal department of a global
LICENSED IN: SC                                                       software supplier, and as a judicial intern for Probate Judge
EDUCATION:                                                            Irvin G. Condon for Charleston County, S.C.
J.D. with honors, Charleston School of Law, 2014                      Nate’s approach to the law is further strengthened by his prior
B.A., Furman University, 2010                                         business experience, including consulting clients on economic
Rebecca Jacobs focuses her practice on managing discovery             trends and investment strategies as a financial advisor for a
efforts and implementing e-discovery best practices in large-         global wealth management organization, as well as analyzing
scale antitrust, whistleblower, securities, and consumer fraud        data and evaluating bid proposals as a project management
class actions. She also develops and manages teams that               assistant for a Tennessee construction company before he
perform research and conduct document discovery for the firm.         pursued a legal career.
Rebecca’s casework includes assisting in antitrust litigation
against Keurig Green Mountain, Inc., alleging a monopoly of           ASSOCIATIONS:
single-serve coffee brewers and cups compatible with those            Charleston County Bar Association
brewers. She is also actively involved in various class actions
against health insurers for drug and equipment overcharges.



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Kelly A. Quillin
LICENSED IN: SC
ADMITTED TO PRACTICE BEFORE: U.S. District Court for the
District of South Carolina
EDUCATION:
J.D., The John Marshall Law School, 2014
B.S., Indiana University, 2010
Kelly Quillin seeks to hold businesses accountable and recover
losses for individuals and institutional investors who are
harmed by corporate wrongdoing and misconduct.
Kelly is a member of the litigation teams representing investors
as lead counsel in securities and consumer fraud class actions
filed against Twitter, Inc. and Qualcomm, Inc. She has also
assisted in the litigations filed against St. Jude Medical, Inc.,
LIBOR, American Realty Capital, and 3D Systems Corp. She
was also involved in the litigation against NASDAQ and NYSE,
among other defendants, related to high frequency trading.
Acting as a liaison among counsel, attorney review teams,
vendors and data management personnel, Kelly oversees
teams that conduct discovery and research in order to further
complex securities litigation, including implementing best
practices regarding e-discovery strategies in large scale,
complex, and document-intensive cases. She has experience
in advanced analytic technologies and technology assisted
review processes.
Prior to joining the firm, she clerked for the Cook County State’s
Attorney’s Office in Chicago, assisting with legal filings, court
appearances and research in the Felony Trial Division.
In 2012, while completing her legal studies in Chicago,
Kelly served as a judicial extern for U.S. District Judge Jon E.
DeGuilio for the Northern District of Indiana, where she drafted
proposed opinions, orders and memoranda. While completing
her undergraduate studies, she interned for the Southern
District of Indiana Clerk’s Office.
Kelly applies her legal knowledge to benefit the less fortunate
by providing assistance and access to judicial services through
the Charleston Pro Bono organization.

ASSOCIATIONS:
American Bar Association
South Carolina Bar Association
Charleston County Bar Association
American Association for Justice




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                    SC | RI | CT | NY | WV | DC | MO | NJ | PA
   Joseph F. Rice (DC, SC) is the attorney responsible for this communication. Prior results
   do not guarantee a similar outcome. Motley Rice LLC, a South Carolina Limited Liability
 Company, is engaged in the New Jersey practice of law through Motley Rice New Jersey LLC.
               Esther Berezofsky attorney responsible for New Jersey practice.
                                         PD: 05.19.2021
